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                                            Exhibit B - Musical Compositions

     Track                                         Reg.No.                     Plaintiff
                                                   PA0001207060
                                                   PA0000954422
   1 Guilty Conscience                             PA0000962146                Colgems-EMI Music Inc. / WB Music Corp.
                                                                               Colgems-EMI Music, Inc. / Screen Gems-EMI
                                                   PA0001158289
   2 Freak Like Me                                                             Music, Inc.
   3 Wasted Years                                  PA0001819821                Cotillion Music, Inc.
   4 When Something Is Wrong With My Baby          EU0000964275                Cotillion Music, Inc.
   5 (515)                                         PA0001062108                EMI April Music Inc.
   6 (sic)                                         PA0001040104                EMI April Music Inc.
   7 50 Ways To Say Goodbye                        PA0001799437                EMI April Music Inc.
   8 All I Need                                    PA0001104579                EMI April Music Inc.
   9 All I Wanted Was a Car                        PA0001167812                EMI April Music Inc.
  10 All That I Am                                 PA0001161185                EMI April Music Inc.
  11 All Your Reasons                              PA0001588610                EMI April Music Inc.
  12 B.O.B.                                        PA0001039708                EMI April Music Inc.
  13 Be The One                                    PA0000795267                EMI April Music Inc.
  14 Beautiful                                     PA0001850260                EMI April Music Inc.
  15 Before I Forget                               PA0001231062                EMI April Music Inc.
  16 Book Of John                                  PA0001910898                EMI April Music Inc.
  17 Break Your Heart                              PA0001687491                EMI April Music Inc.
  18 Bust Your Windows                             PA0001640781                EMI April Music Inc.
  19 By Your Side                                  PA0001159519                EMI April Music Inc.
  20 Can U Handle It?                              PA0001159345                EMI April Music Inc.
  21 Caught Up                                     PA0001159081                EMI April Music Inc.
  22 Choose                                        PA0001157849                EMI April Music Inc.
  23 Cleveland Is The City                         PA0001105255                EMI April Music Inc.
  24 Cold Case Love                                PA0001704466                EMI April Music Inc.
  25 Count On You                                  PA0001726662                EMI April Music Inc.
  26 Crazy World                                   PA0001831285                EMI April Music Inc.
  27 Creep                                         PA0000797832                EMI April Music Inc.
  28 Dance With My Father                          PA0001105451                EMI April Music Inc.
  29 dearjohn                                      PA0001624582                EMI April Music Inc.
  30 Digital (Did You Tell)                        PA0001722498                EMI April Music Inc.
  31 Dilemma                                       PA0001073273                EMI April Music Inc.

  32 Dirt                                          PA0001640796                EMI April Music Inc.
  33 Do The Right Thang                            PA0001706726                EMI April Music Inc.
  34 Dress On                                      PA0001843834                EMI April Music Inc.
  35 Drips                                         PA0001092246                EMI April Music Inc.
  36 Drive By                                      PA0001799432                EMI April Music Inc.
  37 Duality                                       PA0001231062                EMI April Music Inc.
  38 Ego Tripping Out                              PA0000065832                EMI April Music Inc.
  39 Elevate                                       PA0001825038                EMI April Music Inc.
  40 Ever The Same                                 PA0001161186                EMI April Music Inc.
  41 Every Now And Then                            PA0001131589                EMI April Music Inc.
  42 Everybody Needs Love                          PA0001738398                EMI April Music Inc.
  43 Everything Ends                               PA0001102120                EMI April Music Inc.
  44 Eyeless                                       PA0000965864                EMI April Music Inc.
  45 Fall                                          PA0001920169                EMI April Music Inc.
  46 Fallin' To Pieces                             PA0001161187                EMI April Music Inc.
  47 Feel                                          PA0001104645                EMI April Music Inc.
  48 Follow Me                                     PA0001159084                EMI April Music Inc.
  49 G Is For Girl (A-Z)                           PA0001649993                EMI April Music Inc.
  50 Get In My Car                                 PA0001723647                EMI April Music Inc.
  51 Get Inside                                    PA0001115051                EMI April Music Inc.
  52 Get Up Get Down                               PA0001839489                EMI April Music Inc.
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  53 Go                               PA0001735199   EMI April Music Inc.
  54 God Bless                        PA0001111571   EMI April Music Inc.
  55 God In Me                        PA0001640766   EMI April Music Inc.
  56 Gone Be Fine                     PA0000914750   EMI April Music Inc.
  57 Good Girl                        PA0001807727   EMI April Music Inc.
  58 Good Girls Go Bad                PA0001662734   EMI April Music Inc.
  59 Guilty                           PA0001807273   EMI April Music Inc.
  60 Hand Me Down                     PA0001104642   EMI April Music Inc.
  61 Heaven Sent                      PA0001395845   EMI April Music Inc.
  62 How Far We've Come               PA0001588613   EMI April Music Inc.
  63 How I Feel                       PA0001159657   EMI April Music Inc.
  64 How Long                         PA0001850276   EMI April Music Inc.
  65 Human                            PA0001625982   EMI April Music Inc.
  66 I Can't Wait To Meetchu          PA0000986835   EMI April Music Inc.
  67 I Gotta Feeling                  PA0001396542   EMI April Music Inc.
  68 I Miss You                       PA0000978102   EMI April Music Inc.
  69 I Will                           PA0001850366   EMI April Music Inc.
  70 I Wish                           PA0001813030   EMI April Music Inc.
  71 I'll Believe You When            PA0001588615   EMI April Music Inc.
  72 I'm Running                      PA0001640785   EMI April Music Inc.
  73 I've Committed Murder            PA0000976706   EMI April Music Inc.
                                      PA0001645608
  74 Ice Box                          PA0001166658   EMI April Music Inc.
  75 If I Fall                        PA0001588611   EMI April Music Inc.
  76 If You're Out There              PA0001646374   EMI April Music Inc.
  77 In God's Hands                   PA0001164471   EMI April Music Inc.
  78 Inhale                           PA0001115050   EMI April Music Inc.
  79 Innocence                        PA0001194022   EMI April Music Inc.
  80 Iowa                             PA0001102120   EMI April Music Inc.
  81 Kissed It                        PA0001737022   EMI April Music Inc.
  82 Land of the Snakes               PA0001975666   EMI April Music Inc.
  83 Lately                           PA0001737021   EMI April Music Inc.
  84 Leaving California               PA0001831261   EMI April Music Inc.
  85 Left Behind                      PA0001102120   EMI April Music Inc.
  86 Let Me Love You                  PA0001160636   EMI April Music Inc.
  87 Let's Go Out Tonight             PA0001166136   EMI April Music Inc.
  88 Life Of The Party                PA0001831259   EMI April Music Inc.
  89 Like Sugar                       PA0001850238   EMI April Music Inc.
  90 Lions, Tigers & Bears            PA0001640779   EMI April Music Inc.
  91 Little Girl                      PA0001111575   EMI April Music Inc.
  92 Live A Lie                       PA0001640780   EMI April Music Inc.
  93 London Bridge                    PA0001165471   EMI April Music Inc.
  94 Lonely No More                   PA0001161188   EMI April Music Inc.
  95 Love Drunk                       PA0001735247   EMI April Music Inc.
  96 Love Sex Magic (Main Version)    PA0001649982   EMI April Music Inc.
  97 loveofmylife                     PA0001625858   EMI April Music Inc.
  98 Luxurious                        PA0001160424   EMI April Music Inc.
  99 Mannequin                        PA0001888782   EMI April Music Inc.
 100 Mr. Man                          PA0001065080   EMI April Music Inc.
 101 MVP                              PA0001706727   EMI April Music Inc.
 102 My Fondest Childhood Memories    PA0001131694   EMI April Music Inc.
 103 My My My                         PA0001161189   EMI April Music Inc.
 104 My Plague                        PA0001102120   EMI April Music Inc.
 105 Nasty Girl                       PA0001706696   EMI April Music Inc.
 106 Nobody's Business                PA0001881665   EMI April Music Inc.
 107 Now Comes The Night              PA0001161195   EMI April Music Inc.
 108 Nylon 6/6                        PA0001718972   EMI April Music Inc.
 109 Old Man & Me                     PA0000795267   EMI April Music Inc.
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                                           PA0001735856
 110 On Fire                               PA0001731108   EMI April Music Inc.
 111 One Thing                             PA0001848513   EMI April Music Inc.
 112 Only Wanna Be With You                PA0000734279   EMI April Music Inc.
 113 Orchids                               PA0001115050   EMI April Music Inc.
 114 Our Song                              PA0001850280   EMI April Music Inc.
 115 Overjoyed                             PA0001850364   EMI April Music Inc.
 116 Party Hard / Cadillac (Interlude)     PA0002094531   EMI April Music Inc.
 117 Pieces                                PA0001718970   EMI April Music Inc.
 118 Praise                                PA0000101381   EMI April Music Inc.
 119 Prelude 3.0                           PA0001231062   EMI April Music Inc.
 120 Pretty Girl Rock                      PA0001729610   EMI April Music Inc.
 121 Problem Girl                          PA0001161191   EMI April Music Inc.
 122 Put Your Hands Up                     PA0001850287   EMI April Music Inc.
 123 Radio                                 PA0001850359   EMI April Music Inc.
 124 Relating To A Psychopath              PA0001092131   EMI April Music Inc.
 125 Remind Me                             PA0001743361   EMI April Music Inc.
 126 Return The Favor                      PA0001667243   EMI April Music Inc.
 127 Rock Me In                            PA0001626940   EMI April Music Inc.
 128 Rock That Body                        PA0001666771   EMI April Music Inc.
 129 Russian Roulette                      PA0001704500   EMI April Music Inc.
 130 Say You'll Haunt Me                   PA0001722494   EMI April Music Inc.
 131 Sexual Healing                        PA0000162210   EMI April Music Inc.
 132 Shattered Heart                       PA0001624650   EMI April Music Inc.
 133 She's Got A Boyfriend Now             PA0001736534   EMI April Music Inc.
 134 She's So Mean                         PA0001850358   EMI April Music Inc.
 135 Shotgun                               PA0001878368   EMI April Music Inc.
 136 Show Me                               PA0001804834   EMI April Music Inc.
 137 Sleeping At The Wheel                 PA0001850160   EMI April Music Inc.
 138 So Beautiful                          PA0001624586   EMI April Music Inc.
 139 Someone Like You                      PA0001735195   EMI April Music Inc.
 140 Something Special                     PA0001602832   EMI April Music Inc.
 141 Something To Be                       PA0001161192   EMI April Music Inc.
 142 Space                                 PA0001194022   EMI April Music Inc.
 143 Speechless                            PA0001131696   EMI April Music Inc.
 144 Spit It Out                           PA0000965864   EMI April Music Inc.
 145 Still                                 PA0000986836   EMI April Music Inc.
 146 Still On My Brain                     PA0001118861   EMI April Music Inc.
 147 Stuck in the Middle                   PA0001831360   EMI April Music Inc.
 148 Superwoman                            PA0001590140   EMI April Music Inc.
 149 Surfacing                             PA0000965864   EMI April Music Inc.
 150 Take A Number                         PA0001115050   EMI April Music Inc.
 151 Take Me Away                          PA0001656152   EMI April Music Inc.
 152 Take Me Home                          PA0001831437   EMI April Music Inc.
 153 Take Our Time                         PA0000797830   EMI April Music Inc.
 154 Taken                                 PA0001813025   EMI April Music Inc.
 155 Tell You Something (Nana's Reprise)   PA0001590108   EMI April Music Inc.
 156 Thank You                             PA0001653144   EMI April Music Inc.
 157 The Bitter End                        PA0001718944   EMI April Music Inc.
 158 The Blister Exists                    PA0001231062   EMI April Music Inc.
 159 The Definition                        PA0001626025   EMI April Music Inc.
 160 The Fighter                           PA0001806416   EMI April Music Inc.
 161 The First Time                        PA0001607088   EMI April Music Inc.
 162 The Heretic Anthem                    PA0001102120   EMI April Music Inc.
                                           PA0001145924
 163 The Impossible                        PA0001073283   EMI April Music Inc.
 164 The More I Drink                      PA0001993843   EMI April Music Inc.
 165 The Nameless                          PA0001231062   EMI April Music Inc.
 166 The Shot Heard 'Round The World       PA0001735286   EMI April Music Inc.
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 167 These Hard Times                 PA0001588614   EMI April Music Inc.
 168 Think About You                  PA0001105460   EMI April Music Inc.
 169 Think Like A Man                 PA0001820629   EMI April Music Inc.
 170 Threadbare                       PA0001718936   EMI April Music Inc.
 171 Throwback                        PA0001159346   EMI April Music Inc.
 172 Tumult                           PA0001157849   EMI April Music Inc.
                                      PA0001241284
 173 U Make Me Wanna                  PA0001159529   EMI April Music Inc.
 174 Undertow                         PA0001779997   EMI April Music Inc.
 175 Undisputed                       PA0001707774   EMI April Music Inc.
 176 Vermilion Pt. 2                  PA0001231062   EMI April Music Inc.
 177 Wait And Bleed                   PA0001040104   EMI April Music Inc.
 178 Walking                          PA0001738379   EMI April Music Inc.
 179 Waterfalls                       PA0000797831   EMI April Music Inc.
 180 Welcome To Jamrock               PA0001162406   EMI April Music Inc.
 181 What Makes You Beautiful         PA0001790417   EMI April Music Inc.
 182 What Them Girls Like             PA0001620075   EMI April Music Inc.
 183 What's A Guy Gotta Do            PA0001159557   EMI April Music Inc.
 184 When The Heartache Ends          PA0001161193   EMI April Music Inc.
 185 When You Really Love Someone     PA0001158370   EMI April Music Inc.
 186 Why Is It So Hard                PA0001738400   EMI April Music Inc.
 187 Will Work For Love               PA0001658983   EMI April Music Inc.
 188 With You                         PA0001163725   EMI April Music Inc.
 189 Wreckless Love                   PA0001589833   EMI April Music Inc.
 190 You're So Real                   PA0001104643   EMI April Music Inc.
 191 Your Heart Is A Muscle           PA0001842646   EMI April Music Inc.
 192 Your Secret Love                 PA0000826398   EMI April Music Inc.
 193 Zzyzx Rd.                        PA0001165085   EMI April Music Inc.
 194 4 Minutes                        PA0001164517   EMI April Music Inc.
 195 400 Lux                          PA0002007289   EMI April Music Inc.
 196 A Little Piece Of Heaven         PA0001591961   EMI April Music Inc.
 197 A World Alone                    PA0002007289   EMI April Music Inc.
 198 Afterlife                        PA0001591960   EMI April Music Inc.
 199 Almost Easy                      PA0001591963   EMI April Music Inc.
 200 And I                            PA0001159779   EMI April Music Inc.
 201 Angel                            PA0001738403   EMI April Music Inc.
 202 Angel Eyes                       PA0001810572   EMI April Music Inc.
 203 As I Am (Intro)                  PA0001590109   EMI April Music Inc.
 204 Attention                        PA0001621899   EMI April Music Inc.
 205 Bat Country                      PA0001162004   EMI April Music Inc.
 206 Be Your Everything               PA0001831407   EMI April Music Inc.
 207 Beast And The Harlot             PA0001162005   EMI April Music Inc.
 208 Betrayed                         PA0001162006   EMI April Music Inc.
 209 Biting Down                      PA0001904440   EMI April Music Inc.
 210 Blinded In Chains                PA0001162007   EMI April Music Inc.
 211 Bodies                           PA0001731809   EMI April Music Inc.
 212 Brompton Cocktail                PA0001591959   EMI April Music Inc.
 213 Burn It Down                     PA0001162008   EMI April Music Inc.
 214 Camouflage                       PA0001743344   EMI April Music Inc.
 215 Can U Help Me                    PA0000846618   EMI April Music Inc.
 216 ChampagneChroniKnightCap         PA0001955406   EMI April Music Inc.
 217 Critical Acclaim                 PA0001591957   EMI April Music Inc.
 218 Cry Baby                         PA0001731812   EMI April Music Inc.
 219 Dear God                         PA0001591954   EMI April Music Inc.
 220 Diary                            PA0001158368   EMI April Music Inc.
 221 Do It All Again                  PA0001866549   EMI April Music Inc.
 222 Do It To Me                      PA0001159080   EMI April Music Inc.
 223 Dragon Days                      PA0001158214   EMI April Music Inc.
 224 Drive (For Daddy Gene)           PA0001118350   EMI April Music Inc.
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 225 Every Other Memory                           PA0001765856   EMI April Music Inc.
 226 Everybody Hurts                              PA0001761234   EMI April Music Inc.
 227 Fallin'                                      PA0001118374   EMI April Music Inc.
 228 Feeling U, Feeling Me (Interlude)            PA0001158215   EMI April Music Inc.
 229 Fold Your Hands Child                        PA0001656112   EMI April Music Inc.
 230 Freak Out                                    PA0001159307   EMI April Music Inc.
 231 Glass                                        PA0001780080   EMI April Music Inc.
 232 Glory And Gore                               PA0002007289   EMI April Music Inc.
 233 Go Ahead                                     PA0001590126   EMI April Music Inc.
 234 Gunslinger                                   PA0001591956   EMI April Music Inc.
 235 Harlem's Nocturne                            PA0001158371   EMI April Music Inc.
 236 Hot                                          PA0001167507   EMI April Music Inc.
 237 How Do I Say                                 PA0000846620   EMI April Music Inc.
 238 I Always Get What I Want                     PA0001160190   EMI April Music Inc.
 239 I Can't Let U Go                             PA0000846615   EMI April Music Inc.
                                                  PA0001920258
 240 I Love LA                                    PA0001879197   EMI April Music Inc.
 241 I Want You                                   PA0001731813   EMI April Music Inc.
 242 If I Ain't Got You                           PA0001158216   EMI April Music Inc.
 243 Innocence                                    PA0001167508   EMI April Music Inc.
 244 Intro                                        PA0001159659   EMI April Music Inc.
 245 It's All About The Pentiums                  PA0000976952   EMI April Music Inc.
                                                  PA0001920253
 246 Just For One Day                             PA0001879169   EMI April Music Inc.
 247 Karma                                        PA0001158372   EMI April Music Inc.
 248 Lifetime                                     PA0001602821   EMI April Music Inc.
 249 Like You'll Never See Me Again               PA0001590110   EMI April Music Inc.
 250 Losing Grip                                  PA0001101505   EMI April Music Inc.
 251 Lost                                         PA0001591955   EMI April Music Inc.
 252 M.I.A.                                       PA0001162010   EMI April Music Inc.
 253 Million Dollar Bills                         PA0002007289   EMI April Music Inc.
 254 Mobile                                       PA0001101509   EMI April Music Inc.
 255 No Better                                    PA0002007289   EMI April Music Inc.
                                                  PA0001648485
 256 No One                                       PA0001590102   EMI April Music Inc.
 257 Nobody Not Really (Interlude)                PA0001158373   EMI April Music Inc.
 258 One Of Those Girls                           PA0001167509   EMI April Music Inc.
 259 Online                                       PA0001167813   EMI April Music Inc.
 260 Pete Wentz Is The Only Reason We're Famous   PA0001667218   EMI April Music Inc.
                                                  PA0001033012
 261 Pop Ya Collar                                PA0001081875   EMI April Music Inc.
 262 Prelude To A Kiss                            PA0001590111   EMI April Music Inc.
 263 Pretty Boy Swag                              PA0001734530   EMI April Music Inc.
 264 Push                                         PA0001761225   EMI April Music Inc.
 265 Ribs                                         PA0002007289   EMI April Music Inc.
 266 Royals                                       PA0002007289   EMI April Music Inc.
 267 Samsonite Man                                PA0001158374   EMI April Music Inc.
 268 Satisfied                                    PA0001731823   EMI April Music Inc.
 269 Scream                                       PA0001591958   EMI April Music Inc.
 270 Seize The Day                                PA0001162009   EMI April Music Inc.
 271 Sensuality                                   PA0001395664   EMI April Music Inc.
 272 She's Gone                                   PA0001627413   EMI April Music Inc.
                                                  PA0001647447
 273 Shortie Like Mine                                           EMI April Music Inc.
 274 Sidewinder                                   PA0001162011   EMI April Music Inc.
 275 Slow Down                                    PA0001158938   EMI April Music Inc.
 276 Still Sane                                   PA0002007289   EMI April Music Inc.
 277 Stranger                                     PA0001760579   EMI April Music Inc.
 278 Strength Of The World                        PA0001162012   EMI April Music Inc.
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 279 Take Me Away                                      PA0001159308   EMI April Music Inc.
 280 Team                                              PA0002007289   EMI April Music Inc.
 281 Tennis Court                                      PA0002007289   EMI April Music Inc.
 282 The Love Club                                     PA0001904440   EMI April Music Inc.
 283 The Scene Is Dead; Long Live The Scene            PA0001662732   EMI April Music Inc.
 284 The Wicked End                                    PA0001162014   EMI April Music Inc.
 285 The World Will Never Do                           PA0001662901   EMI April Music Inc.
 286 Thug Mentality                                    PA0001023895   EMI April Music Inc.
 287 Ticks                                             PA0001167818   EMI April Music Inc.
 288 Trashed And Scattered                             PA0001162013   EMI April Music Inc.
 289 Twork It Out                                      PA0000846613   EMI April Music Inc.
 290 Unbound (The Wild Ride)                           PA0001591987   EMI April Music Inc.
 291 Valentine's Day                                   PA0001958626   EMI April Music Inc.
 292 Wake Up                                           PA0001158369   EMI April Music Inc.
 293 Wet Hot American Summer                           PA0001662916   EMI April Music Inc.
 294 When It Hurts                                     PA0001621885   EMI April Music Inc.
 295 When You're Gone                                  PA0001167506   EMI April Music Inc.
 296 Where Do We Go From Here                          PA0001590129   EMI April Music Inc.
 297 Where Were You (When the World Stopped Turning)   PA0001076926   EMI April Music Inc.
 298 White Teeth Teens                                 PA0002007289   EMI April Music Inc.
 299 Y.O.U.                                            PA0001621886   EMI April Music Inc.
 300 Yeah!                                             PA0001159089   EMI April Music Inc.
 301 You                                               PA0001621886   EMI April Music Inc.
 302 Come Back                                         PA0000893388   EMI April Music Inc.
 303 My Way                                            PA0000893387   EMI April Music Inc.
 304 Nice And Slow                                     PA0000893386   EMI April Music Inc.
 305 One Day You'll Be Mine                            PA0000893389   EMI April Music Inc.
 306 Papers                                            PA0001753740   EMI April Music Inc.
 307 You Make Me Wanna...                              PA0000893384   EMI April Music Inc.
                                                       PA0001033071   EMI April Music Inc. / Warner-Tamerlane
 308 Just Like Me                                      PA0000893385   Publishing Corp.
 309 Hot Tottie                                        PA0001760557   EMI April Music Inc. / WB Music Corp.
 310 Have Some Fun                                     PA0001158407   EMI April Music Inc. / EMI Blackwood Music Inc
 311 I Need You                                        PA0001590128   EMI April Music Inc. / EMI Blackwood Music Inc
 312 Right On the Money                                PA0000922532   EMI April Music Inc. / EMI Blackwood Music Inc

 313 All I Ever Wanted                                 PA0001131835   EMI April Music Inc. / EMI Blackwood Music Inc.

 314 Back 2 Good                                       PA0000844646   EMI April Music Inc. / EMI Blackwood Music Inc.

 315 Bed Of Lies                                       PA0001006952   EMI April Music Inc. / EMI Blackwood Music Inc.

 316 Before I Met You                                  PA0001673114   EMI April Music Inc. / EMI Blackwood Music Inc.

 317 Changes                                           PA0001731492   EMI April Music Inc. / EMI Blackwood Music Inc.

 318 Cold                                              PA0001104580   EMI April Music Inc. / EMI Blackwood Music Inc.

 319 Downfall                                          PA0001104581   EMI April Music Inc. / EMI Blackwood Music Inc.

 320 Everywhere                                        PA0001731500   EMI April Music Inc. / EMI Blackwood Music Inc.

 321 Heartbreak Hotel                                  PA0000927023   EMI April Music Inc. / EMI Blackwood Music Inc.

 322 In Memory                                         PA0001131837   EMI April Music Inc. / EMI Blackwood Music Inc.

 323 Left Out                                          PA0001131839   EMI April Music Inc. / EMI Blackwood Music Inc.

 324 Make My Day                                       PA0001731490   EMI April Music Inc. / EMI Blackwood Music Inc.
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 325 Never Forget You                 PA0001738485   EMI April Music Inc. / EMI Blackwood Music Inc.

 326 Push                             PA0000844645   EMI April Music Inc. / EMI Blackwood Music Inc.

 327 Seduction                        PA0001159869   EMI April Music Inc. / EMI Blackwood Music Inc.

 328 Take Your Hand                   PA0001159167   EMI April Music Inc. / EMI Blackwood Music Inc.

 329 Takin' It There                  PA0001640699   EMI April Music Inc. / EMI Blackwood Music Inc.

 330 Villuminati                      PA0001975662   EMI April Music Inc. / EMI Blackwood Music Inc.

 331 When The Music Stops             PA0001073068   EMI April Music Inc. / EMI Blackwood Music Inc.

 332 Who Dat                          PA0001640769   EMI April Music Inc. / EMI Blackwood Music Inc.

 333 You Don't Know My Name           PA0001158217   EMI April Music Inc. / EMI Blackwood Music Inc.

 334 3AM                              PA0000844647   EMI April Music Inc. / EMI Blackwood Music Inc.

 335 Angry                            PA0001006950   EMI April Music Inc. / EMI Blackwood Music Inc.

 336 Argue                            PA0000844644   EMI April Music Inc. / EMI Blackwood Music Inc.

 337 Bent                             PA0001006950   EMI April Music Inc. / EMI Blackwood Music Inc.

 338 Better Version                   PA0001131836   EMI April Music Inc. / EMI Blackwood Music Inc.

 339 Black & White People             PA0001006950   EMI April Music Inc. / EMI Blackwood Music Inc.

 340 Busted                           PA0000844644   EMI April Music Inc. / EMI Blackwood Music Inc.

 341 Crutch                           PA0001006950   EMI April Music Inc. / EMI Blackwood Music Inc.

 342 Damn                             PA0000844644   EMI April Music Inc. / EMI Blackwood Music Inc.

 343 Disease                          PA0001105084   EMI April Music Inc. / EMI Blackwood Music Inc.

 344 Don't Look Down                  PA0001738410   EMI April Music Inc. / EMI Blackwood Music Inc.

 345 Fallin' Out                      PA0001589919   EMI April Music Inc. / EMI Blackwood Music Inc.

 346 Girl Like That                   PA0000844644   EMI April Music Inc. / EMI Blackwood Music Inc.

 347 Hang                             PA0000844644   EMI April Music Inc. / EMI Blackwood Music Inc.
                                      PA0001735191
 348 Heart Heart Heartbreak           PA0001730760   EMI April Music Inc. / EMI Blackwood Music Inc.
                                      PA0001006950
 349 If You're Gone                   PA0001038500   EMI April Music Inc. / EMI Blackwood Music Inc.

 350 Kody                             PA0000844644   EMI April Music Inc. / EMI Blackwood Music Inc.

 351 Lacerated                        PA0001131838   EMI April Music Inc. / EMI Blackwood Music Inc.

 352 Long Day                         PA0000844644   EMI April Music Inc. / EMI Blackwood Music Inc.

 353 Mad Season                       PA0001006950   EMI April Music Inc. / EMI Blackwood Music Inc.
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 354 Outro (Obie Trice/ Cheers)       PA0001159257   EMI April Music Inc. / EMI Blackwood Music Inc.

 355 Piano Man                        PA0001625977   EMI April Music Inc. / EMI Blackwood Music Inc.

 356 Real World                       PA0001655141   EMI April Music Inc. / EMI Blackwood Music Inc.

 357 Rest Stop                        PA0001038500   EMI April Music Inc. / EMI Blackwood Music Inc.

 358 So Simple                        PA0001158375   EMI April Music Inc. / EMI Blackwood Music Inc.

 359 Streets Of New York              PA0001162554   EMI April Music Inc. / EMI Blackwood Music Inc.

 360 Teenage Love Affair              PA0001590132   EMI April Music Inc. / EMI Blackwood Music Inc.

 361 The Point Of It All              PA0001631133   EMI April Music Inc. / EMI Blackwood Music Inc.

 362 Un-thinkable (I'm Ready)         PA0001666749   EMI April Music Inc. / EMI Blackwood Music Inc.

 363 Warm It Up (With Love)           PA0001624745   EMI April Music Inc. / EMI Blackwood Music Inc.

 364 You Won't Be Mine                PA0001006950   EMI April Music Inc. / EMI Blackwood Music Inc.
                                                     EMI April Music Inc. / EMI Blackwood Music Inc.
 365 Fallen                           PA0001712987   / Sony/ATV Music Publishing LLC
                                                     EMI April Music Inc. / EMI Blackwood Music Inc.
 366 Like This                        PA0001072623   / Sony/ATV Music Publishing LLC
                                      PA0001227184   EMI April Music Inc. / EMI Blackwood Music Inc.
 367 Bad Girl                         PA0001159548   / Warner-Tamerlane Publishing Corp.
                                      PA0001227182   EMI April Music Inc. / EMI Blackwood Music Inc.
 368 Simple Things                    PA0001159549   / Warner-Tamerlane Publishing Corp.
                                      PA0001227183   EMI April Music Inc. / EMI Blackwood Music Inc.
 369 That's What It's Made For        PA0001159550   / Warner-Tamerlane Publishing Corp.
                                      PA0001227182   EMI April Music Inc. / EMI Blackwood Music Inc.
 370 Truth Hurts                      PA0001159551   / Warner-Tamerlane Publishing Corp.
                                                     EMI April Music Inc. / EMI Blackwood Music Inc.
 371 Someone To Love Me (Naked)       PA0001842413   / Warner-Tamerlaner Publishing Corp.
                                      PA0000978638   EMI April Music Inc. / EMI Blackwood Music Inc.
 372 Last Beautiful Girl              PA0001006951   / WB Music Corp.
                                      PA0001750279   EMI April Music Inc. / EMI Blackwood Music Inc.
 373 Out Of My Head                   PA0001738574   / WB Music Corp.
                                                     EMI April Music Inc. / EMI Blackwood Music Inc.
                                      PA0001375846   / WB Music Corp. / Warner-Tamerlane
 374 Make It Last Forever             PA0001166656   Publishing Corp.

                                      PA0001853118   EMI April Music Inc. / EMI Blackwood Music Inc.
 375 Hot In Here                      PA0001910894   / WB Music Corp. / Warner/Chappell Music, Inc.

                                      PA0001870880   EMI April Music Inc. / EMI Blackwood Music Inc.
 376 That's My Kind Of Night          PA0001967409   / WB Music Corp. / Warner/Chappell Music, Inc.

                                                     EMI April Music Inc. / EMI Blackwood Music Inc.
 377 We Run This Town                 PA0001967419   / WB Music Corp. / Warner/Chappell Music, Inc.
                                      PA0000986838   EMI April Music Inc. / EMI Consortium Songs Inc.
 378 A Moment To Myself                              d/b/a EMI Longitude Music
                                                     EMI April Music Inc. / EMI Consortium Songs,
 379 backagain                        PA0001395994   Inc. d/b/a EMI Longitude Music
 380 until                            PA0001624579   EMI April Music Inc. / Jobete Music Co Inc.
 381 Everybody Hates Chris            PA0001706689   EMI April Music Inc. / Jobete Music Co. Inc.
 382 Superstar                        PA0001159085   EMI April Music Inc. / Jobete Music Co. Inc.
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                                       PA0001793961   EMI April Music Inc. / Jobete Music Co. Inc. /
 383 Die In Your Arms                  EU0000456357   Warner-Tamerlane Publishing Corp.
                                                      EMI April Music Inc. / Sony/ATV Music
 384 All My Life                       PA0001644944   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 385 Bravado                           PA0001904440   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 386 Call Up The Homies                PA0001706741   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 387 Climax                            PA0001825135   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 388 Cold                              PA0001707770   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 389 Energy                            PA0001840559   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 390 Fistful Of Tears                  PA0001707770   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 391 Help Somebody                     PA0001707770   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 392 Jump                              PA0001807841   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 393 Love You                          PA0001707770   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 394 Nothing                           PA0001072625   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 395 Phoenix Rise                      PA0001707770   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 396 Playing Possum                    PA0001707770   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 397 Respirator                        PA0001821672   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 398 Save You Tonight                  PA0001784623   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 399 Slower                            PA0001835570   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 400 Stop The World                    PA0001707770   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 401 The War Is Over                   PA0001807174   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 402 Without You                       PA0001877914   Publishing LLC
                                                      EMI April Music Inc. / Sony/ATV Music
 403 Mind On My Money                  PA0001807828   Publishing LLC / EMI Blackwood Music
                                                      EMI April Music Inc. / Sony/ATV Music
 404 Lemme See                         PA0001828069   Publishing LLC / EMI Blackwood Music Inc.
                                                      EMI April Music Inc. / Sony/ATV Music
 405 Anything (To Find You)            PA0001900915   Publishing LLC / Jobete Music Co. Inc.
                                                      EMI April Music Inc. / Sony/ATV Music
                                                      Publishing LLC / Warner-Tamerlane Publishing
 406 Brand New                         PA0001858773   Corp.
                                                      EMI April Music Inc. / Sony/ATV Music
                                       PA0001850232   Publishing LLC / Warner-Tamerlane Publishing
 407 Enough Of No Love                 PA0001833132   Corp.
                                                      EMI April Music Inc. / Stone Agate Music (a
 408 You Can't Stop Us Now             PA0001396096   division of Jobete Music Co. Inc.)
                                                      EMI April Music Inc. / Unichappell Music Inc. /
 409 Living In The Sky With Diamonds   PA0001678956   WB Music Corp.
                                                      EMI April Music Inc. / Unichappell Music Inc.
 410 Living Proof                      PA0001841719   /Warner-Tamerlane Publishing Corp.
 411 My Boo                            PA0001159778   EMI April Music Inc. / Unichappell Music, Inc.
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                                      PA0001699247
 412 Appetite                         PA0001687431    EMI April Music Inc. / W.B.M. Music Corp.
                                      PA0001227181
 413 Burn                             PA0001159079    EMI April Music Inc. / W.B.M. Music Corp.
                                      PA0001227181
                                      PA0001159082
 414 Confessions Part II              PA0001160227    EMI April Music Inc. / W.B.M. Music Corp.
                                      PA0001700475
 415 Hey Daddy (Daddy's Home)         PA0001707160    EMI April Music Inc. / W.B.M. Music Corp.
                                      PA0001248726
 416 U Got It Bad                     PA0000846614    EMI April Music Inc. / W.B.M. Music Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 417 Above The Law                    PA0001808400    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 418 Cheated                          PA0001853123    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 419 I'm On Everything                PA0001808404    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 420 I'm Still A Guy                  PA0001167815    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 421 Loud Noises                      PA0001808399    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 422 One of Those Lives               PA0002004472    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 423 Take From Me                     PA0001808393    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 424 You Know What                    PA0001373489    Publishing Corp.
                                      PA0001651821    EMI April Music Inc. / Warner-Tamerlane
 425 A Milli                          PA0001646370    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 426 Dirt Road Anthem                 PA0001694080    Publishing Corp.
                                      PA0001851192    EMI April Music Inc. / Warner-Tamerlane
 427 Einstein                         PA0001771871    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 428 Good To Me                       PA0001016045    Publishing Corp.
                                      PA0001728545    EMI April Music Inc. / Warner-Tamerlane
 429 Ground Zero                      PA0001706473    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 430 Gun Shot                         PA0001868333    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 431 Hands in the Air                 PA0001869999    Publishing Corp.
                                      PA0001648809    EMI April Music Inc. / Warner-Tamerlane
 432 Hustlenomics                     PA0001648764    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 433 I'm A G                          PA0001648787    Publishing Corp.
                                      PA0001387427    EMI April Music Inc. / Warner-Tamerlane
 434 Incredible                       PA0001167536    Publishing Corp.
                                      PA0001349210    EMI April Music Inc. / Warner-Tamerlane
 435 It's Goin' Down                  PA0001164441    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 436 Last Of A Dying Breed            PA0001660091    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 437 Legs Shakin'                     PA0001933961    Publishing Corp.
                                      PA0001778259    EMI April Music Inc. / Warner-Tamerlane
 438 Pieces Of Me                     PA0001760343    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 439 Rock the Pants                   PA0001720639    Publishing Corp.
                                                      EMI April Music Inc. / Warner-Tamerlane
 440 Super Bass                       PA0001852528    Publishing Corp.
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                                      PA0001745296    EMI April Music Inc. / Warner-Tamerlane
 441 That Ain't Me                    PA0001744900    Publishing Corp.
                                      PA0001227153    EMI April Music Inc. / Warner-Tamerlane
 442 The Bed                          PA0001159332    Publishing Corp.
                                      PA0001878243    EMI April Music Inc. / Warner-Tamerlane
 443 We Were Us                       PA0001947445    Publishing Corp.
                                                      EMI April Music Inc. / Warner/Chappell Music,
 444 All-American Girl                PA0001590017    Inc.
                                      PA0001740847
 445 Billionaire                      PA0001714525    EMI April Music Inc. / WB Music Corp.
 446 Breakdown                        PA0000896279    EMI April Music Inc. / WB Music Corp.
                                      PA0001158218
 447 Heartburn                        PA0001879469    EMI April Music Inc. / WB Music Corp.
 448 High Price                       PA0001659051    EMI April Music Inc. / WB Music Corp.
 449 I Do It For Hip Hop              PA0001869933    EMI April Music Inc. / WB Music Corp.
 450 Niggaz Know                      PA0001884065    EMI April Music Inc. / WB Music Corp.
 451 Shackles (Praise You)            PA0001157819    EMI April Music Inc. / WB Music Corp.
 452 Shawty                           PA0001765610    EMI April Music Inc. / WB Music Corp.
                                      PA0001236716
 453 Turn It Up                       PA0001159468    EMI April Music Inc. / WB Music Corp.
 454 Until It Breaks                  PA0001840841    EMI April Music Inc. / WB Music Corp.
                                      PA0001087580
 455 Where I Wanna Be                 PA0001024534    EMI April Music Inc. / WB Music Corp.
                                      PA0001236711
 456 Who Is She 2 U                   PA0001159573    EMI April Music Inc. / WB Music Corp.
                                                      EMI April Music Inc. / WB Music Corp. / Warner-
 457 4 Years Old                      PA0001842281    Tamerlane Publishing Corp.
                                                      EMI April Music Inc. / WB Music Corp. / Warner-
 458 Best Thing                       PA0001690183    Tamerlane Publishing Corp.
                                      PA0001852357    EMI April Music Inc. / WB Music Corp. / Warner-
 459 Hip Hop                          PA0001874306    Tamerlane Publishing Corp.
                                      PA0001679596    EMI April Music Inc. / WB Music Corp. / Warner-
 460 Hot Mess                         PA0001662752    Tamerlane Publishing Corp.
                                                      EMI April Music Inc. / WB Music Corp. / Warner-
 461 Lighters                         PA0001842411    Tamerlane Publishing Corp.
                                                      EMI April Music Inc. / WB Music Corp. / Warner-
 462 Nice Guys Finish Last            PA0001656109    Tamerlane Publishing Corp.
                                      PA0001314213
                                      PA0001159524    EMI April Music Inc. / WB Music Corp. / Warner-
 463 Real Hip Hop                     PA0001241282    Tamerlane Publishing Corp.
                                                      EMI April Music Inc. / WB Music Corp. / Warner-
 464 Someone Else                     PA0001870024    Tamerlane Publishing Corp.
                                      PA0001853121    EMI April Music Inc. / WB Music Corp. /
 465 A Little Home                    PA0001910890    Warner/Chappell Music, Inc.
                                      PA0001743353    EMI April Music Inc. / WB Music Corp. /
 466 Be The Lake                      PA0002004490    Warner/Chappell Music, Inc.
                                      PA0001742330    EMI April Music Inc. / WB Music Corp. /
 467 Working On A Tan                 PA0002004468    Warner/Chappell Music, Inc.
 468 911                              PA0001837905    EMI Blackwood Music Inc.
 469 Africa Bamba                     PA0000972929    EMI Blackwood Music Inc.
 470 All Over Me                      PA0001732490    EMI Blackwood Music Inc.
 471 Am I Ever Gonna Find Out         PA0001104897    EMI Blackwood Music Inc.
 472 Anna Begins                      PA0000708858    EMI Blackwood Music Inc.
 473 Back When It Was                 PA0001321505    EMI Blackwood Music Inc.
 474 Bad Things                       PA0001164354    EMI Blackwood Music Inc.
 475 Bang It Up                       PA0001626146    EMI Blackwood Music Inc.
                                      PA0001153078
 476 Beautiful Mess                   PA0001073133    EMI Blackwood Music Inc.
 477 Breathing                        PA0001051657    EMI Blackwood Music Inc.
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 478 By The Way                                PA0001640696   EMI Blackwood Music Inc.
 479 Celebrate                                 PA0001775496   EMI Blackwood Music Inc.
 480 Cling And Clatter                         PA0001051657   EMI Blackwood Music Inc.
 481 Come To Bed                               PA0001598751   EMI Blackwood Music Inc.
 482 Comin' Home                               PA0001167517   EMI Blackwood Music Inc.
 483 Cool                                      PA0001160425   EMI Blackwood Music Inc.
 484 Crazy Dream                               PA0001159601   EMI Blackwood Music Inc.
 485 Deuces                                    PA0001738384   EMI Blackwood Music Inc.
 486 Dime Mi Amor                              PA0001159602   EMI Blackwood Music Inc.
 487 Dreamer                                   PA0001071485   EMI Blackwood Music Inc.
 488 Drive                                     PA0001816534   EMI Blackwood Music Inc.
 489 Dust in The Wind                          RE0000912166   EMI Blackwood Music Inc.
 490 English Town                              PA0001850285   EMI Blackwood Music Inc.
 491 Even The Stars Fall 4 U                   PA0001072625   EMI Blackwood Music Inc.
 492 Everybody                                 PA0001592998   EMI Blackwood Music Inc.
 493 Forever In Love                           PA0000597869   EMI Blackwood Music Inc.
 494 Get To Me                                 PA0001867242   EMI Blackwood Music Inc.
 495 Goodbye Earl                              PA0000969189   EMI Blackwood Music Inc.
 496 Heaven                                    PA0001158408   EMI Blackwood Music Inc.
 497 Heaven                                    PA0001159600   EMI Blackwood Music Inc.
 498 Hello                                     PA0001706431   EMI Blackwood Music Inc.
 499 Hi-Definitions                            PA0001600815   EMI Blackwood Music Inc.
 500 Hollywood                                 PA0001159603   EMI Blackwood Music Inc.
 501 Hurt So Good                              PA0001842641   EMI Blackwood Music Inc.
 502 I Ain't Ready To Quit                     PA0001728141   EMI Blackwood Music Inc.
 503 I Drive Your Truck                        PA0001900113   EMI Blackwood Music Inc.
 504 If U Seek Amy                             PA0001881662   EMI Blackwood Music Inc.
 505 If You Can Do Anything Else               PA0000981323   EMI Blackwood Music Inc.
 506 In My Business                            PA0000931051   EMI Blackwood Music Inc.
 507 International Harvester                   PA0001642429   EMI Blackwood Music Inc.
 508 It's OK                                   PA0001769596   EMI Blackwood Music Inc.
 509 La Contestacion                           PA0001159599   EMI Blackwood Music Inc.
 510 Leave                                     PA0001006950   EMI Blackwood Music Inc.
 511 Little Bit Of Everything                  PA0001947440   EMI Blackwood Music Inc.
 512 Long Distance Interlude                   PA0001641290   EMI Blackwood Music Inc.
 513 Love Ain't Like That                      PA0000894510   EMI Blackwood Music Inc.
 514 Love Somebody                             PA0001824576   EMI Blackwood Music Inc.
 515 Mexicoma                                  PA0001910901   EMI Blackwood Music Inc.
 516 Migra                                     PA0000972927   EMI Blackwood Music Inc.
 517 Miss You Being Gone                       PA0001727845   EMI Blackwood Music Inc.
 518 More Than A Memory                        PA0001864022   EMI Blackwood Music Inc.
 519 More Than Love                            PA0001159604   EMI Blackwood Music Inc.
 520 My President                              PA0001697454   EMI Blackwood Music Inc.
 521 N.I.*.*.E.R. (The Slave and the Master)   PA0001396103   EMI Blackwood Music Inc.
 522 No One Gonna Love You                     PA0001738399   EMI Blackwood Music Inc.
 523 Nobody Else                               PA0001159606   EMI Blackwood Music Inc.
 524 Now I Know                                PA0001162729   EMI Blackwood Music Inc.
 525 Nowhere Fast                              PA0001642920   EMI Blackwood Music Inc.
 526 Onda                                      PA0001160202   EMI Blackwood Music Inc.
 527 Out Of Breath                             PA0001104538   EMI Blackwood Music Inc.
 528 Out of Character                          PA0001395668   EMI Blackwood Music Inc.
 529 Parking Lot Party                         PA0001900112   EMI Blackwood Music Inc.
 530 Pirate Flag                               PA0001904652   EMI Blackwood Music Inc.
 531 Pontoon                                   PA0002049153   EMI Blackwood Music Inc.
 532 Praise You Forever                        PA0001708382   EMI Blackwood Music Inc.
 533 Prayin' For You/Superman                  PA0001627414   EMI Blackwood Music Inc.
 534 Promise                                   PA0001166650   EMI Blackwood Music Inc.
 535 Pucker Up                                 PA0001649988   EMI Blackwood Music Inc.
 536 Raining In Baltimore                      PA0000708863   EMI Blackwood Music Inc.
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 537 Real Emotions                     PA0001159607   EMI Blackwood Music Inc.
 538 Right There                       PA0001745930   EMI Blackwood Music Inc.
 539 Round Here                        PA0000708854   EMI Blackwood Music Inc.
 540 Say Goodnight                     PA0001756544   EMI Blackwood Music Inc.
 541 See You Again                     PA0001807700   EMI Blackwood Music Inc.
 542 Senorita                          PA0001159605   EMI Blackwood Music Inc.
 543 She Thinks My Tractor's Sexy      PA0000950753   EMI Blackwood Music Inc.
 544 Should've Kissed You              PA0001772278   EMI Blackwood Music Inc.
 545 Silhouette                        PA0000428657   EMI Blackwood Music Inc.
 546 Simon                             PA0001051657   EMI Blackwood Music Inc.
 547 Someone Else's Song               PA0001051657   EMI Blackwood Music Inc.
 548 Something To Do With My Hands     PA0001800963   EMI Blackwood Music Inc.
 549 Songbird                          PA0000330273   EMI Blackwood Music Inc.
 550 Spin                              PA0001104539   EMI Blackwood Music Inc.
 551 Stanley Climbfall                 PA0001104540   EMI Blackwood Music Inc.
 552 Tell Me Why                       PA0001159608   EMI Blackwood Music Inc.
 553 That's Why I'm Here               PA0000867535   EMI Blackwood Music Inc.
 554 The Dollar                        PA0001163958   EMI Blackwood Music Inc.
                                       PAu003038078
 555 The More Boys I Meet              PA0001590022   EMI Blackwood Music Inc.
 556 The One That Got Away             PA0001818449   EMI Blackwood Music Inc.
 557 The Recession                     PA0001640694   EMI Blackwood Music Inc.
 558 There Goes My Baby                PA0001716542   EMI Blackwood Music Inc.
 559 This Kiss                         PA0001864024   EMI Blackwood Music Inc.
 560 Time Flies                        PA0001807051   EMI Blackwood Music Inc.
 561 Tiny Little Bows                  PA0001820569   EMI Blackwood Music Inc.
 562 Trying                            PA0001051657   EMI Blackwood Music Inc.
 563 U Dont Know Me (Like U Used To)   PA0000965774   EMI Blackwood Music Inc.
 564 Unknown                           PA0001051656   EMI Blackwood Music Inc.
 565 Unwell                            PA0001104578   EMI Blackwood Music Inc.
 566 Velvet Sky                        PA0001159613   EMI Blackwood Music Inc.
 567 What About Now                    PA0001166336   EMI Blackwood Music Inc.
 568 When I Grow Up                    PA0001640788   EMI Blackwood Music Inc.
 569 When You Touch Me                 PA0001072626   EMI Blackwood Music Inc.
 570 Why                               PA0001660621   EMI Blackwood Music Inc.
 571 Wine After Whiskey                PA0001807696   EMI Blackwood Music Inc.
 572 You Lie                           PA0001728328   EMI Blackwood Music Inc.
 573 Your Man                          PA0001163481   EMI Blackwood Music Inc.
 574 10 Days Late                      PA0000986880   EMI Blackwood Music Inc.
 575 All About Tonight                 PA0001716538   EMI Blackwood Music Inc.
 576 Amazin'                           PA0001640767   EMI Blackwood Music Inc.
 577 Ballin'                           PA0001855548   EMI Blackwood Music Inc.
 578 BGTY                              PA0001760358   EMI Blackwood Music Inc.
 579 Black Crowns                      PA0001788405   EMI Blackwood Music Inc.
 580 Boys 'Round Here                  PA0001837383   EMI Blackwood Music Inc.
 581 Burning Bright                    PA0001278083   EMI Blackwood Music Inc.
 582 Call Me                           PA0001601050   EMI Blackwood Music Inc.
 583 Calling                           PA0001832167   EMI Blackwood Music Inc.
 584 Careless World                    PA0001788401   EMI Blackwood Music Inc.
 585 Celebration                       PA0001788393   EMI Blackwood Music Inc.
 586 Circulate                         PA0001640772   EMI Blackwood Music Inc.
 587 Contagious                        PA0001354282   EMI Blackwood Music Inc.
 588 Cool                              PA0001627481   EMI Blackwood Music Inc.
 589 Crazy World                       PA0001640764   EMI Blackwood Music Inc.
 590 Devour                            PA0001601052   EMI Blackwood Music Inc.
 591 Dive                              PA0001828070   EMI Blackwood Music Inc.
 592 Do It All                         PA0001788396   EMI Blackwood Music Inc.
 593 Don't You Know                    PA0001640771   EMI Blackwood Music Inc.
 594 Everything Back But You           PA0001167505   EMI Blackwood Music Inc.
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 595 Faded                                          PA0001788407   EMI Blackwood Music Inc.
 596 Far Away                                       PA0001788325   EMI Blackwood Music Inc.
 597 Fine Again                                     PA0001627411   EMI Blackwood Music Inc.
 598 Get Allot                                      PA0001640710   EMI Blackwood Music Inc.
 599 Good Ole Boys                                  PA0001760428   EMI Blackwood Music Inc.
 600 Her Heart                                      PA0001768280   EMI Blackwood Music Inc.
 601 Honestly                                       PA0001972855   EMI Blackwood Music Inc.
 602 Honey Bee                                      PA0001760410   EMI Blackwood Music Inc.
 603 Hustlaz Ambition                               PA0001640768   EMI Blackwood Music Inc.
 604 I Did It For Sho                               PA0001627415   EMI Blackwood Music Inc.
 605 If You Only Knew                               PA0001601046   EMI Blackwood Music Inc.
 606 Involve Yourself                               PA0001395666   EMI Blackwood Music Inc.
 607 Jesse James                                    PA0000787272   EMI Blackwood Music Inc.
 608 Lay You Down                                   PA0001788308   EMI Blackwood Music Inc.
 609 Light Dreams                                   PA0001783047   EMI Blackwood Music Inc.
 610 Love Game                                      PA0001788312   EMI Blackwood Music Inc.
 611 Mine Would Be You                              PA0001859225   EMI Blackwood Music Inc.
 612 Muthaf**ka Up                                  PA0001788404   EMI Blackwood Music Inc.
 613 My Happy Ending                                PA0001159309   EMI Blackwood Music Inc.
 614 Potty Mouth                                    PA0001783085   EMI Blackwood Music Inc.
 615 Red Light                                      PA0001241918   EMI Blackwood Music Inc.
 616 Second Chance                                  PA0001601042   EMI Blackwood Music Inc.
 617 Sin With A Grin                                PA0001601054   EMI Blackwood Music Inc.
 618 Sound Of Madness                               PA0001601045   EMI Blackwood Music Inc.
 619 Spectrum                                       PA0001832077   EMI Blackwood Music Inc.
 620 Ten Times Crazier                              PA0001859226   EMI Blackwood Music Inc.
 621 The Best Damn Thing                            PA0001354251   EMI Blackwood Music Inc.
 622 The Crow & The Butterfly                       PA0001601051   EMI Blackwood Music Inc.
 623 This Is Like                                   PA0001788320   EMI Blackwood Music Inc.
 624 Til I Forget About You                         PA0001733313   EMI Blackwood Music Inc.
 625 Vacation                                       PA0001640774   EMI Blackwood Music Inc.
 626 Welcome Back                                   PA0001640693   EMI Blackwood Music Inc.
 627 What A Shame                                   PA0001601047   EMI Blackwood Music Inc.
 628 What They Want                                 PA0001640765   EMI Blackwood Music Inc.
                                                                   EMI Blackwood Music Inc. / Colgems-EMI Music
 629 Love It Or Leave It Alone/Welcome To Jamrock   PA0001162695   Inc.
                                                                   EMI Blackwood Music Inc. / EMI Al Gallico Music
 630 They Ready                                     PA0001995515   Corp. / WB Music Corp.

 631 Chemicals Collide                              PA0001735285   EMI Blackwood Music Inc. / EMI April Music Inc.

 632 God Given Name                                 PA0001610591   EMI Blackwood Music Inc. / EMI April Music Inc.

 633 Hey You                                        PA0001831262   EMI Blackwood Music Inc. / EMI April Music Inc.

 634 I Decided                                      PA0001608769   EMI Blackwood Music Inc. / EMI April Music Inc.

 635 Ode to Marvin                                  PA0001608798   EMI Blackwood Music Inc. / EMI April Music Inc.

 636 Real Thing                                     PA0001735194   EMI Blackwood Music Inc. / EMI April Music Inc.

 637 Sandcastle Disco                               PA0001615101   EMI Blackwood Music Inc. / EMI April Music Inc.

 638 T.O.N.Y.                                       PA0001608776   EMI Blackwood Music Inc. / EMI April Music Inc.

 639 Take You Out                                   PA0001068165   EMI Blackwood Music Inc. / EMI April Music Inc.

 640 Would've Been the One                          PA0001608779   EMI Blackwood Music Inc. / EMI April Music Inc.
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 641 The Great Escape                 PA0001165808    EMI Blackwood Music Inc. / EMI April Music Inc.
                                      PA0001848047    EMI Blackwood Music Inc. / EMI April Music Inc.
                                      PA0001706448    / WB Music Corp. / Warner-Tamerlane
 642 We Made You                      PA0001957226    Publishing Corp.
                                                      EMI Blackwood Music Inc. / Jobete Music Co.
 643 Don't Do It                      PA0001640702    Inc.
                                                      EMI Blackwood Music Inc. / Jobete Music Co.
 644 Lil Freak                        PA0001700473    Inc. / EMI April Music Inc.
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 645 Ay Chico (Lengua Afuera)         PA0001166251    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 646 Back in Time                     PA0001833789    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 647 Black Leather Jacket             PA0001947438    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 648 Blame It On Waylon               PA0001896309    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 649 Caught Up                        PA0001887801    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 650 Clarity                          PA0001832089    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 651 Glad You're Here                 PA0001167415    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 652 Hurry Baby                       PA0001910891    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 653 I Won't Go Crazy                 PA0001777806    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 654 I'm Off That                     PA0001833780    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 655 Ice Cold                         PA0001854208    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 656 Independence                     PA0001728329    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 657 Lasso                            PA0001728410    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 658 Last Night                       PA0001833744    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 659 Love's Poster Child              PA0001947446    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 660 Muny                             PA0001786604    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 661 Pause                            PA0001780988    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 662 Shone                            PA0001807835    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 663 Show Me                          PA0001933694    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 664 Stop Cheatin' On Me              PA0001907989    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
 665 Teeth                            PA0001751976    Publishing LLC
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
                                      PA0001690182    Publishing LLC / EMI April Music Inc. / Warner-
 666 Love In This Club                PA0001659003    Tamerlane Publishing Corp.
                                                      EMI Blackwood Music Inc. / Sony/ATV Music
                                      PA0001690182    Publishing LLC / EMI April Music Inc. / Warner-
 667 Love in This Club, Pt. II        PA0001658976    Tamerlane Publishing Corp.
                                                      EMI Blackwood Music Inc. / Unichappell Music,
 668 Untitled                         PA0001735849    Inc.
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                                      PA0001835409
 669 No Such Thing As Too Late        PA0001882752    EMI Blackwood Music Inc. / W.B.M. Music Corp.

 670 Sunburnt Lips                    PA0001884828    EMI Blackwood Music Inc. / W.B.M. Music Corp.
                                      PA0001953394    EMI Blackwood Music Inc. / W.B.M. Music Corp.
 671 Drink to That All Night          PA0001910988    / WB Music Corp.
                                                      EMI Blackwood Music Inc. / Warner-Tamerlane
 672 I Don't See 'Em                  PA0002071585    Publishing Corp.
                                      PA0001856241    EMI Blackwood Music Inc. / Warner-Tamerlane
 673 Alone                            PA0001786329    Publishing Corp.
                                      PA0001771887    EMI Blackwood Music Inc. / Warner-Tamerlane
 674 Blind                            PA0001728367    Publishing Corp.
                                                      EMI Blackwood Music Inc. / Warner-Tamerlane
 675 Burn The House                   PA0001976123    Publishing Corp.
                                      PA0001856245    EMI Blackwood Music Inc. / Warner-Tamerlane
 676 Can't Be Friends                 PA0001787041    Publishing Corp.
                                      PA0001680553    EMI Blackwood Music Inc. / Warner-Tamerlane
 677 Duffle Bag Boy                   PA0001590878    Publishing Corp.
                                      PA0001814506    EMI Blackwood Music Inc. / Warner-Tamerlane
 678 Echoes Interlude                 PA0001788398    Publishing Corp.
                                      PA0001263487    EMI Blackwood Music Inc. / Warner-Tamerlane
 679 Goodies                          PA0001241896    Publishing Corp.
                                      PA0001058124    EMI Blackwood Music Inc. / Warner-Tamerlane
 680 I'm A Dog                        PA0001114111    Publishing Corp.
                                      PA0001802342    EMI Blackwood Music Inc. / Warner-Tamerlane
 681 Let It Show                      PA0001788316    Publishing Corp.
                                      PA0001850546    EMI Blackwood Music Inc. / Warner-Tamerlane
 682 Live Your Life                   PA0001654952    Publishing Corp.
                                      PA0001856242    EMI Blackwood Music Inc. / Warner-Tamerlane
 683 Massage                          PA0001786345    Publishing Corp.
                                      PA0001763331    EMI Blackwood Music Inc. / Warner-Tamerlane
 684 Motivation                       PA0001760929    Publishing Corp.
                                      PA0001842289    EMI Blackwood Music Inc. / Warner-Tamerlane
 685 No Worries                       PA0001885790    Publishing Corp.
                                      PA0001299027    EMI Blackwood Music Inc. / Warner-Tamerlane
 686 Number One                       PA0001160616    Publishing Corp.
                                                      EMI Blackwood Music Inc. / Warner-Tamerlane
 687 Triple Beam Dream                PA0001868417    Publishing Corp.
                                                      EMI Blackwood Music Inc. / Warner-Tamerlane
 688 We Owned The Night               PA0001817027    Publishing Corp.
                                      PA0001834384    EMI Blackwood Music Inc. / Warner-Tamerlane
 689 Up In It                         PA0001951620    Publishing Corp. / W.B.M. Music Corp.
                                      PA0001590007    EMI Blackwood Music Inc. / Warner/Chappell
 690 Get Out Of This Town             PA0001396401    Music, Inc.
 691 Angel                            PA0001976122    EMI Blackwood Music Inc. / WB Music Corp.
 692 Anywhere With You                PA0001917492    EMI Blackwood Music Inc. / WB Music Corp.
 693 Don't Pay 4 It                   PA0001852368    EMI Blackwood Music Inc. / WB Music Corp.
 694 Everything                       PA0001640776    EMI Blackwood Music Inc. / WB Music Corp.
                                      PA0001814505
 695 For The Fame                     PA0001788406    EMI Blackwood Music Inc. / WB Music Corp.
 696 Gimmie That Girl                 PA0001741424    EMI Blackwood Music Inc. / WB Music Corp.
                                      PA0001832802
 697 How Many Drinks?                 PA0001917890    EMI Blackwood Music Inc. / WB Music Corp.
 698 It Was Faith                     PA0001657887    EMI Blackwood Music Inc. / WB Music Corp.
 699 O Let's Do It                    PA0001847140    EMI Blackwood Music Inc. / WB Music Corp.
                                      PA0001771886
 700 Red Lipstick                     PA0001786336    EMI Blackwood Music Inc. / WB Music Corp.
                                      PA0000627933
 701 Sentimental                      PA0000597871    EMI Blackwood Music Inc. / WB Music Corp.
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                                            PA0001741424
 702 The Shape I'm In                       PA0001717909   EMI Blackwood Music Inc. / WB Music Corp.
 703 Up To You                              PA0001750517   EMI Blackwood Music Inc. / WB Music Corp.
                                                           EMI Blackwood Music Inc. / WB Music Corp. /
 704 100 Favors                             PA0001976129   Warner-Tamerlane Publishing Corp.
                                            PA0001848048   EMI Blackwood Music Inc. / WB Music Corp. /
 705 Medicine Ball                          PA0001706432   Warner-Tamerlane Publishing Corp.
                                            PA0001848044   EMI Blackwood Music Inc. / WB Music Corp. /
 706 3 a.m.                                 PA0001707168   Warner-Tamerlane Publishing Corp.
                                            PA0001693859   EMI Blackwood Music Inc. / WB Music Corp. /
 707 Back in the Day                        PA0001707143   Warner-Tamerlane Publishing Corp.
                                            PA0001848045   EMI Blackwood Music Inc. / WB Music Corp. /
 708 Bagpipes From Baghdad                  PA0001706495   Warner-Tamerlane Publishing Corp.
                                            PA0001856248   EMI Blackwood Music Inc. / WB Music Corp. /
 709 Bottoms Up                             PA0001747296   Warner-Tamerlane Publishing Corp.
                                            PA0001848045   EMI Blackwood Music Inc. / WB Music Corp. /
 710 Deja Vu                                PA0001706428   Warner-Tamerlane Publishing Corp.
                                                           EMI Blackwood Music Inc. / WB Music Corp. /
 711 High                                   PA0001808178   Warner-Tamerlane Publishing Corp.
                                            PA0001848044   EMI Blackwood Music Inc. / WB Music Corp. /
 712 Insane                                 PA0001666843   Warner-Tamerlane Publishing Corp.
                                            PA0001693858   EMI Blackwood Music Inc. / WB Music Corp. /
 713 Kick It In The Sticks                  PA0001707147   Warner-Tamerlane Publishing Corp.
                                            PA0001814504   EMI Blackwood Music Inc. / WB Music Corp. /
 714 King & Queens                          PA0001788319   Warner-Tamerlane Publishing Corp.
                                            PA0001848040   EMI Blackwood Music Inc. / WB Music Corp. /
 715 Must Be The Ganja                      PA0001706429   Warner-Tamerlane Publishing Corp.
                                            PA0001693858   EMI Blackwood Music Inc. / WB Music Corp. /
 716 My Kind of Crazy                       PA0001707144   Warner-Tamerlane Publishing Corp.
                                            PA0001848040   EMI Blackwood Music Inc. / WB Music Corp. /
 717 My Mom                                 PA0001707169   Warner-Tamerlane Publishing Corp.
                                            PA0001848040   EMI Blackwood Music Inc. / WB Music Corp. /
 718 Old Time's Sake                        PA0001706421   Warner-Tamerlane Publishing Corp.
                                            PA0001848044   EMI Blackwood Music Inc. / WB Music Corp. /
 719 Same Song & Dance                      PA0001706456   Warner-Tamerlane Publishing Corp.
                                            PA0001861898   EMI Blackwood Music Inc. / WB Music Corp. /
 720 So Bad                                 PA0001730981   Warner-Tamerlane Publishing Corp.
                                            PA0001848044   EMI Blackwood Music Inc. / WB Music Corp. /
 721 Stay Wide Awake                        PA0001943940   Warner-Tamerlane Publishing Corp.
                                            PA0001852373   EMI Blackwood Music Inc. / WB Music Corp. /
 722 Take It To The Head                    PA0001844665   Warner-Tamerlane Publishing Corp.
                                            PA0001870876   EMI Blackwood Music Inc. / WB Music Corp. /
 723 Play It Again                          PA0001967424   Warner/Chappell Music, Inc.
                                                           EMI Consortium Music Publishing, Inc. d/b/a EMI
 724 Paris, Tokyo                           PA0001600832   Full Keel Music
                                                           EMI Consortium Music Publishing, Inc. d/b/a EMI
 725 She's Got It All                       PA0000886673   Full Keel Music
                                                           EMI Consortium Songs Inc. d/b/a EMI Longitude
 726 Angel Flying Too Close To The Ground   PA0000049322   Music
                                                           EMI Consortium Songs Inc. d/b/a EMI Longitude
                                            PA0001163482
 727 The Only Way                                          Music
                                                           EMI Consortium Songs, Inc. d/b/a EMI Longitude
 728 A Baltimore Love Thing                 PA0001160841   Music
                                            PA0001058125   EMI Feist Catalog Inc. / Warner-Tamerlane
 729 Trucker Anthem                         PA0001142644   Publishing Corp.
 730 GATman And Robbin                      PA0001160842   EMI Miller Catalog Inc.
 731 Mighty "O"                             PA0001165509   EMI Mills Music, Inc.
 732 Down With The King                     PA0001143443   EMI U Catalog Inc.
 733 Forbidden Fruit                        PA0001975701   EMI Unart Catalog Inc.
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 734 Two Words                                             PA0001292803   Intersong U.S.A. Inc.
                                                           EP0000203959
 735 Ain't That Peculiar                                   RE0000618229   Jobete Music Co Inc.
 736 Trouble Man                                           EP0000307204   Jobete Music Co Inc.
                                                                          Jobete Music Co Inc. / Stone Agate Music (a
 737 Hitch Hike                                            Eu0000750856   division of Jobete Music Co. Inc.)
                                                                          Jobete Music Co Inc. / Stone Agate Music (a
 738 If I Could Build My Whole World Around You            EP0000229884   division of Jobete Music Co. Inc.)
                                                                          Jobete Music Co Inc. / Stone Agate Music (a
 739 What's Going On                                       EP0000281238   division of Jobete Music Co. Inc.)
                                                                          Jobete Music Co Inc. / Stone Agate Music (a
 740 You                                                   EP0000232619   division of Jobete Music Co. Inc.)
                                                           EP0000234188
 741 Ain't Nothing Like The Real Thing                     RE0000697423   Jobete Music Co. Inc.
 742 Come Get To This                                      EP0000315837   Jobete Music Co. Inc.
                                                           EP0000323322
 743 Distant Lover                                         EP0000291366   Jobete Music Co. Inc.
 744 Good Lovin' Ain't Easy To Come By                     EP0000254456   Jobete Music Co. Inc.
 745 I Ain't Mad At Cha                                    PA0001070600   Jobete Music Co. Inc.
 746 I'll Be Doggone                                       EP0000198501   Jobete Music Co. Inc.
 747 Inner City Blues (Make Me Wanna Holler)               EP0000287807   Jobete Music Co. Inc.
 748 Mercy Mercy Me (The Ecology)                          EP0000288939   Jobete Music Co. Inc.
                                                           Eu0000187089
 749 Never Can Say Goodbye                                 RE0000772428   Jobete Music Co. Inc.
 750 Stay Fly                                              PA0001328092   Jobete Music Co. Inc.
 751 The Onion Song                                        EP0000259283   Jobete Music Co. Inc.
                                                           EP0000219339
 752 Too Busy Thinking About My Baby                       PA0000358613   Jobete Music Co. Inc.
     When Did You Stop Loving Me, When Did I Stop Loving
 753 You                                                   PA0000041232   Jobete Music Co. Inc.
                                                           EP0000330074
                                                           RE0000853662
                                                           EU0000812174
 754 You're A Wonderful One                                RE0000601434   Jobete Music Co. Inc.
 755 You're All I Need To Get By                           EP0000246516   Jobete Music Co. Inc.
 756 Your Precious Love                                    EP0000232154   Jobete Music Co. Inc.
                                                                          Jobete Music Co. Inc. / Stone Diamond Music
 757 Anger                                                 PA0000041233   Corp.
                                                                          Jobete Music Co. Inc. / Stone Diamond Music
 758 Let's Get It On                                       EP0000314589   Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 759 Back on Earth                                         PA0000895946   Music Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 760 Cat People (Putting Out Fire) (Single Version)        PA0000131825   Music Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 761 Falling In Love (Is Hard On The Knees)                PA0000847442   Music Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 762 Ghost Behind My Eyes                                  PA0000795018   Music Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 763 Good Woman Bad                                        PA0000785095   Music Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 764 Hits From The Bong                                    PA0000791818   Music Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 765 I've Come To Expect It From You                       PA0000482947   Music Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 766 Insane In The Brain                                   PA0000664235   Music Corp.
                                                                          Music Corporation of America, Inc. dba Universal
 767 Just About Now                                        PA0000669876   Music Corp.
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                                                           Music Corporation of America, Inc. dba Universal
 768 Just Around The Eyes                   PA0000713702   Music Corp.
                                                           Music Corporation of America, Inc. dba Universal
 769 Lady, Lady                             PA0000731125   Music Corp.
                                                           Music Corporation of America, Inc. dba Universal
 770 Livin' On The Edge                     PA0000832940   Music Corp.
                                                           Music Corporation of America, Inc. dba Universal
 771 Love Is On The Way (Real Love)         PA0000731122   Music Corp.
                                                           Music Corporation of America, Inc. dba Universal
 772 Merry Go Round                         PA0000494345   Music Corp.
                                                           Music Corporation of America, Inc. dba Universal
 773 Nothin' At All                         PA0000284908   Music Corp.
                                                           Music Corporation of America, Inc. dba Universal
 774 Power Of Love / Love Power             PA0000526816   Music Corp.
                                                           Music Corporation of America, Inc. dba Universal
 775 Run To You                             PA0000840168   Music Corp.
                                            PA0000815805   Music Corporation of America, Inc. dba Universal
 776 Smile                                  PA0000815968   Music Corp.
                                                           Music Corporation of America, Inc. dba Universal
 777 Unconditional Love                     PA0000980713   Music Corp.
 778 (White Man) in Hammersmith Palais      PA0000066409   Polygram Publishing, Inc.
 779 4th of July Reprise                    PA0000863657   Polygram Publishing, Inc.
 780 Achy Breaky Song                       PA0000713892   Polygram Publishing, Inc.
 781 After The Storm                        PA0001932494   Polygram Publishing, Inc.
 782 Amish Paradise                         PA0000809516   Polygram Publishing, Inc.
 783 Animal Instinct                        PA0000968355   Polygram Publishing, Inc.
 784 Animals                                PA0001899929   Polygram Publishing, Inc.
 785 Babel                                  PA0001818828   Polygram Publishing, Inc.
 786 Back To You                            PA0001120340   Polygram Publishing, Inc.
 787 Bad Blood                              PA0001915737   Polygram Publishing, Inc.
 788 Bad Day                                PA0001025285   Polygram Publishing, Inc.
 789 Below My Feet                          PA0001818826   Polygram Publishing, Inc.
 790 Best For Last                          PA0001975721   Polygram Publishing, Inc.
 791 Between Two Lungs                      PA0001892800   Polygram Publishing, Inc.
 792 Bittersweet                            PA0000893227   Polygram Publishing, Inc.
 793 Breathe                                PA0000999862   Polygram Publishing, Inc.
 794 Broken Crown                           PA0001818825   Polygram Publishing, Inc.
 795 Can't Stop The Rain                    PA0001991134   Polygram Publishing, Inc.
 796 Chasing Cars                           PA0001990266   Polygram Publishing, Inc.
 797 Chasing Pavements                      PA0001975709   Polygram Publishing, Inc.
 798 Clash City Rockers                     PA0000066407   Polygram Publishing, Inc.
 799 Cold Shoulder                          PA0001975723   Polygram Publishing, Inc.
 800 Complete Control                       PA0000066408   Polygram Publishing, Inc.
 801 Cool The Engines                       PA0000312410   Polygram Publishing, Inc.
 802 Cosmic Love                            PA0001892799   Polygram Publishing, Inc.
 803 Crazy For You                          PA0001975719   Polygram Publishing, Inc.
 804 Daffodil Lament                        PA0000734582   Polygram Publishing, Inc.
 805 Day Dreams                             PA0001752520   Polygram Publishing, Inc.
 806 Daydreamer                             PA0001975694   Polygram Publishing, Inc.
 807 Days With You                          PA0001245154   Polygram Publishing, Inc.
 808 Die Like This                          PA0001245156   Polygram Publishing, Inc.
 809 Dog Days Are Over                      PA0001892802   Polygram Publishing, Inc.
 810 Don't Break My Heart                   PA0000781963   Polygram Publishing, Inc.
 811 Don't Let Me Be The Last One To Know   PA0001010089   Polygram Publishing, Inc.
 812 Don't You Remember                     PA0001734876   Polygram Publishing, Inc.
 813 Down                                   PA0001025288   Polygram Publishing, Inc.
 814 Down Inside Of You                     PA0001245163   Polygram Publishing, Inc.
 815 Drive Me Wild                          PA0002072171   Polygram Publishing, Inc.
 816 Durban Skies                           PA0001981858   Polygram Publishing, Inc.
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 817 Easy                                                PA0001025287   Polygram Publishing, Inc.
 818 Empty Spaces                                        PA0001025283   Polygram Publishing, Inc.
 819 English Civil War                                   PA0000044735   Polygram Publishing, Inc.
 820 Falls On Me                                         PA0001245161   Polygram Publishing, Inc.
 821 First Love                                          PA0001975718   Polygram Publishing, Inc.
 822 Flaws                                               PA0001915732   Polygram Publishing, Inc.
 823 Fool For You                                        PA0001730802   Polygram Publishing, Inc.
 824 For Tha Love Of $                                   PA0000713004   Polygram Publishing, Inc.
 825 For Those Below                                     PA0001818816   Polygram Publishing, Inc.
 826 Free To Decide                                      PA0000791577   Polygram Publishing, Inc.
 827 Garageland                                          PA0000044756   Polygram Publishing, Inc.
 828 Getting Thru?                                       PA0001245157   Polygram Publishing, Inc.
 829 Ghosts That We Knew                                 PA0001818832   Polygram Publishing, Inc.
 830 Give Me My Month                                    PA0001824175   Polygram Publishing, Inc.
 831 Gone Country                                        PA0000642408   Polygram Publishing, Inc.
 832 Good Girls Go To Heaven (Bad Girls Go Everywhere)   PA0000669674   Polygram Publishing, Inc.
 833 Hands Are Clever                                    PA0001806286   Polygram Publishing, Inc.
 834 Hate & War                                          PA0000044748   Polygram Publishing, Inc.
 835 Heart Attack                                        PA0001752511   Polygram Publishing, Inc.
 836 Hemorrhage (In My Hands)                            PA0001025282   Polygram Publishing, Inc.
 837 Hideaway                                            PA0000893223   Polygram Publishing, Inc.
 838 Higher Power                                        PA0000863654   Polygram Publishing, Inc.
 839 Holland Road                                        PA0001818831   Polygram Publishing, Inc.
 840 Hollywood                                           PA0000791574   Polygram Publishing, Inc.
 841 Home By Now/No Matter What                          PA0001144121   Polygram Publishing, Inc.
 842 Hometown Glory                                      PA0001975714   Polygram Publishing, Inc.
 843 Hopeless Wanderer                                   PA0001818824   Polygram Publishing, Inc.
 844 Humming Bird                                        PA0001806288   Polygram Publishing, Inc.
 845 I Can't Be With You                                 PA0000734572   Polygram Publishing, Inc.
 846 I Love You                                          PA0001806282   Polygram Publishing, Inc.
 847 I Mind                                              PA0001827817   Polygram Publishing, Inc.
 848 I Never Learnt To Share                             PA0001827811   Polygram Publishing, Inc.
 849 I Want Love (LP Version)                            PA0001064720   Polygram Publishing, Inc.
 850 I Was Country When Country Wasn't Cool              PA0000126702   Polygram Publishing, Inc.
 851 I Will Wait                                         PA0001818830   Polygram Publishing, Inc.
 852 I Won't Let You Down                                PA0001806274   Polygram Publishing, Inc.
 853 I'm Not Calling You A Liar                          PA0001892801   Polygram Publishing, Inc.
 854 I'm So Bored with the U.S.A.                        PA0000044746   Polygram Publishing, Inc.
 855 Innocent                                            PA0001025291   Polygram Publishing, Inc.
 856 Is Nothing Sacred                                   PA0000936094   Polygram Publishing, Inc.
 857 It Just Won't Quit                                  PA0000669673   Polygram Publishing, Inc.
 858 It's Come To This                                   PA0000893229   Polygram Publishing, Inc.
 859 Ivan Meets G.I. Joe                                 PA0000112397   Polygram Publishing, Inc.
 860 Janie Jones                                         PA0000044744   Polygram Publishing, Inc.
 861 Jesus Or A Gun                                      PA0000893225   Polygram Publishing, Inc.
 862 Jurassic Park                                       PA0000713893   Polygram Publishing, Inc.
 863 Kiss With A Fist                                    PA0001892795   Polygram Publishing, Inc.
 864 Knives                                              PA0001025290   Polygram Publishing, Inc.
 865 Last Time                                           PA0001025281   Polygram Publishing, Inc.
 866 Latch                                               PA0001916095   Polygram Publishing, Inc.
 867 Laura Palmer                                        PA0001915734   Polygram Publishing, Inc.
 868 Lindisfarne II                                      PA0001827813   Polygram Publishing, Inc.
 869 Little Lion Man                                     PA0001932483   Polygram Publishing, Inc.
 870 Livin' For You                                      PAu001802362   Polygram Publishing, Inc.
 871 London's Burning                                    PA0000044751   Polygram Publishing, Inc.
 872 Love Gun                                            PA0001727659   Polygram Publishing, Inc.
 873 Lover Of The Light                                  PA0001818820   Polygram Publishing, Inc.
 874 Lovers' Eyes                                        PA0001818822   Polygram Publishing, Inc.
 875 Luck                                                PA0001245155   Polygram Publishing, Inc.
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 876 Mary Pretends                    PA0000893220    Polygram Publishing, Inc.
 877 Measurements                     PA0001824202    Polygram Publishing, Inc.
 878 Melt My Heart To Stone           PA0001975706    Polygram Publishing, Inc.
 879 Million Miles                    PA0001245162    Polygram Publishing, Inc.
 880 More Than This                   PA0001830362    Polygram Publishing, Inc.
 881 Most Of All                      PA0001245158    Polygram Publishing, Inc.
 882 Movin' Down the Line             PA0001752522    Polygram Publishing, Inc.
 883 My Same                          PA0001975716    Polygram Publishing, Inc.
 884 New Thing                        PA0000893230    Polygram Publishing, Inc.
 885 No More I Love You's             PA0000753262    Polygram Publishing, Inc.
 886 Not With Haste                   PA0001818827    Polygram Publishing, Inc.
 887 October Song                     PA0001792201    Polygram Publishing, Inc.
 888 One And Only                     PA0001734869    Polygram Publishing, Inc.
 889 One Foot Wrong                   PA0001698064    Polygram Publishing, Inc.
 890 One Way Ticket                   PA0001810764    Polygram Publishing, Inc.
 891 Over You                         PA0001752515    Polygram Publishing, Inc.
 892 Ozone                            PA0000893222    Polygram Publishing, Inc.
 893 Poet                             PA0001981843    Polygram Publishing, Inc.
 894 Police & Thieves                 PA0000046453    Polygram Publishing, Inc.
 895 Promises                         PA0000968357    Polygram Publishing, Inc.
 896 Prove                            PA0001025286    Polygram Publishing, Inc.
 897 Rabbit Heart (Raise It Up)       PA0001892789    Polygram Publishing, Inc.
 898 Rat In Mi Kitchen                PA0000779746    Polygram Publishing, Inc.
 899 Recognize                        PA0000896403    Polygram Publishing, Inc.
 900 Relax My Beloved                 PA0001806292    Polygram Publishing, Inc.
 901 Reminder                         PA0001818823    Polygram Publishing, Inc.
 902 Ridiculous Thoughts              PA0000734579    Polygram Publishing, Inc.
 903 Rumour Has It                    PA0001734865    Polygram Publishing, Inc.
 904 Running Away                     PA0001245159    Polygram Publishing, Inc.
 905 Safe European Home               PA0000044734    Polygram Publishing, Inc.
 906 Sanctuary                        PA0001806278    Polygram Publishing, Inc.
 907 Scar                             PA0001025284    Polygram Publishing, Inc.
 908 Shimmer                          PA0000893226    Polygram Publishing, Inc.
 909 Sigh No More                     PA0001932474    Polygram Publishing, Inc.
 910 Sing Our Own Song                PA0000779749    Polygram Publishing, Inc.
 911 Skulls                           PA0001981876    Polygram Publishing, Inc.
 912 Sleepsong                        PA0001981854    Polygram Publishing, Inc.
 913 Slow                             PA0001025292    Polygram Publishing, Inc.
 914 So Many Ways                     PA0000896404    Polygram Publishing, Inc.
 915 Solace                           PA0001025289    Polygram Publishing, Inc.
 916 Somebody Got Murdered            PA0000112402    Polygram Publishing, Inc.
 917 Someone                          PA0001003696    Polygram Publishing, Inc.
 918 Someone Like You                 PA0001734868    Polygram Publishing, Inc.
 919 Something To Die For             PA0001677407    Polygram Publishing, Inc.
 920 Song For You                     PA0000893221    Polygram Publishing, Inc.
 921 Stay Free                        PA0000044740    Polygram Publishing, Inc.
 922 Stone Rollin                     PA0001764528    Polygram Publishing, Inc.
 923 Take It All                      PA0001734872    Polygram Publishing, Inc.
 924 Tell Me                          PA0000863655    Polygram Publishing, Inc.
 925 The Aftermath                    PA0001916365    Polygram Publishing, Inc.
 926 The Answer                       PA0001752536    Polygram Publishing, Inc.
 927 The Best Day                     PA0001028241    Polygram Publishing, Inc.
 928 The Cave                         PA0001932476    Polygram Publishing, Inc.
 929 The Draw                         PA0001981866    Polygram Publishing, Inc.
 930 The Magnificent Seven            PA0000112394    Polygram Publishing, Inc.
 931 The Motto                        PA0001804402    Polygram Publishing, Inc.
 932 The Street Parade                PA0000112420    Polygram Publishing, Inc.
 933 The Wilhelm Scream               PA0001824165    Polygram Publishing, Inc.
 934 There's A Thug In My Life        PA0001162730    Polygram Publishing, Inc.
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 935 These Things                                       PA0001245160   Polygram Publishing, Inc.
 936 Things We Lost in the Fire (Abbey Road Sessions)   PA0001915726   Polygram Publishing, Inc.
 937 Tired                                              PA0001975712   Polygram Publishing, Inc.
 938 To Care (Like You)                                 PA0001824177   Polygram Publishing, Inc.
 939 Tommy Gun                                          PA0000044736   Polygram Publishing, Inc.
 940 Train In Vain                                      PA0000066125   Polygram Publishing, Inc.
 941 Treading Water                                     PA0001806293   Polygram Publishing, Inc.
 942 Tuning Out...                                      PA0001981868   Polygram Publishing, Inc.
 943 Turning Tables                                     PA0001734878   Polygram Publishing, Inc.
 944 Untitled**                                         PA0000893228   Polygram Publishing, Inc.
 945 Up All Night                                       PA0001806294   Polygram Publishing, Inc.
 946 Wait Your Turn                                     PA0001668381   Polygram Publishing, Inc.
 947 We Run The Night                                   PA0001929045   Polygram Publishing, Inc.
 948 Where Are You Now                                  PA0001818817   Polygram Publishing, Inc.
 949 Whispering                                         PA0001806283   Polygram Publishing, Inc.
 950 Whispers In The Dark                               PA0001818829   Polygram Publishing, Inc.
 951 White Blank Page                                   PA0001932481   Polygram Publishing, Inc.
 952 White Riot                                         PA0000044747   Polygram Publishing, Inc.
 953 Why Don't You Call Me?                             PA0001827815   Polygram Publishing, Inc.
 954 Winter Winds                                       PA0001932478   Polygram Publishing, Inc.
 955 You And Me                                         PA0000968358   Polygram Publishing, Inc.
 956 I'm So Lonesome I Could Cry                        EP0000041630   Rightsong Music Inc.
 957 So Much Like My Dad                                PA0000225775   Rightsong Music Inc.
                                                                       Rightsong Music Inc. / WB Music Corp. / Warner-
 958 Naughty Girl                                       PA0001375850   Tamerlane Publishing Corp.
 959 Get Out                                            PA0001592997   Screen Gems-EMI Music Inc.
 960 2 Of Amerikaz Most Wanted                          PA0001070596   Songs of Universal, Inc.
 961 25 To Life                                         PA0001730984   Songs of Universal, Inc.
 962 2nd Sucks                                          PA0001748917   Songs of Universal, Inc.
 963 8 Mile                                             PA0001204555   Songs of Universal, Inc.
 964 A Fool's Dance                                     PA0001839497   Songs of Universal, Inc.
 965 A Girl Like Me                                     PA0001164298   Songs of Universal, Inc.
 966 A Kiss                                             PA0001784201   Songs of Universal, Inc.
 967 All I Have In This World                           PA0001639922   Songs of Universal, Inc.
 968 All I Want For Christmas Is You (Super Festive!)   PA0001780229   Songs of Universal, Inc.
 969 All Signs Point To Lauderdale                      PA0001748918   Songs of Universal, Inc.
 970 Almost Doesn't Count                               PA0000917406   Songs of Universal, Inc.
 971 Almost Famous                                      PA0001730979   Songs of Universal, Inc.
 972 Another Night                                      PA0000795554   Songs of Universal, Inc.
 973 Another Round                                      PA0001730878   Songs of Universal, Inc.
 974 As Fast As I Could                                 PA0001700896   Songs of Universal, Inc.
 975 Baby Love                                          PA0001602408   Songs of Universal, Inc.
 976 Backpackers                                        PA0001773699   Songs of Universal, Inc.
 977 Be (Intro)                                         PA0001302097   Songs of Universal, Inc.
 978 Beautiful People                                   PA0001752889   Songs of Universal, Inc.
 979 Beautiful People                                   PA0001750727   Songs of Universal, Inc.
 980 Beauty in the World                                PA0001733325   Songs of Universal, Inc.
 981 Best Friend                                        PA0000757400   Songs of Universal, Inc.
 982 Best Of You                                        PA0001730963   Songs of Universal, Inc.
 983 Beware                                             PA0001916151   Songs of Universal, Inc.
 984 Bleeding Out                                       PA0001816018   Songs of Universal, Inc.
 985 Bonfire                                            PA0001773709   Songs of Universal, Inc.
 986 Boom Skit                                          PA0001915826   Songs of Universal, Inc.
 987 Born Sinner                                        PA0001975727   Songs of Universal, Inc.
 988 Break Ya Back                                      PA0001395672   Songs of Universal, Inc.
 989 But, Honestly                                      PA0001625341   Songs of Universal, Inc.
 990 Call Me Up                                         PA0001882786   Songs of Universal, Inc.
 991 Can't Go Wrong                                     PA0001839494   Songs of Universal, Inc.
 992 Changes                                            PA0001070591   Songs of Universal, Inc.
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  993 Cheer Up, Boys (Your Make Up Is Running)   PA0001625323   Songs of Universal, Inc.
  994 Chi-City                                   PA0001302103   Songs of Universal, Inc.
  995 Ciara To The Stage                         PA0001729154   Songs of Universal, Inc.
  996 Cinderella Man                             PA0001730987   Songs of Universal, Inc.
                                                 PA0001073403
  997 Cleanin Out My Closet                      PA0001225996   Songs of Universal, Inc.
  998 Cold Day In The Sun                        PA0001731042   Songs of Universal, Inc.
  999 Cold Wind Blows                            PA0001731091   Songs of Universal, Inc.
 1000 Come Alive                                 PA0001625311   Songs of Universal, Inc.
 1001 Crazy Little Thing Called Love             PA0001330052   Songs of Universal, Inc.
 1002 Dangerous                                  PA0001678612   Songs of Universal, Inc.
 1003 Death Around The Corner                    PA0001070586   Songs of Universal, Inc.
 1004 Did It On Em                               PA0001745300   Songs of Universal, Inc.
 1005 Director                                   PA0001371419   Songs of Universal, Inc.
 1006 DOA                                        PA0001730972   Songs of Universal, Inc.
 1007 Don't Get Me Started                       PA0002072695   Songs of Universal, Inc.
 1008 Don't Give up on Me                        PA0001899457   Songs of Universal, Inc.
 1009 Don't Phunk Around                         PA0001824676   Songs of Universal, Inc.
 1010 Dr. West                                   PA0001943912   Songs of Universal, Inc.
 1011 Dreams of Our Fathers                      PA0001039322   Songs of Universal, Inc.
 1012 Drive Me                                   PA0001839492   Songs of Universal, Inc.
 1013 Echo                                       PA0001842409   Songs of Universal, Inc.
 1014 Encore/Curtains Down                       PA0001295406   Songs of Universal, Inc.
 1015 End Over End                               PA0001730846   Songs of Universal, Inc.
 1016 Erase/Replace                              PA0001625296   Songs of Universal, Inc.
 1017 Every Night                                PA0001816017   Songs of Universal, Inc.
 1018 Everyday                                   PA0001039330   Songs of Universal, Inc.
 1019 Eye Candy                                  PA0001681746   Songs of Universal, Inc.
 1020 Fallen                                     PA0001840137   Songs of Universal, Inc.
 1021 Fallin' In Love                            PA0001603747   Songs of Universal, Inc.
 1022 Farewell                                   PA0001778700   Songs of Universal, Inc.
 1023 Fool In Love                               PA0001804439   Songs of Universal, Inc.
 1024 Fool to Think                              PA0001039327   Songs of Universal, Inc.
 1025 Free Me                                    PA0001730772   Songs of Universal, Inc.
 1026 Friend Of A Friend                         PA0001730881   Songs of Universal, Inc.
 1027 Friend Of A Friend                         PA0001856075   Songs of Universal, Inc.
 1028 Girl You Know                              PA0001395613   Songs of Universal, Inc.
 1029 Girls Chase Boys                           PA0001932052   Songs of Universal, Inc.
 1030 Going Through Changes                      PA0001731106   Songs of Universal, Inc.
 1031 Hand On The Pump                           PA0000538434   Songs of Universal, Inc.
 1032 Hard To Breathe                            PA0001768251   Songs of Universal, Inc.
 1033 Haywire                                    PA0001700892   Songs of Universal, Inc.
 1034 Hazel                                      PA0001848179   Songs of Universal, Inc.
 1035 Hear Me                                    PA0001816016   Songs of Universal, Inc.
 1036 Heartbeat                                  PA0001773703   Songs of Universal, Inc.
 1037 Hell                                       PA0001731003   Songs of Universal, Inc.
 1038 Here Comes Goodbye                         PA0001655601   Songs of Universal, Inc.
                                                 PA0001328100
 1039 Here I Go Again                            PA0001162725   Songs of Universal, Inc.
 1040 Hold On                                    PA0001839485   Songs of Universal, Inc.
 1041 Hold You Down                              PA0001773584   Songs of Universal, Inc.
 1042 Home                                       PA0001625349   Songs of Universal, Inc.
 1043 How Do U Want It                           PA0001070595   Songs of Universal, Inc.
 1044 I Did It                                   PA0001039319   Songs of Universal, Inc.
 1045 I Don't Feel Like Loving You Today         PA0001299754   Songs of Universal, Inc.
 1046 I Want Crazy (Encore)                      PA0001856536   Songs of Universal, Inc.
 1047 I'll Call Ya                               PA0001644932   Songs of Universal, Inc.
 1048 If I Had It All                            PA0001039324   Songs of Universal, Inc.
 1049 If I Leave                                 PA0001748919   Songs of Universal, Inc.
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 1050 Imagination                      PA0001371420   Songs of Universal, Inc.
 1051 In Your Honor                    PA0001730947   Songs of Universal, Inc.
 1052 Intro                            PA0001780742   Songs of Universal, Inc.
 1053 It Ain't Easy                    PA0001070585   Songs of Universal, Inc.
 1054 It's Time                        PA0001796482   Songs of Universal, Inc.
                                       PA0001302108
 1055 It's Your World                  PA0001302107   Songs of Universal, Inc.
 1056 Just Don't Give A Fuck           PA0000954432   Songs of Universal, Inc.
 1057 Just Lose It                     PA0001284525   Songs of Universal, Inc.
 1058 Kids                             PA0001773582   Songs of Universal, Inc.
 1059 Kiss Kiss                        PA0001395675   Songs of Universal, Inc.
 1060 Kisses Don't Lie                 PA0001164296   Songs of Universal, Inc.
 1061 Last Name                        PA0001642858   Songs of Universal, Inc.
 1062 Leaf                             PA0002000110   Songs of Universal, Inc.
 1063 Let It Die                       PA0001625293   Songs of Universal, Inc.
 1064 Let You Win                      PA0001733341   Songs of Universal, Inc.
 1065 Letter Home                      PA0001773708   Songs of Universal, Inc.
 1066 Livin This Life                  PA0001780720   Songs of Universal, Inc.
 1067 Loca (English Version)           PA0001834128   Songs of Universal, Inc.
 1068 Loca (Spanish Version)           PA0001834121   Songs of Universal, Inc.
 1069 Long Road To Ruin                PA0001625301   Songs of Universal, Inc.
 1070 Lose Yourself                    PA0001152688   Songs of Universal, Inc.
 1071 Lost In You                      PA0001855522   Songs of Universal, Inc.
 1072 Love is...                       PA0001302102   Songs of Universal, Inc.
 1073 Love The Way You Lie             PA0001730976   Songs of Universal, Inc.
 1074 Love The Way You Lie (Part II)   PA0001732821   Songs of Universal, Inc.
 1075 Man On The Moon                  PA0001839481   Songs of Universal, Inc.
 1076 Marvin Gaye & Chardonnay         PA0001780731   Songs of Universal, Inc.
 1077 Meet Me Halfway                  PA0001659066   Songs of Universal, Inc.
 1078 Memories Pt 2                    PA0001780744   Songs of Universal, Inc.
 1079 Miracle                          PA0001730876   Songs of Universal, Inc.
 1080 Missing You                      PA0001659068   Songs of Universal, Inc.
 1081 Mother Father                    PA0001039329   Songs of Universal, Inc.
 1082 Mr. Mathers                      PA0001943944   Songs of Universal, Inc.
 1083 My Eyes                          PA0001915209   Songs of Universal, Inc.
 1084 My Fault                         PA0000954429   Songs of Universal, Inc.
 1085 My Fault                         PA0001796476   Songs of Universal, Inc.
 1086 New York Times                   PA0001898830   Songs of Universal, Inc.
 1087 Next To You                      PA0001750522   Songs of Universal, Inc.
 1088 No BS                            PA0001750518   Songs of Universal, Inc.
 1089 No Way Back                      PA0001730955   Songs of Universal, Inc.
 1090 Not Afraid                       PA0001730957   Songs of Universal, Inc.
 1091 Not Tonight                      PA0002000109   Songs of Universal, Inc.
 1092 Nothin' Like The First Time      PA0001858363   Songs of Universal, Inc.
 1093 Nothin' On You                   PA0001731018   Songs of Universal, Inc.
 1094 Nothing Left To Say / Rocks      PA0001816026   Songs of Universal, Inc.
 1095 On & On                          PA0001733345   Songs of Universal, Inc.
 1096 On The Mend                      PA0001730887   Songs of Universal, Inc.
 1097 On Top of the World              PA0001796480   Songs of Universal, Inc.
 1098 One Tribe                        PA0001659076   Songs of Universal, Inc.
 1099 Only Wanna Give It To You        PA0002000105   Songs of Universal, Inc.
 1100 Out Of My Head                   PA0001659074   Songs of Universal, Inc.
 1101 Over And Out                     PA0001730884   Songs of Universal, Inc.
 1102 Paul (Skit)                      PA0001295388   Songs of Universal, Inc.
 1103 Picture Perfect                  PA0001395677   Songs of Universal, Inc.
 1104 Private Room Intro               PA0001371763   Songs of Universal, Inc.
 1105 Put You In A Song                PA0001725330   Songs of Universal, Inc.
 1106 Rabiosa (English Version)        PA0001833949   Songs of Universal, Inc.
 1107 Rabiosa (Spanish Version)        PA0001833947   Songs of Universal, Inc.
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 1108 Raining Men                          PA0001732814   Songs of Universal, Inc.
 1109 Rap God                              PA0001965450   Songs of Universal, Inc.
 1110 Rap Name                             PA0001248992   Songs of Universal, Inc.
 1111 Razor                                PA0001731043   Songs of Universal, Inc.
 1112 Real Love                            PA0001733344   Songs of Universal, Inc.
 1113 Real People                          PA0001302105   Songs of Universal, Inc.
 1114 Remember My Name                     PA0001821988   Songs of Universal, Inc.
 1115 Resolve                              PA0001730791   Songs of Universal, Inc.
 1116 Rich N****z                          PA0001975684   Songs of Universal, Inc.
 1117 Right Place, Wrong Time              PA0001371418   Songs of Universal, Inc.
 1118 Rockin To The Beat                   PA0001659078   Songs of Universal, Inc.
 1119 Roman Holiday                        PA0001915014   Songs of Universal, Inc.
 1120 Round and Round                      PA0001796481   Songs of Universal, Inc.
 1121 Say Goodbye Hollywood                PA0001090374   Songs of Universal, Inc.
 1122 Selene                               PA0001822212   Songs of Universal, Inc.
 1123 Sex Therapy                          PA0001678887   Songs of Universal, Inc.
 1124 Shoo Be Doo                          PA0001593120   Songs of Universal, Inc.
 1125 Sing For The Moment                  PA0001093104   Songs of Universal, Inc.
 1126 Sleep to Dream Her                   PA0001039328   Songs of Universal, Inc.
 1127 So Much More                         PA0001780714   Songs of Universal, Inc.
 1128 So Right                             PA0001039323   Songs of Universal, Inc.
 1129 Soldier                              PA0001073064   Songs of Universal, Inc.
 1130 Somewhere In My Car                  PA0001898869   Songs of Universal, Inc.
 1131 Sorry For Partyin'                   PA0001882788   Songs of Universal, Inc.
 1132 Soul's On Fire                       PA0001768252   Songs of Universal, Inc.
 1133 Spend Some Time                      PA0001295395   Songs of Universal, Inc.
 1134 Square Dance                         PA0001073065   Songs of Universal, Inc.
 1135 Stalker                              PA0001733343   Songs of Universal, Inc.
 1136 Statues                              PA0001625338   Songs of Universal, Inc.
 1137 Stay The Night                       PA0001902216   Songs of Universal, Inc.
 1138 Still                                PA0001730871   Songs of Universal, Inc.
 1139 Still Don't Give                     PA0000954424   Songs of Universal, Inc.
 1140 Still Hurts                          PA0001733323   Songs of Universal, Inc.
 1141 Stranger Things Have Happened        PA0001625352   Songs of Universal, Inc.
 1142 Stronger                             PA0001120338   Songs of Universal, Inc.
 1143 Stuck On Stupid                      PA0002094523   Songs of Universal, Inc.
 1144 Summer's End                         PA0001625330   Songs of Universal, Inc.
 1145 Superman                             PA0001073066   Songs of Universal, Inc.
 1146 Sweet Love                           PA0002094537   Songs of Universal, Inc.
 1147 Talkin' 2 Myself                     PA0001730970   Songs of Universal, Inc.
 1148 Testify                              PA0001302101   Songs of Universal, Inc.
 1149 That Man                             PA0001733342   Songs of Universal, Inc.
 1150 That's Gonna Leave A Memory          PA0001910312   Songs of Universal, Inc.
 1151 That's Right                         PA0001885587   Songs of Universal, Inc.
 1152 The Comeback                         PA0001733346   Songs of Universal, Inc.
 1153 The Corner                           PA0001302098   Songs of Universal, Inc.
 1154 The Deepest Blues Are Black          PA0001730830   Songs of Universal, Inc.
 1155 The Last Song                        PA0001731040   Songs of Universal, Inc.
 1156 The Last Time                        PA0001328099   Songs of Universal, Inc.
 1157 The News                             PA0001631133   Songs of Universal, Inc.
 1158 The Pretender                        PA0001623649   Songs of Universal, Inc.
                                           PA0001784195
 1159 The Reunion                          PA0001842406   Songs of Universal, Inc.
 1160 The River                            PA0001822211   Songs of Universal, Inc.
 1161 The Sellout                          PA0001733312   Songs of Universal, Inc.
 1162 The Way You Do Me                    PA0001367649   Songs of Universal, Inc.
 1163 They Say                             PA0001302106   Songs of Universal, Inc.
 1164 This Is Me                           PA0001131262   Songs of Universal, Inc.
 1165 This Is The House That Doubt Built   PA0001748916   Songs of Universal, Inc.
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 1166 Tiptoe                            PA0001816000   Songs of Universal, Inc.
 1167 Trouble                           PA0001975677   Songs of Universal, Inc.
 1168 Underdog                          PA0001816019   Songs of Universal, Inc.
 1169 Up All Night                      PA0001715364   Songs of Universal, Inc.
 1170 Va Va Voom                        PA0001835092   Songs of Universal, Inc.
 1171 Virginia Moon                     PAu003542317   Songs of Universal, Inc.
 1172 W.T.P.                            PA0001730966   Songs of Universal, Inc.
 1173 Wait For Me                       PA0001780732   Songs of Universal, Inc.
 1174 Wait For You                      PA0001821989   Songs of Universal, Inc.
 1175 Wanted Is Love                    PA0001839493   Songs of Universal, Inc.
 1176 Wave Ya Hand                      PA0001730648   Songs of Universal, Inc.
 1177 We All Want Love                  PA0001778698   Songs of Universal, Inc.
 1178 We Oughta Be Drinkin'             PA0001878369   Songs of Universal, Inc.
                                        PA0001808402
 1179 Welcome 2 Hell                    PA0001784192   Songs of Universal, Inc.
 1180 What Goes Around                  PA0001780251   Songs of Universal, Inc.
 1181 What I Gotta Do                   PA0001734468   Songs of Universal, Inc.
 1182 What If I Do?                     PA0001730872   Songs of Universal, Inc.
 1183 What You Are                      PA0001039325   Songs of Universal, Inc.
 1184 Wheels                            PA0001705842   Songs of Universal, Inc.
 1185 Where We Came From                PA0001839490   Songs of Universal, Inc.
 1186 Where Ya Wanna Go                 PA0001824684   Songs of Universal, Inc.
 1187 Willing To Wait                   PA0001328103   Songs of Universal, Inc.
 1188 With You                          PA0001371417   Songs of Universal, Inc.
 1189 Without Me                        PA0001143650   Songs of Universal, Inc.
 1190 Word Forward                      PA0001678922   Songs of Universal, Inc.
 1191 Words I Never Said                PA0001739113   Songs of Universal, Inc.
 1192 Working Man                       PA0001840143   Songs of Universal, Inc.
 1193 Ying & The Yang                   PA0001678487   Songs of Universal, Inc.
 1194 You Don't Know                    PA0001396073   Songs of Universal, Inc.
 1195 You See Me                        PA0001773581   Songs of Universal, Inc.
 1196 You're Never Over                 PA0001731110   Songs of Universal, Inc.
 1197 Your Love                         PA0001745312   Songs of Universal, Inc.
 1198 Diamond In The Rough              PA0001768249   Songs of Universal, Inc. / Universal Music Corp.
 1199 Easy                              PA0001726638   Songs of Universal, Inc. / Universal Music Corp.
 1200 Life is a Highway                 PA0000683569   Songs of Universal, Inc. / Universal Music Corp.
 1201 2024                              PA0001794286   Sony/ATV Music Publishing LLC
 1202 2 On                              PA0001910781   Sony/ATV Music Publishing LLC
 1203 9 Piece                           PA0001864281   Sony/ATV Music Publishing LLC
 1204 A Capella (Something's Missing)   PA0001821297   Sony/ATV Music Publishing LLC
 1205 A Gentlemen's Coup                PA0001887807   Sony/ATV Music Publishing LLC
 1206 A Name In This Town               PA0001777805   Sony/ATV Music Publishing LLC
 1207 A Thousand Words                  PA0000913967   Sony/ATV Music Publishing LLC
 1208 Aberdeen                          PA0001794286   Sony/ATV Music Publishing LLC
 1209 Ack Like You Know                 PA0001644889   Sony/ATV Music Publishing LLC
 1210 Ain't No Rest for the Wicked      PA0001794291   Sony/ATV Music Publishing LLC
 1211 Airstream Song                    PA0001682737   Sony/ATV Music Publishing LLC
 1212 Alejandro                         PA0001751975   Sony/ATV Music Publishing LLC
 1213 All Around The World              PA0001850389   Sony/ATV Music Publishing LLC
 1214 All I Really Want                 PA0001748296   Sony/ATV Music Publishing LLC
 1215 All The Money In The World        PA0001821914   Sony/ATV Music Publishing LLC
 1216 Always Been Me                    PA0001777807   Sony/ATV Music Publishing LLC
 1217 Always Something                  PA0001794286   Sony/ATV Music Publishing LLC
 1218 Apologize                         PA0001708388   Sony/ATV Music Publishing LLC
 1219 Architects                        PA0001887807   Sony/ATV Music Publishing LLC
 1220 Around My Head                    PA0001794286   Sony/ATV Music Publishing LLC
 1221 As Long As You Love Me            PA0001834758   Sony/ATV Music Publishing LLC
 1222 Aston Martin Music                PA0001821812   Sony/ATV Music Publishing LLC
 1223 Aura                              PA0001941105   Sony/ATV Music Publishing LLC
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 1224 Automatic                         PA0001822058   Sony/ATV Music Publishing LLC
 1225 Available                         PA0001807827   Sony/ATV Music Publishing LLC
 1226 B.M.F. (Blowin' Money Fast)       PA0001821909   Sony/ATV Music Publishing LLC
 1227 Back Against The Wall             PA0001794291   Sony/ATV Music Publishing LLC
 1228 Back Stabbin' Betty               PA0001794291   Sony/ATV Music Publishing LLC
 1229 Bad Habits                        PA0001707770   Sony/ATV Music Publishing LLC
 1230 Bad Romance                       PA0001751974   Sony/ATV Music Publishing LLC
 1231 Bassline                          PA0001896024   Sony/ATV Music Publishing LLC
 1232 Beautiful Freaks                  PA0001803641   Sony/ATV Music Publishing LLC
 1233 Beautiful, Dirty, Rich            PA0001685320   Sony/ATV Music Publishing LLC
 1234 Beer For My Horses                PA0001109842   Sony/ATV Music Publishing LLC
 1235 Best Of Times                     PA0002069314   Sony/ATV Music Publishing LLC
 1236 Black Jesus (Amen Fashion)        PA0001752320   Sony/ATV Music Publishing LLC
 1237 Blind                             PA0001813213   Sony/ATV Music Publishing LLC
 1238 Blowin Money Fast                 PA0001821909   Sony/ATV Music Publishing LLC
 1239 Blowin' Up Your Speakers          PA0001158291   Sony/ATV Music Publishing LLC
 1240 Bojangles                         PA0001338581   Sony/ATV Music Publishing LLC
 1241 Boys Boys Boys                    PA0001685351   Sony/ATV Music Publishing LLC
 1242 Brave                             PA0001967864   Sony/ATV Music Publishing LLC
 1243 Broken Mirrors                    PA0001887807   Sony/ATV Music Publishing LLC
 1244 Brown Eyes                        PA0001685359   Sony/ATV Music Publishing LLC
 1245 Bubbly                            PA0001391445   Sony/ATV Music Publishing LLC
 1246 Can't Stop Me Now                 PA0001733402   Sony/ATV Music Publishing LLC
 1247 Carry On Dancing                  PA0000913967   Sony/ATV Music Publishing LLC
 1248 Center Stage                      PA0001952597   Sony/ATV Music Publishing LLC
 1249 Chartreuse                        PA0001952597   Sony/ATV Music Publishing LLC
 1250 Chasing You                       PA0001952597   Sony/ATV Music Publishing LLC
 1251 Church Pew Or Bar Stool           PA0001897745   Sony/ATV Music Publishing LLC
 1252 Club Zydeco Moon                  PA0001776561   Sony/ATV Music Publishing LLC
 1253 Come N Go                         PA0001780999   Sony/ATV Music Publishing LLC
 1254 Crazy Ain't Original              PA0001881665   Sony/ATV Music Publishing LLC
 1255 Dead Flowers                      PA0001682745   Sony/ATV Music Publishing LLC
 1256 Disparity By Design               PA0001887807   Sony/ATV Music Publishing LLC
 1257 DJ Khaled Interlude               PA0001661345   Sony/ATV Music Publishing LLC
 1258 Don't Give Up On Us               PA0001719662   Sony/ATV Music Publishing LLC
 1259 Don't Judge Me                    PA0001896026   Sony/ATV Music Publishing LLC
 1260 Don't Play This Song              PA0001750006   Sony/ATV Music Publishing LLC
 1261 Dope Ball (Interlude)             PA0001733400   Sony/ATV Music Publishing LLC
 1262 Drinks for You (Ladies Anthem)    PA0001833788   Sony/ATV Music Publishing LLC
 1263 Drones In The Valley              PA0001794291   Sony/ATV Music Publishing LLC
 1264 Eh, Eh (Nothing Else I Can Say)   PA0001685326   Sony/ATV Music Publishing LLC
 1265 Encore                            PA0001813214   Sony/ATV Music Publishing LLC
 1266 Endgame                           PA0001887807   Sony/ATV Music Publishing LLC
 1267 Farrah Fawcett Hair               PA0001952598   Sony/ATV Music Publishing LLC
 1268 Finally Here                      PA0001807843   Sony/ATV Music Publishing LLC
 1269 Fire Burns                        PA0001822066   Sony/ATV Music Publishing LLC
 1270 Flow                              PA0001794286   Sony/ATV Music Publishing LLC
 1271 Forca                             PA0001239138   Sony/ATV Music Publishing LLC
 1272 Freaky Deaky                      PA0001644872   Sony/ATV Music Publishing LLC
 1273 Free Love                         PA0001794291   Sony/ATV Music Publishing LLC
 1274 Freedom                           PA0001840533   Sony/ATV Music Publishing LLC
 1275 Gangsta Bop                       PA0001167178   Sony/ATV Music Publishing LLC
 1276 GHOST!                            PA0001750014   Sony/ATV Music Publishing LLC
 1277 Gimmie Dat                        PA0001835722   Sony/ATV Music Publishing LLC
 1278 Girlfriend In The City            PA0001753993   Sony/ATV Music Publishing LLC
 1279 Girls                             PA0001733986   Sony/ATV Music Publishing LLC
 1280 Girls Fall Like Dominoes          PA0001996711   Sony/ATV Music Publishing LLC
 1281 Girls Like You                    PA0001808680   Sony/ATV Music Publishing LLC
 1282 Give Me Everything                PA0001780977   Sony/ATV Music Publishing LLC
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 1283 Give Them What They Ask For                PA0001733406   Sony/ATV Music Publishing LLC
 1284 Glasgow                                    PA0001774897   Sony/ATV Music Publishing LLC

 1285 Good Enough For Now                        PA0000311496   Sony/ATV Music Publishing LLC
 1286 Gotta Get It (Dancer)                      PA0001807837   Sony/ATV Music Publishing LLC
 1287 Gypsy                                      PA0001893359   Sony/ATV Music Publishing LLC
 1288 Hair                                       PA0001752317   Sony/ATV Music Publishing LLC
 1289 Happy On The Hey Now (A Song For Kristi)   PA0001899369   Sony/ATV Music Publishing LLC
 1290 Heart Like Mine                            PA0001682741   Sony/ATV Music Publishing LLC
 1291 Help Is On The Way                         PA0001887807   Sony/ATV Music Publishing LLC
 1292 Hey Baby (Drop It To The Floor)            PA0001719812   Sony/ATV Music Publishing LLC
 1293 I Choose You                               PA0001967866   Sony/ATV Music Publishing LLC
 1294 I Don't Care                               PA0001996421   Sony/ATV Music Publishing LLC
 1295 I Don't Care                               PA0001022882   Sony/ATV Music Publishing LLC
 1296 I Know You Know                            PA0001807117   Sony/ATV Music Publishing LLC
 1297 I Like It                                  PA0001786618   Sony/ATV Music Publishing LLC
 1298 I Sold My Bed, But Not My Stereo           PA0001952597   Sony/ATV Music Publishing LLC
 1299 I Told You So                              PA0001892989   Sony/ATV Music Publishing LLC
 1300 I'm Gone                                   PA0001971310   Sony/ATV Music Publishing LLC
 1301 I'm Not A Star                             PA0001821873   Sony/ATV Music Publishing LLC
 1302 If I Ruled The World                       PA0001825040   Sony/ATV Music Publishing LLC
 1303 In One Ear                                 PA0001794292   Sony/ATV Music Publishing LLC
 1304 In The Dark                                PA0001783660   Sony/ATV Music Publishing LLC
 1305 Indy Kidz                                  PA0001794286   Sony/ATV Music Publishing LLC
 1306 Invisible                                  PA0001825037   Sony/ATV Music Publishing LLC
 1307 It's That Time Of Day                      PA0001899360   Sony/ATV Music Publishing LLC
 1308 James Brown                                PA0001794291   Sony/ATV Music Publishing LLC
 1309 Japanese Buffalo                           PA0001794286   Sony/ATV Music Publishing LLC
 1310 Judas                                      PA0001794291   Sony/ATV Music Publishing LLC
 1311 Judas                                      PA0001752321   Sony/ATV Music Publishing LLC
 1312 Juice Box                                  PA0001733404   Sony/ATV Music Publishing LLC
 1313 Just Dance                                 PA0001685310   Sony/ATV Music Publishing LLC
 1314 Just One Last Time                         PA0001896046   Sony/ATV Music Publishing LLC
 1315 Kangaroo Court                             PA0001952597   Sony/ATV Music Publishing LLC
 1316 Krazy                                      PA0001733987   Sony/ATV Music Publishing LLC
 1317 Lanterns                                   PA0001887807   Sony/ATV Music Publishing LLC
 1318 Last Chance                                PA0001728914   Sony/ATV Music Publishing LLC
 1319 Lazy Lies                                  PA0001952597   Sony/ATV Music Publishing LLC
 1320 Let's Get Lifted Again                     PA0001160450   Sony/ATV Music Publishing LLC
 1321 Like A G6                                  PA0001778021   Sony/ATV Music Publishing LLC
 1322 Lindy                                      PA0001899353   Sony/ATV Music Publishing LLC
 1323 Little Bad Girl                            PA0001814075   Sony/ATV Music Publishing LLC
 1324 Long Distance                              PA0001821287   Sony/ATV Music Publishing LLC
 1325 Lotus                                      PA0001794291   Sony/ATV Music Publishing LLC
 1326 Love Away                                  PA0001952597   Sony/ATV Music Publishing LLC
 1327 Love The Girls                             PA0001772294   Sony/ATV Music Publishing LLC
 1328 Love Who You Love                          PA0001661382   Sony/ATV Music Publishing LLC
 1329 LoveGame                                   PA0001685315   Sony/ATV Music Publishing LLC
 1330 Low                                        PA0001644879   Sony/ATV Music Publishing LLC
 1331 Lunar                                      PA0001814079   Sony/ATV Music Publishing LLC
 1332 Mafia Music                                PA0001748285   Sony/ATV Music Publishing LLC
 1333 Maintain the Pain                          PA0001682745   Sony/ATV Music Publishing LLC
 1334 Make It Stop (September's Children)        PA0001887807   Sony/ATV Music Publishing LLC
 1335 Makin' Plans                               PA0001682745   Sony/ATV Music Publishing LLC
 1336 Mama Africa                                PA0001167181   Sony/ATV Music Publishing LLC
 1337 Manos Al Aire                              PA0001760999   Sony/ATV Music Publishing LLC
 1338 Marchin On                                 PA0001755881   Sony/ATV Music Publishing LLC
 1339 Maria                                      PA0001834767   Sony/ATV Music Publishing LLC
 1340 Marley                                     PA0001899367   Sony/ATV Music Publishing LLC
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 1341 Marry Me                            PA0001896439   Sony/ATV Music Publishing LLC
 1342 Mary Jane Holland                   PA0001893360   Sony/ATV Music Publishing LLC
 1343 Maybach Music                       PA0001639897   Sony/ATV Music Publishing LLC
 1344 MC Hammer                           PA0001821908   Sony/ATV Music Publishing LLC
 1345 Me and Your Cigarettes              PA0001682744   Sony/ATV Music Publishing LLC
 1346 Metropolis                          PA0001827951   Sony/ATV Music Publishing LLC
 1347 Midnight Hands                      PA0001887807   Sony/ATV Music Publishing LLC
 1348 Mmm Yeah                            PA0001886182   Sony/ATV Music Publishing LLC
 1349 Mojo So Dope                        PA0001750010   Sony/ATV Music Publishing LLC
 1350 Money Right                         PA0001644871   Sony/ATV Music Publishing LLC
 1351 Monster                             PA0001751978   Sony/ATV Music Publishing LLC
 1352 Mr. Rager                           PA0001750006   Sony/ATV Music Publishing LLC
 1353 Mr. Worldwide (Intro)               PA0001780983   Sony/ATV Music Publishing LLC
 1354 Murda                               PA0001996420   Sony/ATV Music Publishing LLC
 1355 Music Sounds Better                 PA0001825036   Sony/ATV Music Publishing LLC
 1356 Must Be Something I Missed          PA0001899368   Sony/ATV Music Publishing LLC
 1357 My Heart Beats For Love             PA0001708952   Sony/ATV Music Publishing LLC
 1358 My Heart Will Go On                 PA0000880171   Sony/ATV Music Publishing LLC
 1359 Nature Trail To Hell                PA0000205633   Sony/ATV Music Publishing LLC
 1360 Never                               PA0001807823   Sony/ATV Music Publishing LLC
 1361 Never Took The Time                 PA0001663701   Sony/ATV Music Publishing LLC
 1362 Night Is Young                      PA0001753995   Sony/ATV Music Publishing LLC
 1363 No. 1                               PA0001821894   Sony/ATV Music Publishing LLC
 1364 Nothing Even Matters                PA0001807063   Sony/ATV Music Publishing LLC
 1365 Nothing Really Matters              PA0001814078   Sony/ATV Music Publishing LLC
 1366 Oh Yeah                             PA0001807062   Sony/ATV Music Publishing LLC
 1367 On and On                           PA0001735747   Sony/ATV Music Publishing LLC
 1368 On The Floor                        PA0001770236   Sony/ATV Music Publishing LLC
 1369 Only Prettier                       PA0001682740   Sony/ATV Music Publishing LLC
 1370 Origami                             PA0001952597   Sony/ATV Music Publishing LLC
 1371 Out Of Town Girl                    PA0001835122   Sony/ATV Music Publishing LLC
 1372 Oye Baby                            PA0001745498   Sony/ATV Music Publishing LLC
 1373 Paparazzi                           PA0001685323   Sony/ATV Music Publishing LLC
 1374 Paper Gangsta                       PA0001685367   Sony/ATV Music Publishing LLC
 1375 Papi                                PA0001810026   Sony/ATV Music Publishing LLC
 1376 Party Hard / Cadillac (Interlude)   PA0001896504   Sony/ATV Music Publishing LLC
 1377 Patience Gets Us Nowhere Fast       PA0001952597   Sony/ATV Music Publishing LLC
 1378 Pay Me                              PA0001808680   Sony/ATV Music Publishing LLC
 1379 Play Hard                           PA0001827956   Sony/ATV Music Publishing LLC
 1380 Poker Face                          PA0001685342   Sony/ATV Music Publishing LLC
 1381 Pretty Wings                        PA0001707770   Sony/ATV Music Publishing LLC
 1382 Priceless                           PA0001644888   Sony/ATV Music Publishing LLC
 1383 Promises                            PA0000913967   Sony/ATV Music Publishing LLC
 1384 Put It Down                         PA0001787201   Sony/ATV Music Publishing LLC
 1385 Quickie                             PA0001808680   Sony/ATV Music Publishing LLC
 1386 R.O.O.T.S.                          PA0001807832   Sony/ATV Music Publishing LLC
 1387 Radio                               PA0001807090   Sony/ATV Music Publishing LLC
 1388 Raise 'Em Up                        PA0001947439   Sony/ATV Music Publishing LLC
 1389 Raw (How You Like It)               PA0001848766   Sony/ATV Music Publishing LLC
 1390 Ready To Roll                       PA0001890859   Sony/ATV Music Publishing LLC
 1391 Repeat                              PA0001814085   Sony/ATV Music Publishing LLC
 1392 Rewind                              PA0001807819   Sony/ATV Music Publishing LLC
 1393 Ridin' Solo                         PA0001813218   Sony/ATV Music Publishing LLC
 1394 Right Before My Eyes                PA0001794286   Sony/ATV Music Publishing LLC
 1395 Right By My Side                    PA0001822037   Sony/ATV Music Publishing LLC
 1396 Right Here (Departed)               PA0001821289   Sony/ATV Music Publishing LLC
                                          PA0001639208
 1397 Right Round                         PA0001648304   Sony/ATV Music Publishing LLC
 1398 Robot                               PA0001708950   Sony/ATV Music Publishing LLC
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 1399 Rocketeer                       PA0001778016    Sony/ATV Music Publishing LLC
 1400 Rubber Ball                     PA0001794286    Sony/ATV Music Publishing LLC
 1401 Runnin' Around                  PA0001698432    Sony/ATV Music Publishing LLC
 1402 Sabertooth Tiger                PA0001794286    Sony/ATV Music Publishing LLC
 1403 Safe and Sound                  PA0001952597    Sony/ATV Music Publishing LLC
 1404 Satellite                       PA0001887807    Sony/ATV Music Publishing LLC
 1405 Scared Of Beautiful             PA0001846377    Sony/ATV Music Publishing LLC
 1406 Scars                           PA0001708950    Sony/ATV Music Publishing LLC
 1407 Sell Yourself                   PA0001794286    Sony/ATV Music Publishing LLC
 1408 Sexxx Dreams                    PA0001980181    Sony/ATV Music Publishing LLC
 1409 Sexy Bitch                      PA0001703244    Sony/ATV Music Publishing LLC
 1410 Shake Senora                    PA0001820421    Sony/ATV Music Publishing LLC
 1411 Shake Senora Remix              PA0001820421    Sony/ATV Music Publishing LLC
 1412 She Don't Like The Lights       PA0001822166    Sony/ATV Music Publishing LLC
 1413 She Wolf (Falling to Pieces)    PA0001896051    Sony/ATV Music Publishing LLC
 1414 She'd Be California             PA0001661378    Sony/ATV Music Publishing LLC
 1415 Shiza                           PA0001752319    Sony/ATV Music Publishing LLC
 1416 Shut It Down                    PA0001733390    Sony/ATV Music Publishing LLC
 1417 Silence                         PA0000740717    Sony/ATV Music Publishing LLC
 1418 Sin For A Sin                   PA0001682734    Sony/ATV Music Publishing LLC
 1419 Sinner                          PA0001777809    Sony/ATV Music Publishing LLC
                                      PA0001751980
 1420 So Happy I Could Die            PA0001668692    Sony/ATV Music Publishing LLC
 1421 Soil To The Sun                 PA0001794291    Sony/ATV Music Publishing LLC
 1422 Something For The DJs           PA0001774899    Sony/ATV Music Publishing LLC
 1423 South Of You                    PA0001776561    Sony/ATV Music Publishing LLC
 1424 Spaghetti                       PA0001879175    Sony/ATV Music Publishing LLC
 1425 Speechless                      PA0001751979    Sony/ATV Music Publishing LLC
 1426 Spread The Love                 PA0001899352    Sony/ATV Music Publishing LLC
 1427 Stand Up                        PA0001946133    Sony/ATV Music Publishing LLC
 1428 Stars                           PA0001753996    Sony/ATV Music Publishing LLC
                                      PA0001685366
 1429 Starstruck                      PA0001650637    Sony/ATV Music Publishing LLC
 1430 Stay                            PA0001708951    Sony/ATV Music Publishing LLC
 1431 Stay With Me                    PA0001698437    Sony/ATV Music Publishing LLC
 1432 Still Missin                    PA0001644870    Sony/ATV Music Publishing LLC
 1433 Strip                           PA0001896031    Sony/ATV Music Publishing LLC
 1434 Summerboy                       PA0001685365    Sony/ATV Music Publishing LLC
 1435 Survivor Guilt                  PA0001887807    Sony/ATV Music Publishing LLC
 1436 Sweat                           PA0001803810    Sony/ATV Music Publishing LLC
 1437 Sweat (Dubstep Remix)           PA0001814071    Sony/ATV Music Publishing LLC
 1438 Sweet Surrender                 PA0000866242    Sony/ATV Music Publishing LLC
 1439 Sweetie                         PA0001864023    Sony/ATV Music Publishing LLC
 1440 Take Me Along                   PA0001708950    Sony/ATV Music Publishing LLC
 1441 Tears Of Pearls                 PA0000913967    Sony/ATV Music Publishing LLC
                                      PA0001920260
 1442 Teenage Kings                                   Sony/ATV Music Publishing LLC
 1443 Tell Me How To Live             PA0001952597    Sony/ATV Music Publishing LLC
 1444 The Future                      PA0001774893    Sony/ATV Music Publishing LLC
 1445 The Only One                    PA0001807094    Sony/ATV Music Publishing LLC
 1446 The Sun Will Rise               PA0001807177    Sony/ATV Music Publishing LLC
 1447 The Sweet Escape                PA0001166379    Sony/ATV Music Publishing LLC
 1448 The Time (Dirty Bit)            PA0001796440    Sony/ATV Music Publishing LLC
 1449 These Worries                   PA0001750006    Sony/ATV Music Publishing LLC
 1450 Things That Matter              PA0001661359    Sony/ATV Music Publishing LLC
 1451 This Is Letting Go              PA0001887807    Sony/ATV Music Publishing LLC
 1452 Tik Tik Boom                    PA0001917951    Sony/ATV Music Publishing LLC
 1453 Til It's Gone                   PA0001917966    Sony/ATV Music Publishing LLC
 1454 Time                            PA0001874359    Sony/ATV Music Publishing LLC
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 1455 Tiny Little Robots                   PA0001794291   Sony/ATV Music Publishing LLC
 1456 Titanium                             PA0001814072   Sony/ATV Music Publishing LLC
 1457 Tonight Tonight                      PA0001765703   Sony/ATV Music Publishing LLC
 1458 Torn Down                            PA0001821291   Sony/ATV Music Publishing LLC
 1459 Touch Me                             PA0001896041   Sony/ATV Music Publishing LLC
 1460 Touch Me                             PA0001807825   Sony/ATV Music Publishing LLC
 1461 Toy Story                            PA0001774895   Sony/ATV Music Publishing LLC
 1462 Triumph                              PA0001733388   Sony/ATV Music Publishing LLC
                                           PA0001814076
 1463 Turn Me On                           PA0001822072   Sony/ATV Music Publishing LLC
 1464 Twisted                              PA0001642854   Sony/ATV Music Publishing LLC
 1465 U Want Me 2                          PA0001719661   Sony/ATV Music Publishing LLC
 1466 Universe                             PA0000913967   Sony/ATV Music Publishing LLC
 1467 Venus                                PA0001893364   Sony/ATV Music Publishing LLC
 1468 Violet                               PA0000913967   Sony/ATV Music Publishing LLC
 1469 Virginia Bluebell                    PA0001682743   Sony/ATV Music Publishing LLC
 1470 Vixen                                PA0001808680   Sony/ATV Music Publishing LLC
 1471 Wait For Me                          PA0001887807   Sony/ATV Music Publishing LLC
 1472 Way Out Here                         PA0001777804   Sony/ATV Music Publishing LLC
 1473 We Aite (Wake Your Mind Up)          PA0001750006   Sony/ATV Music Publishing LLC
 1474 What I Wanted to Say                 PA0001698434   Sony/ATV Music Publishing LLC
 1475 What If                              PA0001813212   Sony/ATV Music Publishing LLC
 1476 Whatcha Say                          PA0001813211   Sony/ATV Music Publishing LLC
                                           PA0001682910
 1477 When Love Takes Over                 PA0001644855   Sony/ATV Music Publishing LLC
 1478 White Liar                           PA0001682738   Sony/ATV Music Publishing LLC
 1479 Who I Am With You                    PA0001887676   Sony/ATV Music Publishing LLC
 1480 Why Don't We Just Dance              PA0001689774   Sony/ATV Music Publishing LLC
 1481 With You, Without You                PA0001607900   Sony/ATV Music Publishing LLC
 1482 Won't Be Lonely Long - On The Road   PA0001777801   Sony/ATV Music Publishing LLC
 1483 XO                                   PA0001879186   Sony/ATV Music Publishing LLC
 1484 You Ain't Seen Country Yet           PA0000177803   Sony/ATV Music Publishing LLC
 1485 You And I                            PA0001751989   Sony/ATV Music Publishing LLC
                                           PA0001794383
 1486 Hustle Hard Remix                                   Sony/ATV Music Publishing LLC
 1487 Intro                                PA0001874326   Sony/ATV Music Publishing LLC
 1488 Trouble On My Mind                   PA0001789134   Sony/ATV Music Publishing LLC
                                           PA0001875761   Sony/ATV Music Publishing LLC / EMI April
 1489 You're Not In On The Joke            PA0001662742   Music Inc.
                                                          Sony/ATV Music Publishing LLC / EMI April
 1490 Forgiveness                          PA0001158290   Music Inc.
                                                          Sony/ATV Music Publishing LLC / EMI April
 1491 Home This Christmas                  PA0001780222   Music Inc.
                                                          Sony/ATV Music Publishing LLC / EMI April
 1492 Oh My Love                           PA0001772289   Music Inc.
                                                          Sony/ATV Music Publishing LLC / EMI April
 1493 Say It With Me                       PA0001772291   Music Inc.
                                                          Sony/ATV Music Publishing LLC / EMI April
 1494 Daddy's Little Girl                  PA0001706680   Music Inc.
                                                          Sony/ATV Music Publishing LLC / EMI April
 1495 Fading                               PA0001728370   Music Inc.
                                                          Sony/ATV Music Publishing LLC / EMI April
 1496 Mirage                               PA0001896025   Music Inc.
                                           PA0001875762   Sony/ATV Music Publishing LLC / EMI April
 1497 Move Like You Gonna Die              PA0001662776   Music Inc.
                                                          Sony/ATV Music Publishing LLC / EMI April
 1498 The Way                              PA0001903036   Music Inc.
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                                              PA0001750267   Sony/ATV Music Publishing LLC / EMI April
 1499 Can A Drummer Get Some                  PA0001739931   Music Inc. / Warner-Tamerlane Publishing Corp.
                                                             Sony/ATV Music Publishing LLC / EMI April
 1500 It's Not Right But It's Okay            PA0000954971   Music Inc. / EMI Blackwood Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI April
 1501 Where Them Girls At                     PA0001761902   Music Inc. / EMI Blackwood Music Inc.
                                              PA0001673111   Sony/ATV Music Publishing LLC / EMI April
 1502 Here I Stand                            PA0001659007   Music Inc. / WB Music Corp.
                                              PA0001848908   Sony/ATV Music Publishing LLC / EMI April
 1503 Talk That Talk                          PA0002003919   Music Inc. / WB Music Corp.
                                                             Sony/ATV Music Publishing LLC / EMI April
                                              PA0001771874   Music Inc. / WB Music Corp. / W.B.M. Music
 1504 Castle Made Of Sand                     PA0001780992   Corp.
                                                             Sony/ATV Music Publishing LLC / EMI April
                                              PA0001858812   Music Inc. / WB Music Corp. / Warner-
 1505 Jay Z Blue                              PA0001878202   Tamerlane Publishing Corp.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1506 Downtown                                PA0001864826   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1507 More                                    PA0001745641   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1508 Superstar                               PA0001825039   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1509 Your Mama Should've Named You Whiskey   PA0001914393   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1510 Across The World                        PA0001706677   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1511 Call Of The Wild                        PA0001733405   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1512 Dirty                                   PA0001895398   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1513 Feel This Moment                        PA0001858590   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1514 Fire                                    PA0001896434   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1515 Global Warming                          PA0001858589   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1516 Hope We Meet Again                      PA0001858593   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1517 I'm Gone                                PA0001788402   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1518 Took My Love                            PA0001781001   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1519 Wet The Bed                             PA0001883692   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1520 Where Do We Go                          PA0001760301   Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1521 Big Night                               PA0001807064   Music Inc. / EMI April Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1522 Party Ain't Over                        PA0001933663   Music Inc. / EMI April Music Inc.
                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1523 What About Us?                          PA0001072616   Music Inc. / EMI April Music Inc.

                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1524 Fast Lane                               PA0001842407   Music Inc. / Warner-Tamerlane Publishing Corp.

                                                             Sony/ATV Music Publishing LLC / EMI Blackwood
 1525 Fuego                                   PA0001884048   Music Inc. / Warner-Tamerlane Publishing Corp.
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                                                      Sony/ATV Music Publishing LLC / EMI Blackwood
 1526 Hotel Room Service               PA0001677761   Music Inc. / Warner-Tamerlane Publishing Corp.

                                                      Sony/ATV Music Publishing LLC / EMI Blackwood
 1527 Without A Woman                  PA0001865872   Music Inc. / Warner-Tamerlane Publishing Corp.

                                       PA0001856240   Sony/ATV Music Publishing LLC / EMI Blackwood
 1528 Unfortunate                      PA0001787038   Music Inc. / Warner-Tamerlane Publishing Corp.
                                       PA0001870870   Sony/ATV Music Publishing LLC / EMI Blackwood
 1529 Dirt Road Diary                  PA0001967431   Music Inc. / WB Music Corp.
                                       PA0001852371   Sony/ATV Music Publishing LLC / EMI Blackwood
 1530 I Did It For My Dawgz            PA0001874308   Music Inc. / WB Music Corp.
                                                      Sony/ATV Music Publishing LLC / EMI Blackwood
 1531 With The Lights On               PA0001924140   Music Inc. / WB Music Corp.
                                                      Sony/ATV Music Publishing LLC / Jobete Music
 1532 Tears Of Joy                     PA0001821877   Co Inc
                                                      Sony/ATV Music Publishing LLC / Jobete Music
 1533 Dance (Ass)                      PA0001760422   Co. Inc.
                                       PA0001852397   Sony/ATV Music Publishing LLC / W.B.M. Music
 1534 Mr. Right Now                    PA0001780994   Corp./WB Music Corp.
                                       PA0001741677   Sony/ATV Music Publishing LLC / Warner-
 1535 21                               PA0001821636   Tamerlane Publishing Corp.
                                       PA0001638917   Sony/ATV Music Publishing LLC / Warner-
 1536 American Superstar               PA0001644943   Tamerlane Publishing Corp.
                                       PA0001757746   Sony/ATV Music Publishing LLC / Warner-
 1537 Americano                        PA0001752324   Tamerlane Publishing Corp.
                                       PA0001693110   Sony/ATV Music Publishing LLC / Warner-
 1538 Back Around                      PA0001777802   Tamerlane Publishing Corp.
                                       PA0001757746   Sony/ATV Music Publishing LLC / Warner-
 1539 Bloody Mary                      PA0001752323   Tamerlane Publishing Corp.
                                       PA0001807230   Sony/ATV Music Publishing LLC / Warner-
 1540 Blunt Blowin                     PA0001811893   Tamerlane Publishing Corp.
                                       PA0001757756   Sony/ATV Music Publishing LLC / Warner-
 1541 Born This Way                    PA0001751981   Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1542 Cut Throat                       PA0001648869   Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1543 Dance In The Dark                PA0001668360   Tamerlane Publishing Corp.
                                       PA0001647060   Sony/ATV Music Publishing LLC / Warner-
 1544 Don't Know How To Act            PA0001644874   Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1545 Fall Asleep                      PA0001874350   Tamerlane Publishing Corp.
                                       PA0001757748   Sony/ATV Music Publishing LLC / Warner-
 1546 Fashion Of His Love              PA0001751985   Tamerlane Publishing Corp.
                                       PA0001951624   Sony/ATV Music Publishing LLC / Warner-
 1547 Got Everything                   PA0001874348   Tamerlane Publishing Corp.
                                       PA0001757746   Sony/ATV Music Publishing LLC / Warner-
 1548 Government Hooker                PA0001752316   Tamerlane Publishing Corp.
                                       PA0001757748   Sony/ATV Music Publishing LLC / Warner-
 1549 Heavy Metal Lover                PA0001751982   Tamerlane Publishing Corp.
                                       PA0001995833   Sony/ATV Music Publishing LLC / Warner-
 1550 High School                      PA0001840527   Tamerlane Publishing Corp.
                                       PA0001757746   Sony/ATV Music Publishing LLC / Warner-
 1551 Highway Unicorn (Road To Love)   PA0001752322   Tamerlane Publishing Corp.
                                       PA0001856126   Sony/ATV Music Publishing LLC / Warner-
 1552 Honestly                         PA0001803614   Tamerlane Publishing Corp.
                                       PA0001742580   Sony/ATV Music Publishing LLC / Warner-
 1553 In My Head                       PA0001813215   Tamerlane Publishing Corp.
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                                      PA0001647062    Sony/ATV Music Publishing LLC / Warner-
 1554 In The Ayer                     PA0001644948    Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1555 International Love              PA0001771867    Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1556 John                            PA0001807238    Tamerlane Publishing Corp.
                                      PA0001951623    Sony/ATV Music Publishing LLC / Warner-
 1557 Let It Go                       PA0001874344    Tamerlane Publishing Corp.
                                      PA0001742580    Sony/ATV Music Publishing LLC / Warner-
 1558 Love Hangover                   PA0001813216    Tamerlane Publishing Corp.
                                      PA0001691877    Sony/ATV Music Publishing LLC / Warner-
 1559 Love Song                       PA0001682742    Tamerlane Publishing Corp.
                                      PA0001807225    Sony/ATV Music Publishing LLC / Warner-
 1560 Marilyn Monroe                  PA0001822206    Tamerlane Publishing Corp.
                                      PA0001757748    Sony/ATV Music Publishing LLC / Warner-
 1561 Marry The Night                 PA0001751986    Tamerlane Publishing Corp.
                                      PA0001951617    Sony/ATV Music Publishing LLC / Warner-
 1562 No Limit                        PA0001874362    Tamerlane Publishing Corp.
                                      PA0001896719    Sony/ATV Music Publishing LLC / Warner-
 1563 Not A Bad Thing                                 Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1564 Paperbond                       PA0001874342    Tamerlane Publishing Corp.
                                      PA0001741420    Sony/ATV Music Publishing LLC / Warner-
 1565 Permanent December              PA0001708953    Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1566 Romans Revenge                  PA0001786576    Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1567 Side FX                         PA0001896430    Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1568 Stackin                         PA0001841819    Tamerlane Publishing Corp.
                                      PA0001807221    Sony/ATV Music Publishing LLC / Warner-
 1569 Starships                       PA0001822042    Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1570 Stupid Love                     PA0001924144    Tamerlane Publishing Corp.
                                      PA0001985062    Sony/ATV Music Publishing LLC / Warner-
 1571 Take Back The Night             PA0001896718    Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1572 Talk Dirty                      PA0001924145    Tamerlane Publishing Corp.
                                                      Sony/ATV Music Publishing LLC / Warner-
 1573 The Bluff                       PA0001874346    Tamerlane Publishing Corp.
                                      PA0001757746    Sony/ATV Music Publishing LLC / Warner-
 1574 The Edge Of Glory               PA0001751987    Tamerlane Publishing Corp.
                                      PA0001874363    Sony/ATV Music Publishing LLC / Warner-
 1575 The Plan                        PA0001913727    Tamerlane Publishing Corp.
                                      PA0001757748    Sony/ATV Music Publishing LLC / Warner-
 1576 The Queen                       PA0001751984    Tamerlane Publishing Corp.
                                      PA0001750275    Sony/ATV Music Publishing LLC / Warner-
 1577 The Show Goes On                PA0001735709    Tamerlane Publishing Corp.
                                      PA0001821294    Sony/ATV Music Publishing LLC / Warner-
 1578 True                            PA0001882758    Tamerlane Publishing Corp.
                                      PA0001771888    Sony/ATV Music Publishing LLC / Warner-
 1579 Unusual                         PA0001787047    Tamerlane Publishing Corp.
                                      PA0001844126    Sony/ATV Music Publishing LLC / Warner-
 1580 Welcome To My Hood              PA0001840262    Tamerlane Publishing Corp.
                                      PA0001741927    Sony/ATV Music Publishing LLC / Warner-
 1581 What's Wrong With Them          PA0001804877    Tamerlane Publishing Corp.
                                      PA0001807223    Sony/ATV Music Publishing LLC / Warner-
 1582 Whip It                         PA0001822050    Tamerlane Publishing Corp.
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                                        PA0001771889   Sony/ATV Music Publishing LLC / Warner-
 1583 You Just Need Me                  PA0001787045   Tamerlane Publishing Corp.
                                        PA0001791456   Sony/ATV Music Publishing LLC / WB Music
 1584 All Alone                         PA0001810597   Corp.
                                        PA0001791457   Sony/ATV Music Publishing LLC / WB Music
 1585 All Alright                       PA0001810599   Corp.
                                        PA0001736350   Sony/ATV Music Publishing LLC / WB Music
 1586 Bomb                              PA0001883694   Corp.
                                                       Sony/ATV Music Publishing LLC / WB Music
 1587 Boyfriend                         PA0001834755   Corp.
                                        PA0001791456   Sony/ATV Music Publishing LLC / WB Music
 1588 Carry On                          PA0001812238   Corp.
                                        PA0001823951   Sony/ATV Music Publishing LLC / WB Music
 1589 Each Other                        PA0001763340   Corp.
                                        PA0001856139   Sony/ATV Music Publishing LLC / WB Music
 1590 Get It Started                    PA0001833984   Corp.
                                        PA0001334589   Sony/ATV Music Publishing LLC / WB Music
 1591 Hustlin'                          PA0001367972   Corp.
                                        PA0001864854   Sony/ATV Music Publishing LLC / WB Music
 1592 I Cry                             PA0001887864   Corp.
                                        PA0001706662   Sony/ATV Music Publishing LLC / WB Music
 1593 I Know You Want Me (Calle Ocho)   PA0001733983   Corp.
                                        PA0001791456   Sony/ATV Music Publishing LLC / WB Music
 1594 It Gets Better                    PA0001810595   Corp.
                                        PA0001622996   Sony/ATV Music Publishing LLC / WB Music
 1595 Lace and Leather                  PA0001647942   Corp.
                                        PA0001659046   Sony/ATV Music Publishing LLC / WB Music
 1596 Lover's Thing                     PA0001755160   Corp.
                                                       Sony/ATV Music Publishing LLC / WB Music
 1597 No New Friends                    PA0001975061   Corp.
                                        PA0001791458   Sony/ATV Music Publishing LLC / WB Music
 1598 One Foot                          PA0001811984   Corp.
                                        PA0001919070   Sony/ATV Music Publishing LLC / WB Music
 1599 Sexodus                           PA0001955249   Corp.
                                        PA0001775944   Sony/ATV Music Publishing LLC / WB Music
 1600 She Ain't You                     PA0001772287   Corp.
                                        PA0001791456   Sony/ATV Music Publishing LLC / WB Music
 1601 Some Nights                       PA0001810594   Corp.
                                        PA0001791456   Sony/ATV Music Publishing LLC / WB Music
 1602 Some Nights (Intro)               PA0001810593   Corp.
                                        PA0001791456   Sony/ATV Music Publishing LLC / WB Music
 1603 Stars                             PA0001810598   Corp.
                                        PA0001742577   Sony/ATV Music Publishing LLC / WB Music
 1604 The Sky's The Limit               PA0001813221   Corp.
                                        PA0001745024   Sony/ATV Music Publishing LLC / WB Music
 1605 Turn Around (5,4,3,2,1)           PA0001821659   Corp.
                                        PA0001791456   Sony/ATV Music Publishing LLC / WB Music
 1606 Why Am I the One                  PA0001810596   Corp.
                                        PA0001741641   Sony/ATV Music Publishing LLC / WB Music
 1607 Why You Up In Here                PA0001821674   Corp.
                                                       Sony/ATV Music Publishing LLC / WB Music
 1608 Applause                          PA0001893358   Corp. / Warner-Tamerlane Publishing Corp.
                                                       Sony/ATV Music Publishing LLC / WB Music
 1609 ARTPOP                            PA0001893362   Corp. / Warner-Tamerlane Publishing Corp.
                                        PA0001864144   Sony/ATV Music Publishing LLC / WB Music
 1610 Beg For It                        PA0001772282   Corp. / Warner-Tamerlane Publishing Corp.
                                        PA0001842280   Sony/ATV Music Publishing LLC / WB Music
 1611 Biggest Fan                       PA0001896028   Corp. / Warner-Tamerlane Publishing Corp.
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                                                              Sony/ATV Music Publishing LLC / WB Music
 1612 Dope                                     PA0001893362   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
 1613 Heaven                                   PA0001858834   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
 1614 Jewels N' Drugs                          PA0001893363   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
 1615 Let It Roll Part 2                       PA0001863569   Corp. / Warner-Tamerlane Publishing Corp.
                                               PA0001780014   Sony/ATV Music Publishing LLC / WB Music
 1616 Lose Control                             PA0001755876   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
 1617 MANiCURE                                 PA0001893362   Corp. / Warner-Tamerlane Publishing Corp.
                                               PA0001870023   Sony/ATV Music Publishing LLC / WB Music
 1618 Maybe You're Right                       PA0001920676   Corp. / Warner-Tamerlane Publishing Corp.
                                               PA0001780007   Sony/ATV Music Publishing LLC / WB Music
 1619 Morning After Dark                       PA0001755873   Corp. / Warner-Tamerlane Publishing Corp.
                                               PA0001870022   Sony/ATV Music Publishing LLC / WB Music
 1620 My Darlin'                               PA0001920653   Corp. / Warner-Tamerlane Publishing Corp.
                                               PA0001398432   Sony/ATV Music Publishing LLC / WB Music
 1621 Picasso Baby                             PA0001858799   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
 1622 Remember You                             PA0001872896   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
 1623 Swine                                    PA0001893362   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
 1624 The One I Love                           PA0001755880   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
 1625 Tom Ford                                 PA0001858805   Corp. / Warner-Tamerlane Publishing Corp.
                                                              Sony/ATV Music Publishing LLC / WB Music
                                               PA0001720333   Corp. / Warner-Tamerlane Publishing Corp. /
 1626 Bow Chicka Wow Wow                       PA0001767655   Warner/Chappell Music, Inc.
                                               Eu0000789133   Stone Agate Music (a division of Jobete Music
 1627 Can I Get A Witness                      RE0000535701   Co. Inc.)
                                                              Stone Agate Music (a division of Jobete Music
 1628 It Takes Two                             EP0000214841   Co. Inc.)
                                                              Stone Agate Music (a division of Jobete Music
 1629 That's The Way Love Is                   RE0000678602   Co. Inc.)
                                                              Stone Diamond Music Corp. / Jobete Music Co.
 1630 God Gave Me Style                        PA0001160843   Inc.
                                               EU0000721849
 1631 Down In The Valley                       RE0000476578   Unichappell Music Inc.
 1632 Gold Digger                              PA0001299043   Unichappell Music Inc.
                                               EU0000437231
 1633 Hallelujah I Love Her So                 RE0000193661   Unichappell Music Inc.
                                               Eu0000760358
 1634 Home In Your Heart                       RE0000519130   Unichappell Music Inc.
                                               Eu0000571481
 1635 I Got Stripes                            RE0000328946   Unichappell Music Inc.
 1636 In The Rain                              PA0001697043   Unichappell Music Inc.
 1637 Live Fast, Die Young                     PA0001739156   Unichappell Music Inc.
 1638 Lloyd (Intro)                            PA0001387423   Unichappell Music Inc.
 1639 Lost In The World                        PA0001784045   Unichappell Music Inc.
                                               Eu0000859313
 1640 Mrs Brown You've Got A Lovely Daughter   RE0000616096   Unichappell Music Inc.
 1641 Necromancer                              Eu0000236563   Unichappell Music Inc.
                                               Eu0000937504
                                               EP0000204266
                                               RE0000660458
 1642 Papa's Got A Brand New Bag               RE0000621005   Unichappell Music Inc.
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 1643 Pump It Harder                                      PA0001723093   Unichappell Music Inc.
 1644 San Franciscan Nights                               EP0000241081   Unichappell Music Inc.
 1645 Somebody That I Used To Know                        PA0001785517   Unichappell Music Inc.
                                                          Eu0000893033
 1646 Sweet Betsy from Pike                               RE0000609795   Unichappell Music Inc.
 1647 The Food                                            PA0001299025   Unichappell Music Inc.
 1648 The Title                                           PA0001263488   Unichappell Music Inc.
 1649 Walking The Blues                                   PA0000541382   Unichappell Music Inc.
 1650 Walking the Floor over You                          EP0000105220   Unichappell Music Inc.
 1651 Where Have You Been                                 PA0001801575   Unichappell Music Inc.
                                                          PA0000782831
 1652 1st Of Tha Month                                    SRu000005339   Unichappell Music Inc.
                                                          EP0000056342
 1653 Always Late (with Your Kisses)                      RE0000017054   Unichappell Music Inc.
                                                          Eu0000893037
 1654 Bury Me Not On the Lone Prairie                     RE0000609798   Unichappell Music Inc.
 1655 Chaining Day                                        PA0001939572   Unichappell Music Inc.
                                                                         Unichappell Music Inc. / Warner-Tamerlane
 1656 It's a Man's Man's Man's World                      PA0000934266   Publishing Corp.
                                                                         Unichappell Music Inc. / Warner-Tamerlane
 1657 New God Flow                                        PA0001839620   Publishing Corp.
                                                                         Unichappell Music Inc. / Warner-Tamerlane
 1658 New God Flow.1                                      PA0001839620   Publishing Corp.
                                                                         Unichappell Music Inc. / Warner-Tamerlane
 1659 TKO                                                 PA0001896712   Publishing Corp.
                                                          PA0001131132
 1660 Crazy in Love                                       PA0001208972   Unichappell Music Inc. / WB Music Corp.
 1661 Don't Like.1                                        PA0001808408   Unichappell Music Inc. / WB Music Corp.
 1662 Gotta Have It                                       PA0001762033   Unichappell Music Inc. / WB Music Corp.
 1663 Otis                                                PA0001762031   Unichappell Music Inc. / WB Music Corp.
 1664 That's My Bitch                                     PA0001762034   Unichappell Music Inc. / WB Music Corp.
                                                                         Unichappell Music Inc. / WB Music Corp. /
 1665 No Church In The Wild                               PA0001762032   Warner-Tamerlane Publishing Corp.
                                                                         Unichappell Music Inc. / WB Music Corp. /
 1666 Suit & Tie                                          PA0001939563   Warner-Tamerlane Publishing Corp.
 1667 1234                                                PA0001692663   Universal Music - MGB NA LLC
 1668 A Distorted Reality Is Now A Necessity To Be Free   PA0001160161   Universal Music - MGB NA LLC
 1669 A Fond Farewell                                     PA0001160152   Universal Music - MGB NA LLC
 1670 A Forest                                            PA0000194922   Universal Music - MGB NA LLC
 1671 A Message                                           PA0001700392   Universal Music - MGB NA LLC
 1672 A Night Like This                                   PA0000279380   Universal Music - MGB NA LLC
 1673 A Passing Feeling                                   PA0001160156   Universal Music - MGB NA LLC
 1674 A Question Mark                                     PA0000943571   Universal Music - MGB NA LLC
 1675 A Thousand Beautiful Things                         PA0001105462   Universal Music - MGB NA LLC
 1676 Ace In The Hole                                     PA0000419894   Universal Music - MGB NA LLC
 1677 Alameda                                             PA0000859622   Universal Music - MGB NA LLC
 1678 All Black Everything                                PA0001740713   Universal Music - MGB NA LLC
 1679 Alphabet Town                                       PA0000787969   Universal Music - MGB NA LLC
 1680 Amity                                               PA0000943572   Universal Music - MGB NA LLC
 1681 Amsterdam                                           PA0001073310   Universal Music - MGB NA LLC
 1682 Angel                                               PA0000342822   Universal Music - MGB NA LLC
 1683 Angeles                                             PA0000859623   Universal Music - MGB NA LLC
 1684 Baby Britain                                        PA0000943582   Universal Music - MGB NA LLC
 1685 Ballad Of Big Nothing                               PA0000859624   Universal Music - MGB NA LLC
 1686 Beautiful                                           PA0001073465   Universal Music - MGB NA LLC
 1687 Beautiful Goodbye                                   PA0001810814   Universal Music - MGB NA LLC
 1688 Beautiful Lasers (2 Ways)                           PA0001739094   Universal Music - MGB NA LLC
 1689 Behind The Crooked Cross                            PA0000398150   Universal Music - MGB NA LLC
 1690 Better Be Quiet Now                                 PA0001015796   Universal Music - MGB NA LLC
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 1691 Between The Bars                               PA0000859625   Universal Music - MGB NA LLC
 1692 Bled White                                     PA0000943583   Universal Music - MGB NA LLC
 1693 Bless The Broken Road                          PA0000734451   Universal Music - MGB NA LLC
 1694 Brandy Alexander                               PA0001692661   Universal Music - MGB NA LLC
 1695 Breakdown                                      PA0001166373   Universal Music - MGB NA LLC
 1696 Bye                                            PA0001015793   Universal Music - MGB NA LLC
 1697 Call The Man                                   PA0000786592   Universal Music - MGB NA LLC
 1698 Can't Get the Best of Me                       PA0001009100   Universal Music - MGB NA LLC
 1699 Can't Make A Sound                             PA0001015792   Universal Music - MGB NA LLC
 1700 Candyman                                       PA0001165131   Universal Music - MGB NA LLC
 1701 Christian Brothers                             PA0000787963   Universal Music - MGB NA LLC
 1702 Cleanse The Soul                               PA0000398146   Universal Music - MGB NA LLC
 1703 Clementine                                     PA0000787964   Universal Music - MGB NA LLC
 1704 Clocks                                         PA0001073304   Universal Music - MGB NA LLC
 1705 Close To Me                                    PA0000279388   Universal Music - MGB NA LLC
 1706 Coast To Coast                                 PA0001160148   Universal Music - MGB NA LLC
 1707 Colorbars                                      PA0001015789   Universal Music - MGB NA LLC
 1708 Coming Up                                      PA0001739096   Universal Music - MGB NA LLC
 1709 Coming Up Roses                                PA0000787967   Universal Music - MGB NA LLC
 1710 Condor Ave.                                    PA0000874054   Universal Music - MGB NA LLC
 1711 Crashed                                        PA0001166377   Universal Music - MGB NA LLC
 1712 Cupids Trick                                   PA0000859633   Universal Music - MGB NA LLC
 1713 Don't Feel Right                               PA0001165229   Universal Music - MGB NA LLC
 1714 Don't Go Down                                  PA0001160150   Universal Music - MGB NA LLC
 1715 Don't Panic                                    PA0000981356   Universal Music - MGB NA LLC
 1716 Drive All Over Town                            PA0000874058   Universal Music - MGB NA LLC
 1717 Easy Way Out                                   PA0001015787   Universal Music - MGB NA LLC
 1718 Everybody Cares, Everybody Understands         PA0000943580   Universal Music - MGB NA LLC
 1719 Everything                                     PA0001600375   Universal Music - MGB NA LLC
 1720 Everything Means Nothing To Me                 PA0001015783   Universal Music - MGB NA LLC
 1721 Everything Reminds Me Of Her                   PA0001015782   Universal Music - MGB NA LLC
 1722 Eye In The Sky                                 PA0000144130   Universal Music - MGB NA LLC
 1723 Fix You                                        PA0001700422   Universal Music - MGB NA LLC
 1724 Fortune Teller                                 PA0001810795   Universal Music - MGB NA LLC
 1725 Get Back In My Life                            PA0001726280   Universal Music - MGB NA LLC
 1726 Ghosts of War                                  PA0000398148   Universal Music - MGB NA LLC
 1727 Give A Little More                             PA0001726268   Universal Music - MGB NA LLC
 1728 Gone                                           PA0001694264   Universal Music - MGB NA LLC
 1729 Good To Go                                     PA0000787971   Universal Music - MGB NA LLC
 1730 Happiness (Single Version)                     PA0001015790   Universal Music - MGB NA LLC
 1731 Harder To Breathe                              PA0001073084   Universal Music - MGB NA LLC
 1732 Help Me                                        PA0001395680   Universal Music - MGB NA LLC
 1733 Home                                           PA0001166372   Universal Music - MGB NA LLC
 1734 Honey Honey                                    PA0001692656   Universal Music - MGB NA LLC
 1735 How                                            PA0001784067   Universal Music - MGB NA LLC
 1736 How 'Bout Them Cowgirls                        PA0001165925   Universal Music - MGB NA LLC
 1737 How My Heart Behaves                           PA0001692650   Universal Music - MGB NA LLC
 1738 I Ain't In Checotah Anymore                    PA0001327781   Universal Music - MGB NA LLC
 1739 I Can't Lie                                    PA0001784067   Universal Music - MGB NA LLC
 1740 I Care                                         PA0001748375   Universal Music - MGB NA LLC
 1741 I Didn't Understand                            PA0000943573   Universal Music - MGB NA LLC
 1742 I Don't Wanna Care Right Now                   PA0001739119   Universal Music - MGB NA LLC
 1743 I Feel It All                                  PA0001692643   Universal Music - MGB NA LLC
 1744 I Want to Give It All                          PA0000106853   Universal Music - MGB NA LLC
 1745 I'm Scared                                     PA0001698335   Universal Music - MGB NA LLC
 1746 In My Place                                    PA0001073301   Universal Music - MGB NA LLC
 1747 In The Lost And Found (Honky Bach)/The Roost   PA0001015785   Universal Music - MGB NA LLC
 1748 Independence Day                               PA0000846538   Universal Music - MGB NA LLC
 1749 Intuition                                      PA0001692658   Universal Music - MGB NA LLC
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 1750 Jumping Someone Else's Train    PA0000205032    Universal Music - MGB NA LLC
 1751 Junk Bond Trader                PA0001015781    Universal Music - MGB NA LLC
 1752 Just A Feeling                  PA0001726281    Universal Music - MGB NA LLC
 1753 Killing An Arab                 PA0000205039    Universal Music - MGB NA LLC
 1754 King's Crossing                 PA0001160154    Universal Music - MGB NA LLC
 1755 Kiwi Maddog 2020                PA0000874061    Universal Music - MGB NA LLC
 1756 Ladykiller                      PA0001810778    Universal Music - MGB NA LLC
 1757 Lamborghini Angels              PA0001936327    Universal Music - MGB NA LLC
 1758 Last Call                       PA0000874060    Universal Music - MGB NA LLC
 1759 Leave Love Alone                PA0001810767    Universal Music - MGB NA LLC
 1760 Let It Die                      PA0001166700    Universal Music - MGB NA LLC
 1761 Let's Get Lost                  PA0001160147    Universal Music - MGB NA LLC
 1762 Let's Go To Bed                 PA0000190147    Universal Music - MGB NA LLC
 1763 Letting Go                      PA0001739109    Universal Music - MGB NA LLC
 1764 Little One                      PA0001160160    Universal Music - MGB NA LLC
 1765 Live Undead                     PA0000398142    Universal Music - MGB NA LLC
 1766 Lonely Lonely                   PA0001166704    Universal Music - MGB NA LLC
 1767 Lose Myself                     PA0000884229    Universal Music - MGB NA LLC
 1768 Love Was Easy                   PA0001899459    Universal Music - MGB NA LLC
 1769 Low                             PA0001700384    Universal Music - MGB NA LLC
 1770 Lucky Strike                    PA0001810804    Universal Music - MGB NA LLC
 1771 Mamacita                        PA0001635799    Universal Music - MGB NA LLC
 1772 Mandatory Suicide               PA0000398149    Universal Music - MGB NA LLC
 1773 Memory Lane                     PA0001160159    Universal Music - MGB NA LLC
 1774 Misery                          PA0001726265    Universal Music - MGB NA LLC
 1775 Miss Misery                     PA0000880149    Universal Music - MGB NA LLC
 1776 Mmm Papi                        PA0001800249    Universal Music - MGB NA LLC
 1777 Mushaboom                       PA0001166692    Universal Music - MGB NA LLC
 1778 Must Get Out                    PA0001073090    Universal Music - MGB NA LLC
 1779 My Moon My Man                  PA0001692639    Universal Music - MGB NA LLC
 1780 Needle In The Hay               PA0000787962    Universal Music - MGB NA LLC
 1781 Never Gonna Leave This Bed      PA0001726273    Universal Music - MGB NA LLC
 1782 No Curtain Call                 PA0001726287    Universal Music - MGB NA LLC
 1783 No Name #1                      PA0000874055    Universal Music - MGB NA LLC
 1784 No Name #2                      PA0000874056    Universal Music - MGB NA LLC
 1785 No Name #3                      PA0000874057    Universal Music - MGB NA LLC
 1786 No Name #4                      PA0000874059    Universal Music - MGB NA LLC
 1787 No Name #5                      PA0000859632    Universal Music - MGB NA LLC
 1788 Nobody Ever Told You            PA0001810765    Universal Music - MGB NA LLC
 1789 Not Coming Home                 PA0001073094    Universal Music - MGB NA LLC
 1790 Oh Well, OK                     PA0000943579    Universal Music - MGB NA LLC
 1791 One More Night                  PA0001810344    Universal Music - MGB NA LLC
 1792 Ostrich & Chirping              PA0001160153    Universal Music - MGB NA LLC
 1793 Other Voices ( LP version )     PA0000194927    Universal Music - MGB NA LLC
 1794 Out Of Goodbyes                 PA0001726285    Universal Music - MGB NA LLC
 1795 Past In Present                 PA0001692670    Universal Music - MGB NA LLC
 1796 Pictures Of Me                  PA0000859626    Universal Music - MGB NA LLC
 1797 Pitseleh                        PA0000943578    Universal Music - MGB NA LLC
 1798 Play For Today                  PA0000194917    Universal Music - MGB NA LLC
 1799 Pretty (Ugly Before)            PA0001160149    Universal Music - MGB NA LLC
 1800 Pretty Mary K (Other Version)   PA0001015791    Universal Music - MGB NA LLC
 1801 Pretty Mary Kay                 PA0001015791    Universal Music - MGB NA LLC
 1802 Primary                         PA0000194926    Universal Music - MGB NA LLC
 1803 Punch And Judy                  PA0000859627    Universal Music - MGB NA LLC
 1804 Read Between The Lies           PA0000398147    Universal Music - MGB NA LLC
 1805 Ready To Run                    PA0000955178    Universal Music - MGB NA LLC
 1806 Return of the "G"               PA0000956080    Universal Music - MGB NA LLC
 1807 Roman Candle                    PA0000874053    Universal Music - MGB NA LLC
 1808 Rose Parade                     PA0000859628    Universal Music - MGB NA LLC
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 1809 Runaway                                   PA0001726283   Universal Music - MGB NA LLC
 1810 Sacrifice                                 PA0001163825   Universal Music - MGB NA LLC
 1811 Sad                                       PA0001810801   Universal Music - MGB NA LLC
 1812 Satellite                                 PA0000787968   Universal Music - MGB NA LLC
 1813 Say Yes                                   PA0000859629   Universal Music - MGB NA LLC
 1814 Secret                                    PA0001073092   Universal Music - MGB NA LLC
 1815 She Will Be Loved                         PA0001073087   Universal Music - MGB NA LLC
 1816 Shiver                                    PA0001073086   Universal Music - MGB NA LLC
 1817 Shooting Star                             PA0001160158   Universal Music - MGB NA LLC
 1818 Shoulda Let You Go                        PA0001395956   Universal Music - MGB NA LLC
 1819 Silent Scream                             PA0000398144   Universal Music - MGB NA LLC
 1820 Single File                               PA0000787966   Universal Music - MGB NA LLC
 1821 Some Song                                 PA0000977171   Universal Music - MGB NA LLC
 1822 Somebody That I Used To Know              PA0001015780   Universal Music - MGB NA LLC
 1823 Somewhere Only We Know                    PA0001160739   Universal Music - MGB NA LLC
 1824 Son Of Sam                                PA0001015779   Universal Music - MGB NA LLC
 1825 South Of Heaven                           PA0000398143   Universal Music - MGB NA LLC
 1826 Southern Belle                            PA0000787965   Universal Music - MGB NA LLC
 1827 Speed Trials                              PA0000859630   Universal Music - MGB NA LLC
 1828 Spill The Blood                           PA0000398145   Universal Music - MGB NA LLC
 1829 Square One                                PA0001700428   Universal Music - MGB NA LLC
 1830 St. Ides Heaven                           PA0000787970   Universal Music - MGB NA LLC
 1831 State Run Radio                           PA0001739098   Universal Music - MGB NA LLC
 1832 Stronger (What Doesn't Kill You)          PA0001771872   Universal Music - MGB NA LLC
 1833 Strung Out Again                          PA0001160151   Universal Music - MGB NA LLC
 1834 Stupidity Tries                           PA0001015786   Universal Music - MGB NA LLC
 1835 Stutter                                   PA0001784067   Universal Music - MGB NA LLC
 1836 Sunday Morning                            PA0001073091   Universal Music - MGB NA LLC
 1837 Superstar                                 PA0001914364   Universal Music - MGB NA LLC
 1838 Swallowed In The Sea                      PA0001700387   Universal Music - MGB NA LLC
 1839 Sweet Adeline                             PA0000943577   Universal Music - MGB NA LLC
 1840 Sweetest Goodbye                          PA0001073095   Universal Music - MGB NA LLC
 1841 Tangled                                   PA0001073088   Universal Music - MGB NA LLC
 1842 Tequila Sunrise                           PA0000978418   Universal Music - MGB NA LLC
 1843 The Caterpillar                           PA0000215389   Universal Music - MGB NA LLC
 1844 The Hanging Garden                        PA0000192007   Universal Music - MGB NA LLC
 1845 The Hardest Part                          PA0001700389   Universal Music - MGB NA LLC
 1846 The Last Hour                             PA0001160157   Universal Music - MGB NA LLC
 1847 The Park                                  PA0001692751   Universal Music - MGB NA LLC
 1848 The Quiet Things That No One Ever Knows   PA0001160997   Universal Music - MGB NA LLC
 1849 The Scientist                             PA0001073303   Universal Music - MGB NA LLC
 1850 The Sun                                   PA0001073089   Universal Music - MGB NA LLC
 1851 The Water                                 PA0001692757   Universal Music - MGB NA LLC
 1852 The White Lady Loves You More             PA0000787972   Universal Music - MGB NA LLC
 1853 There Will Come A Day                     PA0001104206   Universal Music - MGB NA LLC
 1854 This Love                                 PA0001073085   Universal Music - MGB NA LLC
 1855 Through With You                          PA0001073093   Universal Music - MGB NA LLC
 1856 Throw Your Set In The Air                 PA0000864778   Universal Music - MGB NA LLC
 1857 Thugz Cry                                 PA0000980074   Universal Music - MGB NA LLC
 1858 Tickets                                   PA0001810805   Universal Music - MGB NA LLC
 1859 Tomorrow Tomorrow                         PA0000943576   Universal Music - MGB NA LLC
 1860 Tonite                                    PA0000106854   Universal Music - MGB NA LLC
 1861 Tulsa Texas                               PA0001910314   Universal Music - MGB NA LLC
 1862 Twilight                                  PA0001160155   Universal Music - MGB NA LLC
 1863 Twisted Logic                             PA0001700354   Universal Music - MGB NA LLC
 1864 Used To                                   PA0001166369   Universal Music - MGB NA LLC
 1865 Waltz #1                                  PA0000943575   Universal Music - MGB NA LLC
 1866 Waltz, NO. 2 (XO)                         PA0000943574   Universal Music - MGB NA LLC
 1867 What I Want                               PA0001166370   Universal Music - MGB NA LLC
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 1868 What If                                                       PA0001700424   Universal Music - MGB NA LLC
 1869 When U Cry                                                    PA0000884230   Universal Music - MGB NA LLC
 1870 White Shadows                                                 PA0001700400   Universal Music - MGB NA LLC
 1871 Why                                                           PA0001166751   Universal Music - MGB NA LLC
 1872 Wouldn't Mama Be Proud                                        PA0001015788   Universal Music - MGB NA LLC
 1873 Yellow                                                        PA0000981360   Universal Music - MGB NA LLC
 1874 1985                                                          PA0001159762   Universal Music - Z Tunes LLC
 1875 A-hole                                                        PA0001159770   Universal Music - Z Tunes LLC
 1876 All I Have To Give                                            PA0000859324   Universal Music - Z Tunes LLC
 1877 All The Way                                                   PA0001933959   Universal Music - Z Tunes LLC
 1878 Almost                                                        PA0001159760   Universal Music - Z Tunes LLC
 1879 Almost Home                                                   PA0001159842   Universal Music - Z Tunes LLC
 1880 Anything                                                      PA0001166331   Universal Music - Z Tunes LLC
 1881 As Long As You Love Me                                        PA0000859323   Universal Music - Z Tunes LLC
 1882 AV                                                            PA0001158617   Universal Music - Z Tunes LLC
 1883 Boo                                                           PA0001068355   Universal Music - Z Tunes LLC
 1884 Brenda's Got A Baby                                           PA0001319771   Universal Music - Z Tunes LLC
 1885 Brightest Morning Star                                        PA0001915188   Universal Music - Z Tunes LLC
 1886 Burn It Down                                                  PA0001805742   Universal Music - Z Tunes LLC
 1887 Caligula                                                      PA0000982321   Universal Music - Z Tunes LLC
 1888 Call Me Guilty                                                PA0001897137   Universal Music - Z Tunes LLC
 1889 Call On Me                                                    PA0001087663   Universal Music - Z Tunes LLC
 1890 Castle of Glass                                               PA0001805745   Universal Music - Z Tunes LLC
 1891 Celebrity                                                     PA0001752525   Universal Music - Z Tunes LLC
 1892 Come Together                                                 PA0001131225   Universal Music - Z Tunes LLC
 1893 Coming Home                                                   PA0000968742   Universal Music - Z Tunes LLC
 1894 Crawling                                                      PA0001092510   Universal Music - Z Tunes LLC
 1895 Damn Girl                                                     PA0001165054   Universal Music - Z Tunes LLC
 1896 Destiny                                                       PA0001012581   Universal Music - Z Tunes LLC
 1897 Do Something                                                  PA0000965750   Universal Music - Z Tunes LLC
 1898 Don't Say No, Just Say Yes                                    PA0001087665   Universal Music - Z Tunes LLC
 1899 Don't Take Your Love Away                                     PA0001158619   Universal Music - Z Tunes LLC
 1900 Down For The Count                                            PA0001159774   Universal Music - Z Tunes LLC
 1901 Every Position                                                PA0002031790   Universal Music - Z Tunes LLC
 1902 Everything About You                                          PA0001158625   Universal Music - Z Tunes LLC
 1903 F*ck Faces                                                    PA0000951093   Universal Music - Z Tunes LLC
 1904 Feast                                                         PA0001158622   Universal Music - Z Tunes LLC
 1905 Finally Made Me Happy                                         PA0001167770   Universal Music - Z Tunes LLC
 1906 Flickin'                                                      PA0001158627   Universal Music - Z Tunes LLC
 1907 Friends O' Mine                                               PA0001159776   Universal Music - Z Tunes LLC
 1908 Get Away                                                      PA0001025466   Universal Music - Z Tunes LLC
 1909 Get Happy                                                     PA0001159763   Universal Music - Z Tunes LLC
 1910 Gimme All Your Lovin' or I Will Kill You                      PA0001068357   Universal Music - Z Tunes LLC
      Good to know that if I ever need attention all I have to do
 1911 is die                                                        PA0001160994   Universal Music - Z Tunes LLC
 1912 Guernica                                                      PA0001160999   Universal Music - Z Tunes LLC
 1913 Happiness                                                     PA0001131229   Universal Music - Z Tunes LLC
 1914 Happy                                                         PA0001012579   Universal Music - Z Tunes LLC
 1915 Hate It Or Love It                                            PA0001277483   Universal Music - Z Tunes LLC
 1916 Hold On Tight                                                 PA0001915189   Universal Music - Z Tunes LLC
 1917 Hooked                                                        PA0001158620   Universal Music - Z Tunes LLC
 1918 I Can't Wait                                                  PA0001396082   Universal Music - Z Tunes LLC
 1919 I Don't Remember                                              PA0001729163   Universal Music - Z Tunes LLC
 1920 I Hate Everything                                             PA0001159807   Universal Music - Z Tunes LLC
 1921 I Wanna Know                                                  PA0001012580   Universal Music - Z Tunes LLC
 1922 I Want It That Way                                            PA0000940714   Universal Music - Z Tunes LLC
 1923 I Will Play My Game Beneath The Spin Light                    PA0001160991   Universal Music - Z Tunes LLC
 1924 I'll Be Gone                                                  PA0001805744   Universal Music - Z Tunes LLC
 1925 I'll Never Break Your Heart                                   PA0000859260   Universal Music - Z Tunes LLC
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                                                   PA0001167048   Universal Music - Z Tunes LLC
 1926 If It's Lovin' That You Want                 PA0001162726
 1927 If It's Lovin' That You Want - Part 2        PA0001689043   Universal Music - Z Tunes LLC
 1928 In Between Us                                PA0001113731   Universal Music - Z Tunes LLC
 1929 In Love With Another Man                     PA0001897134   Universal Music - Z Tunes LLC
 1930 In My Remains                                PA0001805741   Universal Music - Z Tunes LLC
 1931 It Ain't The Money                           PA0001131222   Universal Music - Z Tunes LLC
 1932 Jack & Jill                                  PA0001087674   Universal Music - Z Tunes LLC
 1933 Jaws Theme Swimming                          PA0001160998   Universal Music - Z Tunes LLC
 1934 Larger Than Life                             PA0000940713   Universal Music - Z Tunes LLC
 1935 Last Call Casualty                           PA0001159767   Universal Music - Z Tunes LLC
 1936 Leave Out All The Rest                       PA0001167571   Universal Music - Z Tunes LLC
 1937 Let's Make a Deal                            PA0001025467   Universal Music - Z Tunes LLC
 1938 Lie About Us                                 PA0001167119   Universal Music - Z Tunes LLC
 1939 Lies Greed Misery                            PA0001805743   Universal Music - Z Tunes LLC
 1940 Lost in the Echo                             PA0001805740   Universal Music - Z Tunes LLC
 1941 Love Me Love Me                              PA0001784544   Universal Music - Z Tunes LLC
 1942 Love School                                  PA0001087673   Universal Music - Z Tunes LLC
 1943 Makin' Good Love                             PA0001087666   Universal Music - Z Tunes LLC
 1944 Marry The P***y                              PA0001934438   Universal Music - Z Tunes LLC
 1945 Me Against The Music                         PA0001158586   Universal Music - Z Tunes LLC
 1946 Me vs. Maradona vs. Elvis                    PA0001161000   Universal Music - Z Tunes LLC
 1947 My Baby                                      PA0001888781   Universal Music - Z Tunes LLC
 1948 My Hometown                                  PA0001159769   Universal Music - Z Tunes LLC
 1949 Next Ex-Girlfriend                           PA0001159768   Universal Music - Z Tunes LLC
 1950 No Limit                                     PA0001087668   Universal Music - Z Tunes LLC
 1951 Oblivion                                     PA0001066429   Universal Music - Z Tunes LLC
 1952 Okay I Believe You, But My Tommy Gun Don't   PA0001160992   Universal Music - Z Tunes LLC
 1953 One Night Stand                              PA0001897141   Universal Music - Z Tunes LLC
 1954 One Way Street                               PA0001087672   Universal Music - Z Tunes LLC
 1955 Ooh Aah                                      PA0001012582   Universal Music - Z Tunes LLC
 1956 Papercut                                     PA0001092506   Universal Music - Z Tunes LLC
 1957 Parachute                                    PA0001856273   Universal Music - Z Tunes LLC
 1958 Perfume (The Dreaming Mix)                   PA0001915193   Universal Music - Z Tunes LLC
 1959 Phone Sex (That's What's Up)                 PA0001158621   Universal Music - Z Tunes LLC
 1960 Play Crack The Sky                           PA0001160996   Universal Music - Z Tunes LLC
 1961 Points Of Authority                          PA0001092509   Universal Music - Z Tunes LLC
 1962 Powerless                                    PA0001805751   Universal Music - Z Tunes LLC
 1963 PPr:Kut                                      PA0001237300   Universal Music - Z Tunes LLC
 1964 Pts.Of.Athrty                                PA0001237292   Universal Music - Z Tunes LLC
 1965 Rather Hazy                                  PA0001010168   Universal Music - Z Tunes LLC
 1966 Reaction                                     PA0001054035   Universal Music - Z Tunes LLC
 1967 Read Your Mind                               PA0001158618   Universal Music - Z Tunes LLC
 1968 Really Might Be Gone                         PA0001159773   Universal Music - Z Tunes LLC
 1969 Rehab                                        PA0001641351   Universal Music - Z Tunes LLC
 1970 Ridiculous                                   PA0001159765   Universal Music - Z Tunes LLC
 1971 Rnw@y                                        PA0001237301   Universal Music - Z Tunes LLC
 1972 Roads Untraveled                             PA0001805747   Universal Music - Z Tunes LLC
 1973 Runaway                                      PA0001092511   Universal Music - Z Tunes LLC
 1974 Sad Sad Situation                            PA0001159772   Universal Music - Z Tunes LLC
 1975 Screamin'                                    PA0001131232   Universal Music - Z Tunes LLC
 1976 Seems To Be                                  PA0001158623   Universal Music - Z Tunes LLC
 1977 Separated                                    PA0001012575   Universal Music - Z Tunes LLC
 1978 Serious                                      PA0001025468   Universal Music - Z Tunes LLC
 1979 Session                                      PA0001256413   Universal Music - Z Tunes LLC
 1980 Sex-o-matic Venus Freak                      PA0000982322   Universal Music - Z Tunes LLC
 1981 Sexual Revolution                            PA0001088199   Universal Music - Z Tunes LLC
 1982 She Ain't Right for You                      PA0001131223   Universal Music - Z Tunes LLC
 1983 She Don't Write Songs About You              PA0001131226   Universal Music - Z Tunes LLC
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 1984 Show Ya P***y                        PA0002031786   Universal Music - Z Tunes LLC
 1985 Shut-Up And Smile                    PA0001159766   Universal Music - Z Tunes LLC
 1986 Sic Transit Gloria ... Glory Fades   PA0001160995   Universal Music - Z Tunes LLC
 1987 Six In Da Morning                    PA0001087670   Universal Music - Z Tunes LLC
 1988 Skin to Bone                         PA0001805748   Universal Music - Z Tunes LLC
 1989 Smoothie King                        PA0001159771   Universal Music - Z Tunes LLC
 1990 Sometimes                            PA0000932239   Universal Music - Z Tunes LLC
 1991 Somewhere I Belong                   PA0001256410   Universal Music - Z Tunes LLC
 1992 Sorry                                PA0001087667   Universal Music - Z Tunes LLC
 1993 Suicide                              PA0001087675   Universal Music - Z Tunes LLC
 1994 Take A Bow                           PA0001692696   Universal Music - Z Tunes LLC
 1995 Tautou                               PA0001160990   Universal Music - Z Tunes LLC
 1996 Tear It Up                           PA0002031795   Universal Music - Z Tunes LLC
 1997 The Boss                             PA0001643618   Universal Music - Z Tunes LLC
 1998 The Boy Who Blocked His Own Shot     PA0001160993   Universal Music - Z Tunes LLC
 1999 The Letter                           PA0000982327   Universal Music - Z Tunes LLC
 2000 The One                              PA0000940719   Universal Music - Z Tunes LLC
 2001 The Star Spangled Banner             PA0000863656   Universal Music - Z Tunes LLC
 2002 They Down With Us                    PA0001032839   Universal Music - Z Tunes LLC
 2003 Things That Made Me Change           PA0001131224   Universal Music - Z Tunes LLC
 2004 Thinkin' About You                   PA0001087669   Universal Music - Z Tunes LLC
 2005 This Time                            PA0001025469   Universal Music - Z Tunes LLC
 2006 Throw This Money On You              PA0001934439   Universal Music - Z Tunes LLC
 2007 Tinfoil                              PA0001805750   Universal Music - Z Tunes LLC
 2008 Treat Me Like Your Money             PA0001167777   Universal Music - Z Tunes LLC
 2009 Trucker Hat                          PA0001159761   Universal Music - Z Tunes LLC
 2010 Two-Seater                           PA0001159775   Universal Music - Z Tunes LLC
 2011 Valentine's Day                      PA0001167577   Universal Music - Z Tunes LLC
 2012 Victimized                           PA0001805746   Universal Music - Z Tunes LLC
 2013 Wake                                 PA0001167569   Universal Music - Z Tunes LLC
 2014 Wanna Be Close                       PA0001158624   Universal Music - Z Tunes LLC
 2015 What Do You Want                     PA0001087664   Universal Music - Z Tunes LLC
 2016 Why                                  PA0001012583   Universal Music - Z Tunes LLC
 2017 Why Didn't You Call Me               PA0000982319   Universal Music - Z Tunes LLC
 2018 With You                             PA0001092508   Universal Music - Z Tunes LLC
 2019 Wth>You                              PA0001237298   Universal Music - Z Tunes LLC
 2020 You Ain't Right                      PA0001087671   Universal Music - Z Tunes LLC
 2021 You Deserve Better                   PA0001933962   Universal Music - Z Tunes LLC
                                           PA0001158628
 2022 You Got Me                           PA0001208305   Universal Music - Z Tunes LLC
 2023 You're Not Alone                     PA0001784547   Universal Music - Z Tunes LLC
 2024 (I've Just Begun) Having My Fun      PA0001287638   Universal Music Corp.
 2025 #Beautiful                           PA0001888760   Universal Music Corp.
 2026 03' Bonnie & Clyde                   PA0001147399   Universal Music Corp.
 2027 4 Real                               PA0001742275   Universal Music Corp.
 2028 Adorn                                PA0001899234   Universal Music Corp.
 2029 Adrenaline Rush                      PA0001145821   Universal Music Corp.
 2030 Ain't It The Life                    PA0001693327   Universal Music Corp.
 2031 Alice                                PA0001728745   Universal Music Corp.
 2032 Alive                                PA0000544549   Universal Music Corp.
 2033 All Back                             PA0001750523   Universal Music Corp.
 2034 All I Want Is You                    PA0001780224   Universal Music Corp.
 2035 Angel                                PA0001046461   Universal Music Corp.
 2036 Animal                               PA0000669752   Universal Music Corp.
 2037 Annabelle                            PA0000787740   Universal Music Corp.
 2038 Another Try                          PA0001642916   Universal Music Corp.
 2039 Anything But Ordinary                PA0001101512   Universal Music Corp.
 2040 April The 14th Part 1                PA0001063438   Universal Music Corp.
 2041 Astronaut Chick                      PA0001856280   Universal Music Corp.
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 2042 Atlantic                        PA0001777097    Universal Music Corp.
 2043 Aurora                          PA0001693316    Universal Music Corp.
 2044 Baby, I Go Crazy                PA0001642909    Universal Music Corp.
 2045 Be Alright                      PA0001850370    Universal Music Corp.
 2046 Better Days                     PA0000877830    Universal Music Corp.
 2047 Better Man                      PA0000663649    Universal Music Corp.
 2048 Black Star                      PA0001742258    Universal Music Corp.
 2049 Breakout                        PA0001705474    Universal Music Corp.
 2050 Breakout                        PA0001693301    Universal Music Corp.
 2051 Build You Up                    PA0001298503    Universal Music Corp.
 2052 By The Mark                     PA0000787742    Universal Music Corp.
 2053 Can U Get Away                  PA0000875890    Universal Music Corp.
 2054 Candy Shop                      PA0001298495    Universal Music Corp.
 2055 Cant Leave Em Alone             PA0001885593    Universal Music Corp.
 2056 Ceiling of Plankton             PA0001777095    Universal Music Corp.
 2057 Cheers                          PA0001245485    Universal Music Corp.
 2058 Christmas Eve                   PA0001780227    Universal Music Corp.
 2059 Complicated                     PA0001101506    Universal Music Corp.
 2060 Corduroy                        PA0000663646    Universal Music Corp.
 2061 Crept And We Came               PA0000767829    Universal Music Corp.
 2062 Curiosity                       PA0001864128    Universal Music Corp.
 2063 Darlin                          PA0001742277    Universal Music Corp.
 2064 Daughter                        PA0000669753    Universal Music Corp.
 2065 Dear Someone                    PA0001063436    Universal Music Corp.
 2066 Definition Of A Thug N***a      PA0000776781    Universal Music Corp.
 2067 Destiny (Live)                  PA0001131247    Universal Music Corp.
 2068 Deuces Are Wild                 PA0000693447    Universal Music Corp.
 2069 Didn't We Almost Have It All    PA0000348786    Universal Music Corp.
 2070 Die Die Die                     PA0000782833    Universal Music Corp.
 2071 Dirty Frank                     PA0000593703    Universal Music Corp.
 2072 Disco Inferno                   PA0001298497    Universal Music Corp.
 2073 Dissident                       PA0000669755    Universal Music Corp.
 2074 DJ Play A Love Song             PA0001696017    Universal Music Corp.
 2075 East 1999                       PA0000767827    Universal Music Corp.
 2076 Echo                            PA0001727653    Universal Music Corp.
 2077 Eenie Meenie                    PA0001703249    Universal Music Corp.
 2078 Electric Bird                   PA0001994826    Universal Music Corp.
 2079 End Of The Road                 PA0001649584    Universal Music Corp.
 2080 Eternal                         PA0000767828    Universal Music Corp.
 2081 Everybody Loves You Now         PA0000119693    Universal Music Corp.
 2082 Everything Is Fine              PA0001642898    Universal Music Corp.
 2083 Everything Is Free              PA0001063442    Universal Music Corp.
 2084 Exclusive                       PA0001323360    Universal Music Corp.
 2085 Fa-Fa-Fa-Fa-Fa (Sad Song)       PA0000318166    Universal Music Corp.
 2086 Fall To Pieces                  PA0001251271    Universal Music Corp.
 2087 Far Behind                      PA0001649582    Universal Music Corp.
 2088 Feels Like Today                PA0001245179    Universal Music Corp.
 2089 Fly As The Sky                  PA0001317549    Universal Music Corp.
 2090 Forgotten                       PA0001251273    Universal Music Corp.
 2091 Frontin'                        PA0001317546    Universal Music Corp.
 2092 Fuck The World                  PA0000956432    Universal Music Corp.
 2093 Generator                       PA0001693314    Universal Music Corp.
 2094 Get In My Car                   PA0001298494    Universal Music Corp.
 2095 Ghetto Dreams                   PA0001833561    Universal Music Corp.
 2096 Ghetto Gospel                   PA0001323618    Universal Music Corp.
 2097 Gimme Stitches                  PA0001693310    Universal Music Corp.
 2098 Girlfriend                      PA0001334139    Universal Music Corp.
 2099 Given To Fly                    PAu002290743    Universal Music Corp.
 2100 Glamorous                       PA0001370493    Universal Music Corp.
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 2101 Go                                          PA0000669751   Universal Music Corp.
 2102 Go Out All Night                            PA0001777099   Universal Music Corp.
 2103 Good Time                                   PA0001821138   Universal Music Corp.
 2104 Goodbye                                     PA0001742279   Universal Music Corp.
 2105 Got Some Teeth                              PA0001245484   Universal Music Corp.
 2106 GPSA (Ghetto Public Service Announcement)   PA0001371422   Universal Music Corp.
 2107 Grind Time                                  PA0001628178   Universal Music Corp.
 2108 Guaranteed                                  PA0001685123   Universal Music Corp.
 2109 Guitar String / Wedding Ring                PA0001842644   Universal Music Corp.
 2110 Hail, Hail                                  PAu002141241   Universal Music Corp.
 2111 Hand Of The Dead Body                       PA0000794897   Universal Music Corp.
 2112 Have Some Fun                               PA0001858598   Universal Music Corp.
 2113 He Wasn't                                   PA0001251276   Universal Music Corp.
 2114 Headwires                                   PA0001693324   Universal Music Corp.
 2115 Heaven                                      PA0001073138   Universal Music Corp.
 2116 Heavy In The Game                           PA0000914501   Universal Music Corp.
 2117 Here Comes The Weekend                      PA0001817456   Universal Music Corp.
 2118 Here I Am                                   PA0001661331   Universal Music Corp.
 2119 Hero                                        PA0001751381   Universal Music Corp.
 2120 Hey Girl                                    PA0001295883   Universal Music Corp.
 2121 Homewrecker                                 PA0001248780   Universal Music Corp.
 2122 How Does It Feel                            PA0001251275   Universal Music Corp.
 2123 How I Could Just Kill A Man                 PA0000796241   Universal Music Corp.
                                                  PAu000817628
                                                  PA0000243349
 2124 How Will I Know                             PA0000266437   Universal Music Corp.
 2125 Hustler's Ambition                          PA0001372056   Universal Music Corp.
 2126 I Can Do Better                             PA0001334140   Universal Music Corp.
 2127 I Don't Give                                PA0001233579   Universal Music Corp.
 2128 I Don't Have To Try                         PA0001724691   Universal Music Corp.
 2129 I Don't Need 'Em                            PA0001298501   Universal Music Corp.
 2130 I Dream A Highway                           PA0001063443   Universal Music Corp.
 2131 I Go To Extremes                            PA0000458310   Universal Music Corp.
 2132 I Got Id                                    PA0000776998   Universal Music Corp.
 2133 I Got My Baby                               PA0000976310   Universal Music Corp.
 2134 I Got The Will                              PA0000402311   Universal Music Corp.
 2135 I Just Want You                             PA0000774129   Universal Music Corp.
 2136 I Love College                              PA0001731209   Universal Music Corp.
 2137 I Love You                                  PA0001785768   Universal Music Corp.
 2138 I Want To Sing That Rock And Roll           PA0001063439   Universal Music Corp.
 2139 I Want You                                  PA0001302581   Universal Music Corp.
 2140 I'd Rather                                  PA0001053165   Universal Music Corp.
 2141 I'm Goin Back                               PA0001159522   Universal Music Corp.
 2142 I'm Out                                     PA0001936025   Universal Music Corp.
 2143 I'm So into You                             PA0000664028   Universal Music Corp.
 2144 I'm Supposed To Die Tonight                 PA0001298492   Universal Music Corp.
 2145 I'm Trippin                                 PA0001856289   Universal Music Corp.
 2146 I'm with You                                PA0001101508   Universal Music Corp.
 2147 If I Die 2Nite                              PA0000773737   Universal Music Corp.
 2148 Immortality                                 PA0000663651   Universal Music Corp.
 2149 In My Eyes                                  PA0001777096   Universal Music Corp.
 2150 Indifference                                PA0000669762   Universal Music Corp.
 2151 It's All About U                            PA0000809080   Universal Music Corp.
 2152 Just A Lil Bit                              PA0001298496   Universal Music Corp.
 2153 Just Push Play                              PA0001048574   Universal Music Corp.
 2154 Lady                                        PA0001245486   Universal Music Corp.
 2155 Learn To Fly                                PA0001693305   Universal Music Corp.
 2156 Let's Go                                    PA0001825022   Universal Music Corp.
 2157 Lie To Me                                   PA0001868630   Universal Music Corp.
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 2158 Life, Love And The Meaning Of         PA0001697492   Universal Music Corp.
 2159 Light Years                           PA0001006826   Universal Music Corp.
 2160 Live-In Skin                          PA0001693317   Universal Music Corp.
 2161 Long Nights                           PA0001685123   Universal Music Corp.
 2162 Lord Knows                            PA0000773740   Universal Music Corp.
 2163 Love You Gently                       PA0001602834   Universal Music Corp.
 2164 M.I.A.                                PA0001693329   Universal Music Corp.
 2165 Man Down                              PA0001732813   Universal Music Corp.
 2166 Me Against The World                  PA0000700333   Universal Music Corp.
 2167 Meantime                              PA0001777091   Universal Music Corp.
 2168 Miss You                              PA0001864797   Universal Music Corp.
 2169 Mo'Murda                              PA0000767834   Universal Music Corp.
 2170 Movin' On                             PA0000757403   Universal Music Corp.
 2171 Movin' Out (Anthony's Song)           PA0000046906   Universal Music Corp.
 2172 Mr. Bill Collector                    PA0000767831   Universal Music Corp.
 2173 Ms. Hangover                          PA0001639096   Universal Music Corp.
 2174 My First Lover                        PA0001063435   Universal Music Corp.
 2175 My Foolish Heart                      PA0001950235   Universal Music Corp.
 2176 My Love                               PA0001885589   Universal Music Corp.
 2177 My Piece                              PA0001751375   Universal Music Corp.
 2178 My Toy Soldier                        PA0001298500   Universal Music Corp.
 2179 Naked                                 PA0001101517   Universal Music Corp.
 2180 Never Call U B**** Again              PA0001115088   Universal Music Corp.
 2181 Never Forget Ya                       PA0001245493   Universal Music Corp.
 2182 Next Year                             PA0001693320   Universal Music Corp.
 2183 No Ceiling                            PA0001685123   Universal Music Corp.
 2184 No More Love                          PA0001278081   Universal Music Corp.
 2185 No One Has Eyes Like You              PA0001618391   Universal Music Corp.
 2186 No Snitchin'                          PA0001317545   Universal Music Corp.
 2187 Nobody's Fool                         PA0001101515   Universal Music Corp.
 2188 Nobody's Home                         PA0001251268   Universal Music Corp.
 2189 Noche Nada                            PA0001777094   Universal Music Corp.
 2190 Not For You                           PA0000663641   Universal Music Corp.
 2191 Nothingman                            PA0000663643   Universal Music Corp.
 2192 Now You Got Someone                   PA0001371421   Universal Music Corp.
 2193 Off He Goes                           PAu002141248   Universal Music Corp.
 2194 Old School                            PA0000773742   Universal Music Corp.
 2195 Once And Forever                      PA0001779598   Universal Music Corp.
 2196 One                                   PA0001120335   Universal Music Corp.
 2197 One Love                              PA0001850371   Universal Music Corp.
 2198 Only Thing I Ever Get For Christmas   PA0001780235   Universal Music Corp.
 2199 Orphan Girl                           PA0000714948   Universal Music Corp.
 2200 Outro                                 PA0001317551   Universal Music Corp.
 2201 Pass You By                           PA0000787739   Universal Music Corp.
 2202 Permanent Scar                        PA0001856298   Universal Music Corp.
 2203 Picture Perfect                       PA0001317548   Universal Music Corp.
 2204 Piggy Bank                            PA0001298491   Universal Music Corp.
 2205 Play                                  PA0001726635   Universal Music Corp.
 2206 Rag Doll                              PA0000349998   Universal Music Corp.
 2207 Rain                                  PA0001317547   Universal Music Corp.
 2208 Red Clay Halo                         PA0001063437   Universal Music Corp.
 2209 Remember When                         PAu003539449   Universal Music Corp.
 2210 Resist The Temptation                 PA0001640073   Universal Music Corp.
 2211 Revelator                             PA0001063434   Universal Music Corp.
 2212 Ride                                  PA0001849604   Universal Music Corp.
 2213 Rider                                 PA0001395512   Universal Music Corp.
 2214 Ridin'                                PA0001317544   Universal Music Corp.
 2215 Ripe                                  PA0001777093   Universal Music Corp.
 2216 Rise                                  PA0001685123   Universal Music Corp.
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 2217 Roll                               PA0001639100   Universal Music Corp.
 2218 Ruination Day Part 2               PA0001063441   Universal Music Corp.
 2219 Runaway                            PA0001334141   Universal Music Corp.
 2220 Ryder Music                        PA0001298498   Universal Music Corp.
 2221 Save You                           PA0001134589   Universal Music Corp.
 2222 Saw You First                      PA0001777092   Universal Music Corp.
 2223 Secret Heart                       PA0000807140   Universal Music Corp.
 2224 Setting Forth                      PA0001649580   Universal Music Corp.
 2225 She's Got A Way                    PA0000119692   Universal Music Corp.
 2226 Shine                              PA0001864791   Universal Music Corp.
 2227 Shotz To Tha Double Glock          PA0000767835   Universal Music Corp.
 2228 Silent Night                       PA0001782591   Universal Music Corp.
 2229 Sk8er Boi                          PA0001101507   Universal Music Corp.
 2230 Slipped Away                       PA0001251269   Universal Music Corp.
 2231 Smile                              PA0001785766   Universal Music Corp.
 2232 So Many Tears                      PA0000773738   Universal Music Corp.
 2233 So Many Ways                       PA0001371413   Universal Music Corp.
 2234 Someone Else's Dream               PA0000764860   Universal Music Corp.
 2235 Soul Intact                        PA0000810659   Universal Music Corp.
 2236 Spin The Black Circle              PA0000663640   Universal Music Corp.
 2237 Stacked Actors                     PA0001693331   Universal Music Corp.
 2238 Still Ballin'                      PA0001219183   Universal Music Corp.
 2239 Stop Standing There                PA0001742271   Universal Music Corp.
 2240 Sure Thing                         PA0001751394   Universal Music Corp.
 2241 Survival                           PA0001965032   Universal Music Corp.
 2242 Take Me Home                       PA0001864792   Universal Music Corp.
 2243 Tear My Stillhouse Down            PA0000762783   Universal Music Corp.
 2244 Temptations                        PA0000875889   Universal Music Corp.
 2245 Text Me Texas                      PA0001878108   Universal Music Corp.
 2246 That's What I Need                 PA0000664035   Universal Music Corp.
 2247 The Chair                          PA0000482311   Universal Music Corp.
 2248 The Downeaster 'Alexa'             PA0000458309   Universal Music Corp.
 2249 The Future Is Now                  PA0001856271   Universal Music Corp.
 2250 The Rain                           PA0001396083   Universal Music Corp.
 2251 The River Of Dreams                PA0000693490   Universal Music Corp.
 2252 The Way He Was Raised              PA0001642914   Universal Music Corp.
 2253 The Wolf                           PA0001685123   Universal Music Corp.
 2254 These Arms Of Mine                 PA0000258549   Universal Music Corp.
 2255 They Don't Give A F**** About Us   PA0001115097   Universal Music Corp.
 2256 Things I'll Never Say              PA0001101513   Universal Music Corp.
 2257 Think I'm Crazy                    PA0001167383   Universal Music Corp.
 2258 Think Twice                        PA0000681510   Universal Music Corp.
 2259 Think You're Gonna Like It         PA0000664034   Universal Music Corp.
 2260 This Is 50                         PA0001298490   Universal Music Corp.
 2261 Thugz Mansion                      PA0001115087   Universal Music Corp.
 2262 Tired Of Runnin'                   PA0001396084   Universal Music Corp.
 2263 To The Moon                        PA0001751378   Universal Music Corp.
 2264 Tomorrow                           PA0001101511   Universal Music Corp.
 2265 Tony Montana - Behind The Scenes   PA0001859140   Universal Music Corp.
 2266 Top of the World                   PA0001114803   Universal Music Corp.
 2267 Trailerhood                        PA0001642900   Universal Music Corp.
 2268 Trick Or Treat                     PA0001011470   Universal Music Corp.
 2269 True Believers                     PA0001864805   Universal Music Corp.
 2270 True Love                          PA0001817461   Universal Music Corp.
 2271 Truth No. 2                        PA0001114802   Universal Music Corp.
 2272 Truthfully                         PA0001147359   Universal Music Corp.
 2273 Tuolumne                           PA0001685126   Universal Music Corp.
 2274 Turn It Up                         PA0001317543   Universal Music Corp.
 2275 Turn Me Up                         PA0001842638   Universal Music Corp.
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 2276 Turntables                                    PA0001732352   Universal Music Corp.
 2277 Unsaveable                                    PA0001120337   Universal Music Corp.
 2278 Up Up Up                                      PA0001777090   Universal Music Corp.
 2279 Vertigo                                       PA0001896435   Universal Music Corp.
 2280 Void In My Life                               PA0001317550   Universal Music Corp.
 2281 Walk On Water                                 PA0001015665   Universal Music Corp.
 2282 We All Die One Day                            PA0001245480   Universal Music Corp.
 2283 What About Love                               PA0000265040   Universal Music Corp.
 2284 What The Hell                                 PA0001785765   Universal Music Corp.
 2285 What's It Gonna Be                            PA0000810659   Universal Music Corp.
 2286 When I Get Free                               PA0001051889   Universal Music Corp.
 2287 When The World Ends                           PA0001046455   Universal Music Corp.
 2288 Who Knows                                     PA0001251272   Universal Music Corp.
 2289 Who You Are                                   PAu002141251   Universal Music Corp.
 2290 Wide Awake                                    PA0001765708   Universal Music Corp.
 2291 Wish You Were Here                            PA0001785767   Universal Music Corp.
 2292 Words                                         PA0001777098   Universal Music Corp.
 2293 Write This Down                               PA0000947848   Universal Music Corp.
 2294 Yellow Ledbetter                              PA0000756318   Universal Music Corp.
 2295 You                                           PA0001757407   Universal Music Corp.
 2296 You Don't Miss Your Water                     PA0000387512   Universal Music Corp.
 2297 You Stay With Me                              PA0001302582   Universal Music Corp.
 2298 You're Always On My Mind                      PA0000664031   Universal Music Corp.
 2299 Beauty And A Beat                             PA0001850375   Universal Music Corp.
                                                    PAu001547996
                                                    PA0000549273
 2300 Cream (Version w/o Rap Monologue)             PA0000543529   Universal Music Corp.
 2301 Gett Off                                      PA0000535946   Universal Music Corp.
 2302 Kiss                                          PA0000284474   Universal Music Corp.
 2303 Radar                                         PA0001732673   Universal Music Corp.
 2304 Supreme                                       PA0001034208   Universal Music Corp.
 2305 U Got The Look                                PA0000339613   Universal Music Corp.
 2306 Bringing Out The Elvis                        PA0000955483   Universal Music Publishing AB
 2307 Done Stealin'                                 PA0001677401   Universal Music Publishing AB
 2308 If My Heart Had Wings                         PA0000976309   Universal Music Publishing AB
 2309 Shape Of My Heart                             PA0001039513   Universal Music Publishing AB
 2310 What's In It For Me                           PA0000976311   Universal Music Publishing AB
 2311 Distractions (Live)                           PA0001263481   Universal Music Publishing Limited
 2312 Warriors                                      PA0001898514   Universal Music Publishing Limited
 2313 Charlotte Sometimes                           PA0000344066   Universal Music Publishing MGB Limited
 2314 Lullaby                                       PA0001073354   Universal Music Publishing MGB Limited
 2315 Pavement Cracks                               PA0001105463   Universal Music Publishing MGB Limited
 2316 100 Yard Dash                                 PA0001612668   Universal Music Publishing, Inc.
 2317 How Come You Don't Call Me                    PA0001316943   Universal Music Publishing, Inc.
 2318 Lose My Cool                                  PA0001318280   Universal Music Publishing, Inc.
 2319 Love That Girl                                PA0001612668   Universal Music Publishing, Inc.
 2320 Out Of Control                                PA0001015243   Universal Music Publishing, Inc.
 2321 Sometimes                                     PA0001612668   Universal Music Publishing, Inc.
 2322 Signs                                         PA0001193822   Universal Music Publishing, Inc.
 2323 This Is The Day                               PA0001277414   Universal/Island Music Limited
 2324 Time Is Ticking Out                           PA0001277412   Universal/Island Music Limited
 2325 Without You                                   PA0000577490   Universal/MCA Music Publishing Pty. Limited
 2326 ¡Viva La Gloria!                              PA0001859360   W.B.M. Music Corp.
                                                    PA0001653856
 2327 21 Guns                                       PA0001859360   W.B.M. Music Corp.
 2328 After Your Heart                              PA0001603421   W.B.M. Music Corp.
 2329 All The Time                                  PA0001059863   W.B.M. Music Corp.
 2330 American Eulogy: Mass Hysteria/Modern World   PA0001859360   W.B.M. Music Corp.
 2331 American Idiot                                PA0001251385   W.B.M. Music Corp.
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 2332 Armatage Shanks                                      PA0000774217   W.B.M. Music Corp.
 2333 Bab's Uvula Who?                                     PA0000774217   W.B.M. Music Corp.
 2334 Basket Case                                          PA0000713967   W.B.M. Music Corp.
 2335 Before The Lobotomy                                  PA0001859360   W.B.M. Music Corp.
 2336 Blood, Sex And Booze                                 PA0001022884   W.B.M. Music Corp.
 2337 Boulevard Of Broken Dreams                           PA0001251317   W.B.M. Music Corp.
 2338 Brat                                                 PA0000774217   W.B.M. Music Corp.
 2339 Burnout                                              PA0000713967   W.B.M. Music Corp.
 2340 Christian's Inferno                                  PA0001859360   W.B.M. Music Corp.
 2341 Chump                                                PA0000713967   W.B.M. Music Corp.
 2342 Church On Sunday                                     PA0001022884   W.B.M. Music Corp.
 2343 Coming Clean                                         PA0000713967   W.B.M. Music Corp.
 2344 Confessions                                          PA0001227181   W.B.M. Music Corp.
 2345 East Jesus Nowhere                                   PA0001859360   W.B.M. Music Corp.
 2346 Emenius Sleepus                                      PA0000713968   W.B.M. Music Corp.
 2347 Friends We Won't Forget                              PA0001800763   W.B.M. Music Corp.
 2348 FutureSex/LoveSound                                  PA0001368884   W.B.M. Music Corp.
 2349 Geek Stink Breath                                    PA0000774217   W.B.M. Music Corp.
 2350 Good Riddance (Time Of Your Life)                    PA0001059866   W.B.M. Music Corp.
 2351 Got You Home                                         PA0001343363   W.B.M. Music Corp.
 2352 Hitchin' A Ride                                      PA0001059862   W.B.M. Music Corp.
 2353 Holiday/Boulevard Of Broken Dreams                   PA0001251317   W.B.M. Music Corp.
 2354 Horseshoes And Handgrenades                          PA0001859360   W.B.M. Music Corp.
 2355 In The End                                           PA0000713967   W.B.M. Music Corp.
 2356 J.A.R. (Jason Andrew Relva)                          PA0000773776   W.B.M. Music Corp.
 2357 Jaded                                                PA0000774217   W.B.M. Music Corp.
 2358 Jesus Of Suburbia                                    PA0001251310   W.B.M. Music Corp.
 2359 King For A Day                                       PA0001059865   W.B.M. Music Corp.
 2360 Know Your Enemy                                      PA0001859360   W.B.M. Music Corp.
 2361 Last Night On Earth                                  PA0001859360   W.B.M. Music Corp.
 2362 Last Of The American Girls                           PA0001859360   W.B.M. Music Corp.
 2363 Longview                                             PA0000713967   W.B.M. Music Corp.
 2364 Losing My Way                                        PA0001368885   W.B.M. Music Corp.
 2365 LoveStoned / I Think She Knows Interlude             PA0001368884   W.B.M. Music Corp.
 2366 Lovestoned/I Think She Knows                         PA0001368884   W.B.M. Music Corp.
 2367 Maria                                                PA0001062006   W.B.M. Music Corp.
 2368 Medley: Sexy Ladies / Let Me Talk to You (Prelude)   PA0001368884   W.B.M. Music Corp.
 2369 Minority                                             PA0001022884   W.B.M. Music Corp.
 2370 Murder City                                          PA0001859360   W.B.M. Music Corp.
 2371 Nice Guys Finish Last                                PA0001059862   W.B.M. Music Corp.
 2372 Oklahoma Sky                                         PA0001789998   W.B.M. Music Corp.
 2373 Peacemaker                                           PA0001859360   W.B.M. Music Corp.
 2374 Poprocks & Coke                                      PA0001062007   W.B.M. Music Corp.
 2375 Redundant                                            PA0001059862   W.B.M. Music Corp.
 2376 Restless Heart Syndrome                              PA0001859360   W.B.M. Music Corp.
 2377 Scream                                               PA0001761672   W.B.M. Music Corp.
 2378 Scumbag                                              PA0001070002   W.B.M. Music Corp.
 2379 See The Light                                        PA0001859360   W.B.M. Music Corp.
 2380 Sexy Ladies                                          PA0001368884   W.B.M. Music Corp.
 2381 SexyBack                                             PA0001368818   W.B.M. Music Corp.
 2382 She                                                  PA0000713967   W.B.M. Music Corp.
 2383 She's A Rebel                                        PA0001251316   W.B.M. Music Corp.
 2384 So Hard                                              PA0001375845   W.B.M. Music Corp.
 2385 Song Of The Century                                  PA0001859360   W.B.M. Music Corp.
 2386 St. Jimmy                                            PA0001251316   W.B.M. Music Corp.
 2387 Stuck With Me                                        PA0000774217   W.B.M. Music Corp.
 2388 Summer Love                                          PA0001368885   W.B.M. Music Corp.
 2389 The Grouch                                           PA0001059862   W.B.M. Music Corp.
 2390 The Static Age                                       PA0001859360   W.B.M. Music Corp.
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 2391 Throwed                                         PA0001719705   W.B.M. Music Corp.
 2392 Waiting                                         PA0001022884   W.B.M. Music Corp.
 2393 Wake Me Up When September Ends                  PA0001251317   W.B.M. Music Corp.
 2394 Walking Alone                                   PA0001059865   W.B.M. Music Corp.
 2395 Walking Contradiction                           PA0000774217   W.B.M. Music Corp.
 2396 Warning                                         PA0001022884   W.B.M. Music Corp.
 2397 Was It Worth It?                                PA0001603613   W.B.M. Music Corp.
 2398 Welcome To Paradise                             PA0000713967   W.B.M. Music Corp.
 2399 What Goes Around... Comes Around                PA0001368884   W.B.M. Music Corp.
 2400 What Goes Around.../...Comes Around Interlude   PA0001368884   W.B.M. Music Corp.
 2401 Where Did He Go                                 PA0001767261   W.B.M. Music Corp.
                                                                     W.B.M. Music Corp. / Warner-Tamerlane
 2402 Hardly Breathing                                PA0001882751   Publishing Corp.
                                                                     W.B.M. Music Corp. / Warner-Tamerlane
 2403 I Can Only Imagine                              PA0001778164   Publishing Corp.
                                                                     W.B.M. Music Corp. / Warner-Tamerlane
 2404 My Love                                         PA0001368886   Publishing Corp.
 2405 Generation                                      PA0001644603   W.B.M. Music Corp. / WB Music Corp.
 2406 The End                                         PA0001644615   W.B.M. Music Corp. / WB Music Corp.
 2407 When I'm Gone                                   PA0001644615   W.B.M. Music Corp. / WB Music Corp.
 2408 2012                                            PA0001842279   Warner-Tamerlane Publishing Corp.
 2409 1st Time                                        PA0001347989   Warner-Tamerlane Publishing Corp.
 2410 6 Foot 7 Foot                                   PA0001807261   Warner-Tamerlane Publishing Corp.
 2411 A Conspiracy                                    PA0000738881   Warner-Tamerlane Publishing Corp.
 2412 Abortion                                        PA0001842433   Warner-Tamerlane Publishing Corp.
 2413 All Kinds of Kinds                              PA0001789995   Warner-Tamerlane Publishing Corp.
 2414 All Of The Lights                               PA0001791088   Warner-Tamerlane Publishing Corp.
 2415 All Of The Lights (Interlude)                   PA0001773393   Warner-Tamerlane Publishing Corp.
 2416 All Summer Long                                 PA0001643681   Warner-Tamerlane Publishing Corp.
 2417 All The Shine                                   PA0001773706   Warner-Tamerlane Publishing Corp.
 2418 Almost Lose It                                  PA0001846094   Warner-Tamerlane Publishing Corp.
 2419 Already Taken                                   PA0001902781   Warner-Tamerlane Publishing Corp.
 2420 American Star                                   PA0001728543   Warner-Tamerlane Publishing Corp.
                                                      PA0001761402
 2421 Apple Pie Moonshine                             PA0001917489   Warner-Tamerlane Publishing Corp.
 2422 As You Turn Away                                PA0001817433   Warner-Tamerlane Publishing Corp.
 2423 Baby Come Home                                  PA0001114113   Warner-Tamerlane Publishing Corp.
 2424 Bad Decisions                                   PA0001865868   Warner-Tamerlane Publishing Corp.

 2425 Bad Luck Blue Eyes Goodbye                      PA0000577818   Warner-Tamerlane Publishing Corp.
 2426 Banjo                                           PA0001853119   Warner-Tamerlane Publishing Corp.
 2427 Barry Bonds                                     PA0001861693   Warner-Tamerlane Publishing Corp.
 2428 Because Of Your Love                            PA0001249901   Warner-Tamerlane Publishing Corp.
 2429 Bending the Rules and Breaking the Law          PA0001694074   Warner-Tamerlane Publishing Corp.
 2430 Birdman Interlude                               PA0001814502   Warner-Tamerlane Publishing Corp.
 2431 Birthday Song                                   PA0001844437   Warner-Tamerlane Publishing Corp.
                                                      PA0001891174
 2432 Black Skinhead                                  PA0001890242   Warner-Tamerlane Publishing Corp.
 2433 Blackberry                                      PA0001043932   Warner-Tamerlane Publishing Corp.
 2434 Blame Game                                      PA0001784046   Warner-Tamerlane Publishing Corp.
                                                      PA0001855571
 2435 Blood On The Leaves                             PA0001921565   Warner-Tamerlane Publishing Corp.
 2436 Blue Ocean Floor                                PA0001915504   Warner-Tamerlane Publishing Corp.
 2437 Body 2 Body                                     PA0001868401   Warner-Tamerlane Publishing Corp.
 2438 Body Ache                                       PA0001917965   Warner-Tamerlane Publishing Corp.
 2439 Bottle Poppin'                                  PA0001648776   Warner-Tamerlane Publishing Corp.
 2440 Bound 2                                         PA0001921191   Warner-Tamerlane Publishing Corp.
 2441 Bravo                                           PA0001778260   Warner-Tamerlane Publishing Corp.
 2442 Breathe                                         PA0001349255   Warner-Tamerlane Publishing Corp.
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                                      PAu002367443
 2443 By Your Side                    PA0000939602    Warner-Tamerlane Publishing Corp.
 2444 BYOB                            PA0001648815    Warner-Tamerlane Publishing Corp.
 2445 Camouflage                      PA0002001267    Warner-Tamerlane Publishing Corp.
 2446 Can You Feel It                 PA0001780093    Warner-Tamerlane Publishing Corp.
 2447 Candy                           PA0001763960    Warner-Tamerlane Publishing Corp.
 2448 Carried Away                    PA0000830048    Warner-Tamerlane Publishing Corp.
 2449 Carry Out                       PA0001780010    Warner-Tamerlane Publishing Corp.
 2450 Carrying Your Love With Me      PA0000849801    Warner-Tamerlane Publishing Corp.
 2451 Changed                         PA0001853120    Warner-Tamerlane Publishing Corp.
 2452 Chapter V                       PA0001865863    Warner-Tamerlane Publishing Corp.
 2453 Chevy Smile                     PA0001648814    Warner-Tamerlane Publishing Corp.
                                      Eu0000684610
 2454 Cigarettes and Coffee           RE0000442404    Warner-Tamerlane Publishing Corp.
 2455 Circus                          PA0001622999    Warner-Tamerlane Publishing Corp.
                                      PAu002625389
 2456 Cocky                           PA0001114105    Warner-Tamerlane Publishing Corp.
 2457 Cold As Stone                   PA0001817040    Warner-Tamerlane Publishing Corp.
 2458 Come A Little Closer            PA0001069964    Warner-Tamerlane Publishing Corp.
 2459 Come Wake Me Up                 PA0001853117    Warner-Tamerlane Publishing Corp.
 2460 Compass                         PA0001879179    Warner-Tamerlane Publishing Corp.
 2461 Control Myself                  PA0001599521    Warner-Tamerlane Publishing Corp.
 2462 Crack                           PA0001811848    Warner-Tamerlane Publishing Corp.
 2463 Da Da Da                        PA0001728546    Warner-Tamerlane Publishing Corp.
 2464 Dance With Me Tonight           PA0001847635    Warner-Tamerlane Publishing Corp.
 2465 Dancin' Away With My Heart      PA0001817030    Warner-Tamerlane Publishing Corp.
 2466 Dark As A Dungeon               EP0000097185    Warner-Tamerlane Publishing Corp.
 2467 Days Like These                 PA0001790666    Warner-Tamerlane Publishing Corp.
                                      PA0000773741
 2468 Dear Mama                       PA0000875888    Warner-Tamerlane Publishing Corp.
 2469 Dear Old Nicki                  PA0001739207    Warner-Tamerlane Publishing Corp.
 2470 Devil In A New Dress            PA0001791337    Warner-Tamerlane Publishing Corp.
 2471 Dive In                         PA0001868040    Warner-Tamerlane Publishing Corp.
 2472 Don't Be Scared                 PA0001931589    Warner-Tamerlane Publishing Corp.
 2473 Don't Hold The Wall             PA0001915504    Warner-Tamerlane Publishing Corp.
 2474 Don't Play Wit It               PA0001347984    Warner-Tamerlane Publishing Corp.
 2475 Don't Tell Me U Love Me         PA0001638755    Warner-Tamerlane Publishing Corp.
 2476 Doorbell                        PA0001856251    Warner-Tamerlane Publishing Corp.
 2477 Dope Boy Magic                  PA0001347985    Warner-Tamerlane Publishing Corp.
 2478 Downtown Girl                   PA0001856129    Warner-Tamerlane Publishing Corp.
 2479 Drop The World                  PA0001848752    Warner-Tamerlane Publishing Corp.
 2480 Drunk And Hot Girls             PA0001592989    Warner-Tamerlane Publishing Corp.
                                      PAu002607513
 2481 Drunk In the Morning            PA0001114114    Warner-Tamerlane Publishing Corp.
 2482 Ease Off The Liquor             PA0001780085    Warner-Tamerlane Publishing Corp.
 2483 Easy                            PA0001349254    Warner-Tamerlane Publishing Corp.
 2484 Every Girl                      PA0001741596    Warner-Tamerlane Publishing Corp.
 2485 Extravaganza                    PA0001323666    Warner-Tamerlane Publishing Corp.
 2486 Fall Into Me                    PA0001884101    Warner-Tamerlane Publishing Corp.
 2487 Fancy                           PA0001852254    Warner-Tamerlane Publishing Corp.
 2488 Fast                            PA0001935086    Warner-Tamerlane Publishing Corp.
 2489 Fast Cars And Freedom           PA0001268341    Warner-Tamerlane Publishing Corp.
 2490 Feng Shui                       PA0001338255    Warner-Tamerlane Publishing Corp.
 2491 Fire Fly                        PA0001773710    Warner-Tamerlane Publishing Corp.
 2492 Flip Flop                       PA0001347987    Warner-Tamerlane Publishing Corp.
 2493 Flowers                         PA0001162294    Warner-Tamerlane Publishing Corp.
                                      PAu002635078
 2494 Forever                         PA0001114104    Warner-Tamerlane Publishing Corp.
 2495 Forever Unstoppable             PA0001856129    Warner-Tamerlane Publishing Corp.
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 2496 Forever Yours                   PA0001865870    Warner-Tamerlane Publishing Corp.
 2497 Fumble                          PA0001866132    Warner-Tamerlane Publishing Corp.
 2498 G.R.I.T.S                       PA0001750920    Warner-Tamerlane Publishing Corp.
 2499 Get A Life                      PA0001728548    Warner-Tamerlane Publishing Corp.
 2500 Get Some                        PA0001253726    Warner-Tamerlane Publishing Corp.
 2501 Getting To Da Money             PA0001648763    Warner-Tamerlane Publishing Corp.
 2502 Ghetto Love                     PA0001396265    Warner-Tamerlane Publishing Corp.
 2503 Girls Around The World          PA0001677803    Warner-Tamerlane Publishing Corp.
                                      PAu002367443
 2504 Go Faster                       PA0000939602    Warner-Tamerlane Publishing Corp.
 2505 Go N' Get It                    PA0001808406    Warner-Tamerlane Publishing Corp.
 2506 Gonorrhea                       PA0001741928    Warner-Tamerlane Publishing Corp.
                                      PAu002069934
 2507 Good Friday                     PA0000812918    Warner-Tamerlane Publishing Corp.
 2508 Good Life                       PA0001597235    Warner-Tamerlane Publishing Corp.
 2509 Good Times Gone                 PA0001103821    Warner-Tamerlane Publishing Corp.
 2510 Gorgeous                        PA0001740943    Warner-Tamerlane Publishing Corp.
 2511 Got To Get My Heart Back        PA0001603589    Warner-Tamerlane Publishing Corp.
 2512 Hail Mary                       PA0001865861    Warner-Tamerlane Publishing Corp.
 2513 Halfway to Heaven               PA0001693861    Warner-Tamerlane Publishing Corp.
 2514 Hangnail                        PA0001103821    Warner-Tamerlane Publishing Corp.
 2515 Harajuku Girls                  PA0001274356    Warner-Tamerlane Publishing Corp.
 2516 Hate Sleeping Alone             PA0001997263    Warner-Tamerlane Publishing Corp.
 2517 Hear Me Coming                  PA0001347989    Warner-Tamerlane Publishing Corp.
 2518 Heart Attack                    PA0001931588    Warner-Tamerlane Publishing Corp.
 2519 Hell On Wheels                  PA0001694071    Warner-Tamerlane Publishing Corp.
 2520 Hell Yeah                       PA0001648815    Warner-Tamerlane Publishing Corp.
 2521 Hello Good Morning              PA0001745034    Warner-Tamerlane Publishing Corp.
 2522 Hold My Liquor                  PA0001890241    Warner-Tamerlane Publishing Corp.
 2523 Hold Up                         PA0001741949    Warner-Tamerlane Publishing Corp.
 2524 Hollywood                       PA0001103822    Warner-Tamerlane Publishing Corp.
 2525 Hollywood Divorce               PA0001603423    Warner-Tamerlane Publishing Corp.
 2526 How To Hate                     PA0001807231    Warner-Tamerlane Publishing Corp.
 2527 How To Love                     PA0001807262    Warner-Tamerlane Publishing Corp.

 2528 Hustle Hard                     PA0001808406    Warner-Tamerlane Publishing Corp.
 2529 Hustlemania (Skit)              PA0001648764    Warner-Tamerlane Publishing Corp.
 2530 HYFR (Hell Ya Fucking Right)    PA0001869936    Warner-Tamerlane Publishing Corp.
 2531 Hyyerr                          PA0001679583    Warner-Tamerlane Publishing Corp.
 2532 I Ain't Goin' Out Like That     PA0000848472    Warner-Tamerlane Publishing Corp.
 2533 I Am Not A Human Being          PA0001741896    Warner-Tamerlane Publishing Corp.
 2534 I Can Transform Ya              PA0001744956    Warner-Tamerlane Publishing Corp.
                                      PA0000593349
 2535 I Cross My Heart                PA0000643057    Warner-Tamerlane Publishing Corp.
 2536 I Get It                        PA0001387419    Warner-Tamerlane Publishing Corp.
 2537 I Know You See It               PA0001347990    Warner-Tamerlane Publishing Corp.
 2538 I Know You Won't                PA0001644685    Warner-Tamerlane Publishing Corp.
 2539 I Like It Like That             PA0001856125    Warner-Tamerlane Publishing Corp.
 2540 I Like The View                 PA0001807227    Warner-Tamerlane Publishing Corp.
 2541 I Melt                          PA0001136262    Warner-Tamerlane Publishing Corp.
 2542 I Run To You                    PA0001706945    Warner-Tamerlane Publishing Corp.
 2543 I Stand Accused                 EP0000329319    Warner-Tamerlane Publishing Corp.
 2544 I'll Die For You                PA0001732190    Warner-Tamerlane Publishing Corp.
 2545 I'm Him                         PA0001347988    Warner-Tamerlane Publishing Corp.
 2546 I'm In It                       PA0001890238    Warner-Tamerlane Publishing Corp.
 2547 I'm Single                      PA0001741951    Warner-Tamerlane Publishing Corp.
 2548 I'm So Blessed                  PA0001852361    Warner-Tamerlane Publishing Corp.
 2549 I'm So Over You                 PA0001732191    Warner-Tamerlane Publishing Corp.
 2550 I'm The Best                    PA0001739207    Warner-Tamerlane Publishing Corp.
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 2551 If Drinkin' Don't Kill Me (Her Memory Will)   PA0000102104   Warner-Tamerlane Publishing Corp.
 2552 If Today Was Your Last Day                    PA0001622259   Warner-Tamerlane Publishing Corp.
 2553 If You Want A Bad Boy                         PA0001971305   Warner-Tamerlane Publishing Corp.
 2554 In Case You Didn't Know                       PA0001847635   Warner-Tamerlane Publishing Corp.
 2555 Initiation                                    PA0001951618   Warner-Tamerlane Publishing Corp.
 2556 Inside Interlewd                              PA0001866129   Warner-Tamerlane Publishing Corp.
 2557 Interlude                                     PA0001807226   Warner-Tamerlane Publishing Corp.
 2558 Interlude4U                                   PA0001865878   Warner-Tamerlane Publishing Corp.
 2559 Intro                                         PA0001807226   Warner-Tamerlane Publishing Corp.
 2560 It Did                                        PA0001628194   Warner-Tamerlane Publishing Corp.
 2561 It Will Be Me                                 PA0000988177   Warner-Tamerlane Publishing Corp.
 2562 It's Five O' Clock Somewhere                  PA0001158580   Warner-Tamerlane Publishing Corp.
 2563 It's Good                                     PA0001842432   Warner-Tamerlane Publishing Corp.
 2564 It's Not Over                                 PA0001349172   Warner-Tamerlane Publishing Corp.
 2565 Jesus For A Day                               PA0001157410   Warner-Tamerlane Publishing Corp.
 2566 Johnny Cash                                   PA0001292991   Warner-Tamerlane Publishing Corp.
 2567 Just A Kiss                                   PA0001817035   Warner-Tamerlane Publishing Corp.
 2568 Just For                                      PA0001103819   Warner-Tamerlane Publishing Corp.
 2569 Keep Me From Loving You                       PA0001641540   Warner-Tamerlane Publishing Corp.
 2570 Keep The Girl                                 PA0001935083   Warner-Tamerlane Publishing Corp.
 2571 Keep You With Me                              PA0001856129   Warner-Tamerlane Publishing Corp.
                                                    PAu002367443
 2572 Kickin' My Heart Around                       PA0000939602   Warner-Tamerlane Publishing Corp.
 2573 Knock It Out                                  PA0001347991   Warner-Tamerlane Publishing Corp.
 2574 Knock You Down                                PA0001767248   Warner-Tamerlane Publishing Corp.
 2575 Ladies Go Wild                                PA0001846093   Warner-Tamerlane Publishing Corp.
                                                    PAu002607508
 2576 Lay It On Me                                  PA0001114110   Warner-Tamerlane Publishing Corp.
 2577 LES                                           PA0001773586   Warner-Tamerlane Publishing Corp.
 2578 Let It Rock                                   PA0001624274   Warner-Tamerlane Publishing Corp.
 2579 Let The Beat Build                            PA0001621374   Warner-Tamerlane Publishing Corp.
 2580 Let The Groove Get In                         PA0001915504   Warner-Tamerlane Publishing Corp.
 2581 Let's Make Love                               PA0000988178   Warner-Tamerlane Publishing Corp.
 2582 Lifeline                                      PA0001671748   Warner-Tamerlane Publishing Corp.
 2583 Like We Never Loved At All                    PA0001290857   Warner-Tamerlane Publishing Corp.
 2584 Linger                                        PA0000608834   Warner-Tamerlane Publishing Corp.
 2585 Lollipop                                      PA0001619781   Warner-Tamerlane Publishing Corp.
                                                    PAu002635077
 2586 Lonely Road Of Faith                          PA0001114106   Warner-Tamerlane Publishing Corp.
 2587 Look At Me Now                                PA0001921210   Warner-Tamerlane Publishing Corp.
 2588 Lookin' At You                                PA0001263491   Warner-Tamerlane Publishing Corp.
 2589 Love Faces                                    PA0001856243   Warner-Tamerlane Publishing Corp.
 2590 Love I've Found In You                        PA0001817038   Warner-Tamerlane Publishing Corp.
 2591 Love In This Club, Part II                    PA0001690182   Warner-Tamerlane Publishing Corp.
 2592 Made To Be Together                           PA0001856238   Warner-Tamerlane Publishing Corp.
 2593 Main Title (From "Star Wars")                 PA0000062943   Warner-Tamerlane Publishing Corp.
 2594 Make Me Proud                                 PA0001869946   Warner-Tamerlane Publishing Corp.
 2595 Mama's Broken Heart                           PA0001790000   Warner-Tamerlane Publishing Corp.
 2596 Marvin & Chardonnay                           PA0001780731   Warner-Tamerlane Publishing Corp.
 2597 Medicated                                     PA0001952869   Warner-Tamerlane Publishing Corp.
 2598 MegaMan                                       PA0001807233   Warner-Tamerlane Publishing Corp.
 2599 Memory Lane                                   PA0001868403   Warner-Tamerlane Publishing Corp.
 2600 Mercy.1                                       PA0001913931   Warner-Tamerlane Publishing Corp.
                                                    PAu002607511
 2601 Midnight Train To Memphis                     PA0001114112   Warner-Tamerlane Publishing Corp.
 2602 Miss Me                                       PA0001728552   Warner-Tamerlane Publishing Corp.
 2603 Moment 4 Life                                 PA0001739210   Warner-Tamerlane Publishing Corp.
 2604 Momma                                         PA0001648755   Warner-Tamerlane Publishing Corp.
 2605 Money Bought                                  PA0001103822   Warner-Tamerlane Publishing Corp.
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 2606 My Kinda Party                  PA0001750920    Warner-Tamerlane Publishing Corp.
 2607 Never Again                     PA0001819832    Warner-Tamerlane Publishing Corp.
 2608 Never Ever                      PA0001659049    Warner-Tamerlane Publishing Corp.
 2609 New Joc City - Intro            PA0001347982    Warner-Tamerlane Publishing Corp.
 2610 New Slaves                      PA0001890237    Warner-Tamerlane Publishing Corp.
 2611 Nightmares Of The Bottom        PA0001915461    Warner-Tamerlane Publishing Corp.
 2612 No                              PA0001628202    Warner-Tamerlane Publishing Corp.
 2613 Not Over You                    PA0001763962    Warner-Tamerlane Publishing Corp.
 2614 On Fire                         PA0001848480    Warner-Tamerlane Publishing Corp.
 2615 On Sight                        PA0001890235    Warner-Tamerlane Publishing Corp.
 2616 One Hell Of An Amen             PA0001971314    Warner-Tamerlane Publishing Corp.
 2617 One Way Trip                    PA0001728549    Warner-Tamerlane Publishing Corp.
 2618 One, Two Step                   PA0001263489    Warner-Tamerlane Publishing Corp.
                                      PAu002367443
 2619 Only A Fool                     PA0000939602    Warner-Tamerlane Publishing Corp.
 2620 Outro                           PA0001807226    Warner-Tamerlane Publishing Corp.
 2621 Outside                         PA0001773713    Warner-Tamerlane Publishing Corp.
 2622 Own It                          PA0001891427    Warner-Tamerlane Publishing Corp.
                                      PA0000159305
 2623 P.Y.T. (Pretty Young Thing)     PA0000193603    Warner-Tamerlane Publishing Corp.
 2624 Paint This House                PA0001882750    Warner-Tamerlane Publishing Corp.
 2625 Pak Man                         PA0001648771    Warner-Tamerlane Publishing Corp.
 2626 Panic Prone                     PA0001253726    Warner-Tamerlane Publishing Corp.
 2627 Panty Wetter                    PA0001865865    Warner-Tamerlane Publishing Corp.
 2628 Paper Scissors Rock             PA0001866592    Warner-Tamerlane Publishing Corp.
 2629 Paradice                        PA0001728547    Warner-Tamerlane Publishing Corp.
 2630 Patron                          PA0001347986    Warner-Tamerlane Publishing Corp.
 2631 Payphone                        PA0001849242    Warner-Tamerlane Publishing Corp.
 2632 Phone Home                      PA0001621245    Warner-Tamerlane Publishing Corp.
 2633 Pick Up The Phone               PA0001263490    Warner-Tamerlane Publishing Corp.
 2634 Picture Perfect                 PA0001347992    Warner-Tamerlane Publishing Corp.
 2635 Play Your Cards                 PA0001648743    Warner-Tamerlane Publishing Corp.
 2636 Player's Prayer                 PA0001387429    Warner-Tamerlane Publishing Corp.
 2637 Playin' Hard                    PA0001866123    Warner-Tamerlane Publishing Corp.
 2638 Please Return My Call           PA0001771885    Warner-Tamerlane Publishing Corp.
 2639 Pocahontas Proud                PA0001227155    Warner-Tamerlane Publishing Corp.
 2640 Pop That                        PA0001861940    Warner-Tamerlane Publishing Corp.
 2641 Popular                         PA0001741903    Warner-Tamerlane Publishing Corp.
 2642 Prayin' For Daylight            PA0000978701    Warner-Tamerlane Publishing Corp.
 2643 President Carter                PA0001807235    Warner-Tamerlane Publishing Corp.
 2644 Pretty Girl's Lie               PA0001865867    Warner-Tamerlane Publishing Corp.
 2645 Prom Queen                      PA0001728544    Warner-Tamerlane Publishing Corp.
 2646 Pusher Love Girl                PA0001915504    Warner-Tamerlane Publishing Corp.
 2647 Queen Of Hearts                 PA0001742580    Warner-Tamerlane Publishing Corp.
 2648 Radiation                       PA0001763960    Warner-Tamerlane Publishing Corp.
 2649 Radio                           PA0001630369    Warner-Tamerlane Publishing Corp.
 2650 Release                         PA0001761877    Warner-Tamerlane Publishing Corp.
 2651 Rest Of Our Life                PA0001896429    Warner-Tamerlane Publishing Corp.
 2652 Right Above It                  PA0001741926    Warner-Tamerlane Publishing Corp.
 2653 Right In Front Of You           PA0001102062    Warner-Tamerlane Publishing Corp.
 2654 Right One Time                  PA0001853122    Warner-Tamerlane Publishing Corp.
 2655 Rise Above                      PA0001951621    Warner-Tamerlane Publishing Corp.
 2656 Run Every Time                  PA0001763961    Warner-Tamerlane Publishing Corp.
 2657 Salvation                       PA0000791575    Warner-Tamerlane Publishing Corp.
 2658 Say Something                   PA0001728554    Warner-Tamerlane Publishing Corp.
 2659 See Me Now                      PA0001865581    Warner-Tamerlane Publishing Corp.
 2660 See You In My Nightmares        PA0001643088    Warner-Tamerlane Publishing Corp.
 2661 See You When I See You          PA0001790669    Warner-Tamerlane Publishing Corp.
 2662 Session One                     PA0001848890    Warner-Tamerlane Publishing Corp.
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 2663 Sex In The Lounge                    PA0001842417   Warner-Tamerlane Publishing Corp.
 2664 Shattered Glass                      PA0001632385   Warner-Tamerlane Publishing Corp.
 2665 She Don't Have to Know               PA0001299028   Warner-Tamerlane Publishing Corp.
 2666 She Talks To Angels                  PA0000532894   Warner-Tamerlane Publishing Corp.
 2667 She Will                             PA0001807232   Warner-Tamerlane Publishing Corp.
 2668 Shine                                PA0001778259   Warner-Tamerlane Publishing Corp.
 2669 Shoot Me Down                        PA0001915522   Warner-Tamerlane Publishing Corp.
 2670 Shut It Down                         PA0001870871   Warner-Tamerlane Publishing Corp.
 2671 Simply Amazing                       PA0001868036   Warner-Tamerlane Publishing Corp.
 2672 Skeletons                            PA0001789847   Warner-Tamerlane Publishing Corp.
 2673 Ski Mask Way                         PA0001281578   Warner-Tamerlane Publishing Corp.
 2674 So Special                           PA0001807229   Warner-Tamerlane Publishing Corp.
 2675 Somewhere Love Remains               PA0001817433   Warner-Tamerlane Publishing Corp.
 2676 Spaceship Coupe                      PA0001915506   Warner-Tamerlane Publishing Corp.
 2677 Spell It Out                         PA0001763961   Warner-Tamerlane Publishing Corp.
 2678 St. Elsewhere                        PA0001338251   Warner-Tamerlane Publishing Corp.
 2679 Stealing                             PA0001763960   Warner-Tamerlane Publishing Corp.
                                           PAu001613582
 2680 Sting Me                             PA0000577821   Warner-Tamerlane Publishing Corp.
 2681 Stop, Look, Listen (To Your Heart)   EP0000286226   Warner-Tamerlane Publishing Corp.
 2682 Straight Jacket Fashion              PA0001387418   Warner-Tamerlane Publishing Corp.
 2683 Straight Up                          PA0001808141   Warner-Tamerlane Publishing Corp.
 2684 Strawberry Bubblegum                 PA0001915506   Warner-Tamerlane Publishing Corp.
 2685 StreetLove                           PA0001387433   Warner-Tamerlane Publishing Corp.
 2686 Summon The Heroes                    PA0000844744   Warner-Tamerlane Publishing Corp.
 2687 Sunrise                              PA0001773580   Warner-Tamerlane Publishing Corp.
 2688 Sunshine & Summertime                PA0001290858   Warner-Tamerlane Publishing Corp.
 2689 Sweeter                              PA0001763962   Warner-Tamerlane Publishing Corp.
 2690 Take It Outside                      PA0001694081   Warner-Tamerlane Publishing Corp.
 2691 Take You Home                        PA0001387431   Warner-Tamerlane Publishing Corp.
 2692 Tapout                               PA0001976125   Warner-Tamerlane Publishing Corp.
 2693 Tattoo Of My Name                    PA0001896737   Warner-Tamerlane Publishing Corp.
 2694 Tattoos On This Town                 PA0001790667   Warner-Tamerlane Publishing Corp.
 2695 Teach Me How To Dougie               PA0001744864   Warner-Tamerlane Publishing Corp.
 2696 Tell Somebody                        PA0001842284   Warner-Tamerlane Publishing Corp.
 2697 Texas Was You                        PA0001790669   Warner-Tamerlane Publishing Corp.
 2698 That Girl                            PA0001915505   Warner-Tamerlane Publishing Corp.
 2699 That Power                           PA0001773578   Warner-Tamerlane Publishing Corp.
 2700 The Boogie Monster                   PA0001338253   Warner-Tamerlane Publishing Corp.
 2701 The Clincher                         PA0001253725   Warner-Tamerlane Publishing Corp.
 2702 The Fad                              PA0001387418   Warner-Tamerlane Publishing Corp.
 2703 The Night Before (Life Goes On)      PA0001302091   Warner-Tamerlane Publishing Corp.
 2704 The Price Is Wrong                   PA0001728550   Warner-Tamerlane Publishing Corp.
 2705 The Real Her                         PA0001869994   Warner-Tamerlane Publishing Corp.
 2706 Them Boys                            PA0001693846   Warner-Tamerlane Publishing Corp.
 2707 This Song Is About You               PA0001847635   Warner-Tamerlane Publishing Corp.
                                           PAu000613584
 2708 Thorn In My Pride                    PA0000577819   Warner-Tamerlane Publishing Corp.
 2709 Thug Style                           PA0001263491   Warner-Tamerlane Publishing Corp.
 2710 Till I Die                           PA0001842278   Warner-Tamerlane Publishing Corp.
 2711 Time                                 PA0001760169   Warner-Tamerlane Publishing Corp.
 2712 Tomorrow In The Bottle               PA0001780008   Warner-Tamerlane Publishing Corp.
 2713 Too Bad                              PA0001103820   Warner-Tamerlane Publishing Corp.
 2714 Touch The Sky                        PA0001299042   Warner-Tamerlane Publishing Corp.
 2715 Transformer                          PA0001338256   Warner-Tamerlane Publishing Corp.
 2716 True                                 PA0000895879   Warner-Tamerlane Publishing Corp.
 2717 Trumpet Lights                       PA0001842283   Warner-Tamerlane Publishing Corp.
 2718 Tunnel Vision                        PA0001915506   Warner-Tamerlane Publishing Corp.
 2719 Turnin Me On                         PA0001881520   Warner-Tamerlane Publishing Corp.
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 2720 Two Shots                                    PA0001842435   Warner-Tamerlane Publishing Corp.
 2721 Under Ground Kings                           PA0001808381   Warner-Tamerlane Publishing Corp.
 2722 Up Up And Away                               PA0001997140   Warner-Tamerlane Publishing Corp.
 2723 Valentine                                    PA0001387428   Warner-Tamerlane Publishing Corp.
 2724 Vitamin R (Leading Us Along)                 PA0001253726   Warner-Tamerlane Publishing Corp.
 2725 Wait A Minute                                PA0001697038   Warner-Tamerlane Publishing Corp.
 2726 Waitin' On a Woman                           PA0001288292   Warner-Tamerlane Publishing Corp.
 2727 Walking On The Moon                          PA0001893004   Warner-Tamerlane Publishing Corp.
 2728 Wanted You More                              PA0001817205   Warner-Tamerlane Publishing Corp.
 2729 Wasted                                       PA0001302090   Warner-Tamerlane Publishing Corp.
 2730 Watch n' Learn                               PA0001842405   Warner-Tamerlane Publishing Corp.
                                                   Pau002607518
 2731 WCSR                                         PA0001114103   Warner-Tamerlane Publishing Corp.
 2732 We Been On                                   PA0001995834   Warner-Tamerlane Publishing Corp.
 2733 We Belong To The Music                       PA0001780088   Warner-Tamerlane Publishing Corp.
 2734 We'll Be Fine                                PA0001869942   Warner-Tamerlane Publishing Corp.
 2735 Well Enough Alone                            PA0001387417   Warner-Tamerlane Publishing Corp.
 2736 What Happened                                PA0001227154   Warner-Tamerlane Publishing Corp.
                                                   PAu002625391
 2737 What I Learned Out On The Road               PA0001114109   Warner-Tamerlane Publishing Corp.
 2738 What You Wanna Do                            PA0001387432   Warner-Tamerlane Publishing Corp.
 2739 Whatever                                     PA0001856129   Warner-Tamerlane Publishing Corp.
 2740 When I Think About Cheatin'                  PA0001227155   Warner-Tamerlane Publishing Corp.
 2741 When It Rains                                PA0001227155   Warner-Tamerlane Publishing Corp.
 2742 When U Love Someone                          PA0001638755   Warner-Tamerlane Publishing Corp.
 2743 When You Were Mine                           PA0001817032   Warner-Tamerlane Publishing Corp.
 2744 Where Do I Hide                              PA0001103821   Warner-Tamerlane Publishing Corp.
 2745 Where You Are                                PA0001763960   Warner-Tamerlane Publishing Corp.
 2746 Wide Open                                    PA0001935080   Warner-Tamerlane Publishing Corp.
 2747 Wild Ones                                    PA0001883945   Warner-Tamerlane Publishing Corp.
 2748 Wind Beneath My Wings / He Hawai`i Au        PA0000154386   Warner-Tamerlane Publishing Corp.
 2749 Wipe Your Eyes                               PA0001811795   Warner-Tamerlane Publishing Corp.
 2750 Wiser Time                                   PA0000738881   Warner-Tamerlane Publishing Corp.
 2751 Wish You Would                               PA0001660102   Warner-Tamerlane Publishing Corp.
 2752 Woke Up This Morning                         PA0001103820   Warner-Tamerlane Publishing Corp.
 2753 Work Hard, Play Hard                         PA0001951615   Warner-Tamerlane Publishing Corp.
 2754 Wut We Doin?                                 PA0001846684   Warner-Tamerlane Publishing Corp.
 2755 You (Edited)                                 PA0001387424   Warner-Tamerlane Publishing Corp.
 2756 You Are Everything                           EP0000291953   Warner-Tamerlane Publishing Corp.
 2757 You Know Where I'm At                        PA0001763960   Warner-Tamerlane Publishing Corp.
                                                   PAu002607516
 2758 You Never Met A Motherf**Ker Quite Like Me   PA0001114102   Warner-Tamerlane Publishing Corp.
 2759 You Will Be Mine                             PAu001966658   Warner-Tamerlane Publishing Corp.
 2760 Yuck!                                        PA0001846689   Warner-Tamerlane Publishing Corp.
 2761 Zombie                                       PA0000734574   Warner-Tamerlane Publishing Corp.
                                                                  Warner-Tamerlane Publishing Corp. /
 2762 Better In The Long Run                       PA0001790002   Warner/Chappell Music, Inc.
                                                                  Warner-Tamerlane Publishing Corp. / WB Music
 2763 No Lie                                       PA0001846688   Corp.
                                                                  Warner-Tamerlane Publishing Corp. / WB Music
 2764 Outlaw                                       PA0000754054   Corp.
                                                                  Warner-Tamerlane Publishing Corp. / WB Music
 2765 Outta Control                                PA0001298486   Corp.
                                                                  Warner-Tamerlane Publishing Corp. / WB Music
 2766 Beautiful                                    PA0001868404   Corp.
 2767 1 Mo Time                                    PA0001765676   Warner/Chappell Music, Inc.

 2768 American Saturday Night                      PA0001674346   Warner/Chappell Music, Inc.
 2769 Bouquet of Roses                             EP0000027412   Warner/Chappell Music, Inc.
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 2770 California Waiting                  PA0001204543   Warner/Chappell Music, Inc.
                                          EU0000753361
 2771 Casey Jones                         RE0000515038   Warner/Chappell Music, Inc.
 2772 Catch All The Fish                  PA0001644207   Warner/Chappell Music, Inc.
 2773 Closer                              PA0001204538   Warner/Chappell Music, Inc.
                                          Eu0000322794
                                          RE0000084677
                                          EP0000094728
 2774 Cry Me a River                      RE0000152354   Warner/Chappell Music, Inc.
                                          Eu0000548552
 2775 Don't Take Your Guns to Town        RE0000283032   Warner/Chappell Music, Inc.
 2776 Faithful                            PA0001299024   Warner/Chappell Music, Inc.
                                          Eu0000571483
 2777 Five Feet High and Rising           RE0000320846   Warner/Chappell Music, Inc.
                                          Eu0000545553
 2778 Frankie's Man Johnny                RE0000283029   Warner/Chappell Music, Inc.
 2779 Friday                              PA0001765676   Warner/Chappell Music, Inc.
 2780 Genius                              PA0001204546   Warner/Chappell Music, Inc.
 2781 Happy Alone                         PA0001204539   Warner/Chappell Music, Inc.
 2782 Holy Roller Novocaine               PA0001204548   Warner/Chappell Music, Inc.
 2783 I Am The Club                       PA0001765676   Warner/Chappell Music, Inc.
                                          Eu0000541378
 2784 I Still Miss Someone                RE0000283809   Warner/Chappell Music, Inc.
 2785 Jesus, Take The Wheel               PA0001339680   Warner/Chappell Music, Inc.
 2786 Joe's Head                          PA0001204541   Warner/Chappell Music, Inc.
 2787 Just A Dream                        PA0001742365   Warner/Chappell Music, Inc.
 2788 Let's Take A Ride                   PA0001133272   Warner/Chappell Music, Inc.
 2789 Little Miss Strange                 Eu0000081092   Warner/Chappell Music, Inc.
 2790 Losing You                          PA0001637010   Warner/Chappell Music, Inc.
 2791 Molly's Chambers                    PA0001204545   Warner/Chappell Music, Inc.
 2792 My Funny Valentine                  EP0000061055   Warner/Chappell Music, Inc.
 2793 Nothin' Else                        PA0001133267   Warner/Chappell Music, Inc.
 2794 Pick a Bale O' Cotton               PA0000736399   Warner/Chappell Music, Inc.
                                          Eu0000548553
 2795 Pickin' Time                        RE0000276205   Warner/Chappell Music, Inc.
 2796 Position Of Power                   PA0001868739   Warner/Chappell Music, Inc.
 2797 Red Morning Light                   PA0001204538   Warner/Chappell Music, Inc.
 2798 Rewind                              PA0001969112   Warner/Chappell Music, Inc.
 2799 She's So Fine                       Eu0000031444   Warner/Chappell Music, Inc.
 2800 So Amazing                          PA0001868740   Warner/Chappell Music, Inc.
 2801 Spiral Staircase                    PA0001204544   Warner/Chappell Music, Inc.
 2802 Stand                               PA0001345399   Warner/Chappell Music, Inc.
 2803 Take Care                           PA0001841723   Warner/Chappell Music, Inc.
 2804 Take It From Here                   PA0001133263   Warner/Chappell Music, Inc.
 2805 Talk About Our Love                 PA0001281568   Warner/Chappell Music, Inc.
                                          Eu0000684114
 2806 Tennessee Flat Top Box              RE0000428313   Warner/Chappell Music, Inc.
                                          Eu0000753362
 2807 The Legend Of John Henry's Hammer   RE0000519119   Warner/Chappell Music, Inc.
 2808 Then                                PA0001703715   Warner/Chappell Music, Inc.
 2809 Trani                               PA0001204542   Warner/Chappell Music, Inc.
                                          Eu0000805018
 2810 Understand Your Man                 RE0000568246   Warner/Chappell Music, Inc.
 2811 Wasted Time                         PA0001204540   Warner/Chappell Music, Inc.
                                          Eu0000824378
 2812 Wreck of the Old 97                 RE0000575401   Warner/Chappell Music, Inc.
 2813 You Look So Good In Love            PAu000502409   Warner/Chappell Music, Inc.
 2814 (Kissed You) Good Night             PA0001840707   WB Music Corp.
 2815 (Oh No) What You Got                PA0001149533   WB Music Corp.
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 2816 (One Of Those) Crazy Girls      PA0001854435    WB Music Corp.
 2817 ***Flawless                     PA0001918122    WB Music Corp.
 2818 1+1                             PA0001861929    WB Music Corp.
 2819 A Welcome Burden                PA0001059185    WB Music Corp.
                                      Eu0000655755
 2820 Achilles Last Stand             RE0000895725    WB Music Corp.
 2821 Addicted                        PA0001084656    WB Music Corp.
 2822 Afrodisiac                      PA0001236712    WB Music Corp.
 2823 All Her Love                    PA0001087582    WB Music Corp.
 2824 All I Ask For                   PA0001146376    WB Music Corp.
 2825 All I Wanted                    PA0001676908    WB Music Corp.
 2826 All In The Name Of...           PA0000354504    WB Music Corp.
 2827 All My Love                     PA0000078104    WB Music Corp.
 2828 All Night Long                  PA0001741514    WB Music Corp.
 2829 All Over The Road               PA0001859563    WB Music Corp.
 2830 Already Gone                    PA0001249431    WB Music Corp.
 2831 Anklebiters                     PA0001854436    WB Music Corp.
 2832 Announcement                    PA0001656977    WB Music Corp.
                                      PA0001352640
 2833 Avarice                         PA0001296201    WB Music Corp.
 2834 Aw Naw                          PA0001887674    WB Music Corp.
 2835 Awaken                          PA0001111236    WB Music Corp.
 2836 Babe I'm Gonna Leave You        EP0000256803    WB Music Corp.
 2837 Baby You Belong                 PA0001147137    WB Music Corp.
 2838 Back To School (Mini Maggit)    PA0001033072    WB Music Corp.
 2839 Bad Boy Boogie                  PA0000354502    WB Music Corp.
 2840 Bad News                        PA0001633768    WB Music Corp.
 2841 bang bang bang                  PA0001750215    WB Music Corp.
 2842 Basement                        PA0001075310    WB Music Corp.
 2843 Battle-axe                      PA0001157470    WB Music Corp.
 2844 BBC                             PA0001858826    WB Music Corp.
 2845 Be Alone                        PA0001854435    WB Music Corp.
 2846 Be Quiet And Drive              PA0000870906    WB Music Corp.
 2847 Believe                         PA0001111236    WB Music Corp.
 2848 Berzerk                         PA0001863184    WB Music Corp.
 2849 Best Thing I Never Had          PA0001752857    WB Music Corp.
 2850 Betty's a Bombshell             PA0001762863    WB Music Corp.
 2851 Beware                          PA0001373477    WB Music Corp.
                                      PA0001080612
 2852 Big Pimpin'/Papercut            PA0001937229    WB Music Corp.
 2853 Birthday Cake                   PA0001841920    WB Music Corp.
 2854 Birthmark                       PA0000776635    WB Music Corp.
                                      EU0000301138
 2855 Black Dog                       RE0000820347    WB Music Corp.
 2856 Black Moon                      PA0001336033    WB Music Corp.
 2857 Bliss                           PA0001741512    WB Music Corp.
 2858 Blood Brothers                  PA0001870874    WB Music Corp.
 2859 Blue Clear Sky                  PA0000828422    WB Music Corp.
 2860 Bored                           PA0000776635    WB Music Corp.
 2861 Born For This                   PA0001595081    WB Music Corp.
                                      PA0001225978
 2862 Bottom                          PA0001204553    WB Music Corp.
 2863 Bound                           PA0001111236    WB Music Corp.
 2864 Breath                          PA0001111236    WB Music Corp.
 2865 Brick By Boring Brick           PA0001676905    WB Music Corp.
                                      PA0001311759
 2866 Bring Me Down                   PA0001075311    WB Music Corp.
 2867 Bring The Noize                 PA0001862990    WB Music Corp.
 2868 Broken Glass                    PA0001335215    WB Music Corp.
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 2869 Brokenhearted                              PA0000757404   WB Music Corp.
 2870 Brooklyn                                   PA0001335215   WB Music Corp.
 2871 Buried Alive Interlude                     PA0001869935   WB Music Corp.
 2872 Business                                   PA0001118664   WB Music Corp.
 2873 California Gurls                           PA0001753646   WB Music Corp.
 2874 Careful                                    PA0001676905   WB Music Corp.
 2875 Carousel                                   PA0001335214   WB Music Corp.
 2876 Change (In The House Of Flies)             PA0001029983   WB Music Corp.
 2877 Change My Mind                             PA0001204552   WB Music Corp.
 2878 Chasin' That Neon Rainbow                  PA0000458323   WB Music Corp.
 2879 Chattahoochee                              PA0000587430   WB Music Corp.
 2880 Check On It                                PA0001163316   WB Music Corp.
 2881 Cherry Waves                               PA0001373477   WB Music Corp.
 2882 Children Of The Korn                       PA0001058922   WB Music Corp.
 2883 Chloe                                      PA0001762863   WB Music Corp.
 2884 Circle The Drain                           PA0001753641   WB Music Corp.
 2885 Clique                                     PA0001913932   WB Music Corp.
 2886 Close Your Eyes and Count to Ten           PA0001762863   WB Music Corp.
 2887 Closure                                    PA0001859504   WB Music Corp.
 2888 Cloud 9                                    PA0001262375   WB Music Corp.
 2889 Clumsy                                     PA0001165468   WB Music Corp.
 2890 Coffee                                     PA0001779668   WB Music Corp.
                                                 PA0001397703
 2891 Colours                                    PA0001762865   WB Music Corp.
                                                 PA0001373477
 2892 Combat                                     PA0001373482   WB Music Corp.
 2893 Come As You Are                            PA0001236710   WB Music Corp.
 2894 Come Rain or Come Shine                    EP0000001893   WB Music Corp.
 2895 Comfortable Liar                           PA0001859610   WB Music Corp.
 2896 Communication Breakdown                    EP0000256801   WB Music Corp.
 2897 Conflict                                   PA0001000622   WB Music Corp.
 2898 Countdown                                  PA0001861897   WB Music Corp.
 2899 Crash My Party                             PA0001870878   WB Music Corp.
 2900 Crazy                                      PA0001251376   WB Music Corp.
 2901 Crenshaw Punch / I'll Throw Rocks At You   PA0001336034   WB Music Corp.
 2902 Criminal                                   PA0001697247   WB Music Corp.
 2903 Cruel and Beautiful World                  PA0001762863   WB Music Corp.
 2904 crushcrushcrush                            PA0001595045   WB Music Corp.
 2905 Cry Me A River                             PA0001266147   WB Music Corp.
 2906 D'yer Mak'er                               Eu0000402445   WB Music Corp.
 2907 Dai The Flu                                PA0000870906   WB Music Corp.
 2908 Damage                                     PA0001395679   WB Music Corp.
 2909 Dance For You                              PA0002096977   WB Music Corp.
 2910 Dance Real Slow                            PA0001859563   WB Music Corp.
 2911 Dancing On Glass                           PA0000354501   WB Music Corp.
 2912 Dangerously In Love                        PA0000954078   WB Music Corp.
 2913 Daydreaming                                PA0001854435   WB Music Corp.
 2914 Daylight                                   PA0001849227   WB Music Corp.
 2915 Dazed And Confused                         EP0000256809   WB Music Corp.
 2916 Dead                                       PA0001741514   WB Music Corp.
 2917 Deathblow                                  PA0001157470   WB Music Corp.
 2918 Decadence                                  PA0001296200   WB Music Corp.
 2919 Deceiver                                   PA0001697227   WB Music Corp.
 2920 Dehumanized                                PA0001224644   WB Music Corp.
 2921 Deify                                      PA0001296199   WB Music Corp.
 2922 Devour                                     PA0001111236   WB Music Corp.
 2923 Digital Bath                               PA0001029983   WB Music Corp.
 2924 Dirt Off Your Shoulder/Lying From You      PA0001937215   WB Music Corp.
 2925 Divide                                     PA0001697247   WB Music Corp.
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 2926 Don't Rock The Jukebox                   PA0000525633   WB Music Corp.
 2927 Don't Wake Me Up                         PA0001842282   WB Music Corp.
 2928 Don't Wanna Think About You              PA0001238984   WB Music Corp.
 2929 Dopefiend's Diner                        PA0001696337   WB Music Corp.
 2930 Double Bubble Trouble                    PA0001919079   WB Music Corp.
 2931 Down With The Sickness                   PA0001000622   WB Music Corp.
 2932 Dr Feelgood                              PA0000440229   WB Music Corp.
 2933 Dressin' Up                              PA0001816541   WB Music Corp.
 2934 Drift And Die                            PA0001075312   WB Music Corp.
 2935 Drive Slow                               PA0001310079   WB Music Corp.
 2936 Droppin' Plates                          PA0001000622   WB Music Corp.
 2937 Drumming Song                            PA0001892793   WB Music Corp.
 2938 E.T.                                     PA0001753644   WB Music Corp.
 2939 Elevator                                 PA0001647059   WB Music Corp.
 2940 Emergency                                PA0001305589   WB Music Corp.
 2941 End Of Time                              PA0001861922   WB Music Corp.
 2942 Enough                                   PA0001697242   WB Music Corp.
 2943 Entombed                                 PA0001849262   WB Music Corp.
 2944 Everything                               PA0001335214   WB Music Corp.
 2945 Everytime                                PA0001251376   WB Music Corp.
 2946 Extremely Blessed                        PA0001846687   WB Music Corp.
 2947 F*ckwithmeyouknowigotit                  PA0001858846   WB Music Corp.
 2948 Facade                                   PA0001697247   WB Music Corp.
 2949 Fall                                     PA0001884084   WB Music Corp.
 2950 Fast In My Car                           PA0001854436   WB Music Corp.
 2951 Fear                                     PA0001000622   WB Music Corp.
 2952 Feeling Sorry                            PA0001676906   WB Music Corp.
 2953 Fences                                   PA0001595053   WB Music Corp.
 2954 Finally                                  PA0001236713   WB Music Corp.
 2955 Fireal                                   PA0000776635   WB Music Corp.
 2956 Firework                                 PA0001753920   WB Music Corp.
 2957 Five Years Dead                          PA0000332227   WB Music Corp.
 2958 Focus                                    PA0001236716   WB Music Corp.
 2959 For A Pessimist, I'm Pretty Optimistic   PA0001595045   WB Music Corp.
 2960 For My Dawgs                             PA0001847144   WB Music Corp.
 2961 Forfeit                                  PA0001859504   WB Music Corp.
                                               PA0001352640
 2962 Forgiven                                 PA0001296201   WB Music Corp.
 2963 Freak Of The World                       PA0001225980   WB Music Corp.
 2964 Fu-Gee-La                                PA0000794856   WB Music Corp.
 2965 Future                                   PA0001854435   WB Music Corp.
 2966 Gauze                                    PA0001849262   WB Music Corp.
 2967 Get Your Money Up                        PA0001881522   WB Music Corp.
 2968 Girls, Girls, Girls                      PA0000342182   WB Music Corp.
 2969 Gladiator                                PA0001731495   WB Music Corp.
 2970 Go                                       PA0001302099   WB Music Corp.
 2971 God Must Hate Me                         PA0001084657   WB Music Corp.
 2972 God Of The Mind                          PA0001045439   WB Music Corp.
 2973 Good Times Bad Times                     EP0000256802   WB Music Corp.
 2974 Goon Squad                               PA0001849262   WB Music Corp.
 2975 Gorilla                                  PA0001869823   WB Music Corp.
 2976 Graphic Nature                           PA0001849262   WB Music Corp.
 2977 Grow Up                                  PA0001854435   WB Music Corp.
 2978 Guarded                                  PA0001296198   WB Music Corp.
 2979 Gunz Come Out                            PA0001281577   WB Music Corp.
 2980 Hallelujah                               PA0001595045   WB Music Corp.
 2981 Hard                                     PA0001711867   WB Music Corp.
 2982 Hate                                     PA0001711046   WB Music Corp.
 2983 Hate To See Your Heart Break             PA0001854435   WB Music Corp.
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 2984 Haunted                                PA0001697242   WB Music Corp.
 2985 Have You Seen Her                      PA0001087579   WB Music Corp.
 2986 He Won't Hurt You                      PA0001087585   WB Music Corp.
 2987 Headup                                 PA0000870907   WB Music Corp.
 2988 Heartache That Don't Stop Hurting      PA0001727379   WB Music Corp.
 2989 Heartbreaker                           EP0000267881   WB Music Corp.
 2990 Heartland                              PA0000643056   WB Music Corp.
 2991 Hell                                   PA0001310671   WB Music Corp.
 2992 Hello                                  PA0001789865   WB Music Corp.
 2993 Hello                                  PA0000839504   WB Music Corp.
 2994 Hello World                            PA0001896735   WB Music Corp.
 2995 Here In The Real World                 PA0000458321   WB Music Corp.
 2996 Here We Go Again                       PA0001305590   WB Music Corp.
 2997 Hexagram                               PA0001157469   WB Music Corp.
 2998 Hey Hey What Can I Do?                 Eu0000222687   WB Music Corp.
 2999 Hip Hop Star                           PA0001208970   WB Music Corp.
 3000 Hold On, We're Going Home              PA0001891428   WB Music Corp.
 3001 Holding On                             PA0001644614   WB Music Corp.
 3002 Hole In The Earth                      PA0001373476   WB Music Corp.
 3003 Home Sweet Home                        PA0000269462   WB Music Corp.
 3004 Homies                                 PA0001847137   WB Music Corp.
 3005 Hot For Teacher                        PA0000215905   WB Music Corp.
 3006 Hot N Cold (Innerpartysystem Main)     PA0001697567   WB Music Corp.
                                             Eu0000557533
 3007 Houses Of The Holy                     V1671P390      WB Music Corp.
 3008 Human Nature                           PA0000158773   WB Music Corp.
 3009 Hummingbird Heartbeat                  PA0001753638   WB Music Corp.
 3010 I Can Wait Forever                     PA0001644607   WB Music Corp.
                                             PAu002504855
 3011 I Feel Like I'm Forgetting Something   PA0001120877   WB Music Corp.
 3012 I Just Wanna F.                        PA0001778193   WB Music Corp.
 3013 I Tried                                PA0001236714   WB Music Corp.
 3014 I Wanna Luv U                          PA0001087576   WB Music Corp.
 3015 I Want You                             PA0001741512   WB Music Corp.
 3016 I Won't Be There                       PA0001084657   WB Music Corp.
 3017 I'd Do Anything                        PA0001084655   WB Music Corp.
 3018 I'm Alive                              PA0001296200   WB Music Corp.
 3019 I'm Just A Kid                         PA0001084655   WB Music Corp.
 3020 I'm So Sure                            PA0001669444   WB Music Corp.
 3021 If I Could Love You                    PA0001657879   WB Music Corp.
 3022 Ignorance                              PA0001676905   WB Music Corp.
 3023 Immigrant Song                         Eu0000212957   WB Music Corp.
 3024 In The Evening                         PA0000078099   WB Music Corp.
 3025 In Town                                PA0001846685   WB Music Corp.
 3026 Indestructible                         PA0001697227   WB Music Corp.
 3027 Inhale                                 PA0001731503   WB Music Corp.
 3028 Inside The Fire                        PA0001697227   WB Music Corp.
 3029 Interlude: Holiday                     PA0001854437   WB Music Corp.
 3030 Interlude: I'm Not Angry Anymore       PA0001854435   WB Music Corp.
 3031 Interlude: Moving On                   PA0001854435   WB Music Corp.
 3032 Intoxication                           PA0001111236   WB Music Corp.
 3033 It Matters To Me                       PAu001966659   WB Music Corp.
 3034 It's A Party                           PA0001741512   WB Music Corp.
 3035 It's Alright                           PA0001087587   WB Music Corp.
 3036 Itchin' On A Photograph                PA0001762863   WB Music Corp.
 3037 Izzo/In The End                        PA0001038342   WB Music Corp.
 3038 Jigga What/Faint                       PA0001937227   WB Music Corp.
 3039 Jump                                   PA0001251376   WB Music Corp.
 3040 Just Stop                              PA0001296198   WB Music Corp.
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 3041 Karmageddon                             PA0001919074   WB Music Corp.
 3042 Kashmir                                 Eu0000557529   WB Music Corp.
 3043 Keep Dancin' On Me                      PA0001659055   WB Music Corp.
 3044 Knife Prty                              PA0001029983   WB Music Corp.
 3045 Last Friday Night (T.G.I.F.)            PA0001753637   WB Music Corp.
 3046 Last Hope                               PA0001854435   WB Music Corp.
 3047 Leathers                                PA0001849262   WB Music Corp.
 3048 Let Me Blow Ya Mind                     PA0001060407   WB Music Corp.
 3049 Let The Flames Begin                    PA0001595049   WB Music Corp.
 3050 Lhabia                                  PA0000870906   WB Music Corp.
 3051 Liberate                                PA0001111236   WB Music Corp.
 3052 Liberty                                 PA0001741511   WB Music Corp.
 3053 Lifter                                  PA0000776635   WB Music Corp.
 3054 Light Up                                PA0001732180   WB Music Corp.
 3055 Like A Surgeon                          PA0001659055   WB Music Corp.
 3056 Little Man                              PA0001318139   WB Music Corp.
 3057 Livin' On Love                          PA0000727505   WB Music Corp.
 3058 Locked Out of Heaven                    PA0001869823   WB Music Corp.
 3059 Looking Up                              PA0001676905   WB Music Corp.
 3060 Looks That Kill                         PA0000193924   WB Music Corp.
 3061 Lost                                    PA0001669756   WB Music Corp.
 3062 Love Her Like She's Leavin'             PA0001769705   WB Music Corp.
 3063 Love On Top                             PA0001861938   WB Music Corp.
 3064 Love Will Save Your Soul                PA0001762863   WB Music Corp.
 3065 Lovely Cup                              PA0001762863   WB Music Corp.
 3066 Lucky You                               PA0001146106   WB Music Corp.
 3067 Make Her Say                            PA0001847910   WB Music Corp.
 3068 Marvins Room / Buried Alive Interlude   PA0001869935   WB Music Corp.
 3069 MATANGI                                 PA0001919076   WB Music Corp.
 3070 Me & U                                  PA0001627318   WB Music Corp.
 3071 Me Against The World                    PA0001251376   WB Music Corp.
 3072 Meaning Of Life                         PA0001000622   WB Music Corp.
 3073 Meet You There                          PA0001084656   WB Music Corp.
 3074 Merry Go Round                          PA0001657844   WB Music Corp.
 3075 Midnight In Montgomery                  PA0000533558   WB Music Corp.
 3076 Minerva                                 PA0001157469   WB Music Corp.
 3077 Minus Blindfold                         PA0000776635   WB Music Corp.
 3078 Misery Business                         PA0001595045   WB Music Corp.
 3079 Misguided Ghosts                        PA0001676906   WB Music Corp.
 3080 Mistress                                PA0001111236   WB Music Corp.
 3081 Moana                                   PA0001157471   WB Music Corp.
 3082 Money Machine                           PA0001846686   WB Music Corp.
 3083 Moonshine                               PA0001669444   WB Music Corp.
 3084 Murder To Excellence                    PA0001816414   WB Music Corp.
 3085 MX                                      PA0000870906   WB Music Corp.
 3086 My Alien                                PA0001084656   WB Music Corp.
 3087 My Dad's Gone Crazy                     PA0001118665   WB Music Corp.
 3088 My Heart                                PA0001305589   WB Music Corp.
 3089 Naked Kids                              PA0001762865   WB Music Corp.
                                              PA0001311759
 3090 Never Change                            PA0001075311   WB Music Corp.
 3091 Never Enough                            PA0001284523   WB Music Corp.
 3092 Never Let Me Down                       PA0001159068   WB Music Corp.
 3093 Never Let This Go                       PA0001305588   WB Music Corp.
 3094 Never Say Never                         PA0000949112   WB Music Corp.
 3095 Never Say Never                         PA0001741512   WB Music Corp.
 3096 New York Minute: Vacation               PA0001251377   WB Music Corp.
 3097 Next 2 You                              PA0001335216   WB Music Corp.
 3098 No Angel                                PA0001918140   WB Music Corp.
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 3099 No Hands                                          PA0001739078   WB Music Corp.
 3100 No Love                                           PA0001644610   WB Music Corp.
 3101 No Miracles                                       PA0001896740   WB Music Corp.
 3102 No Quarter                                        EP0000316459   WB Music Corp.
 3103 No Trash in My Trailer                            PA0001056014   WB Music Corp.
 3104 Nobody Feelin' No Pain                            PA0001904211   WB Music Corp.
 3105 Nobody Told Me                                    PA0001075310   WB Music Corp.
 3106 Nobody's Fault But Mine                           Eu0000655751   WB Music Corp.
 3107 Nosebleed                                         PA0000776635   WB Music Corp.
 3108 Not Like The Movies                               PA0001753643   WB Music Corp.
 3109 Nothing Left To Lose                              PA0001249431   WB Music Corp.
 3110 Notorious Thugs                                   PA0001005836   WB Music Corp.
 3111 Now                                               PA0001854435   WB Music Corp.
 3112 Numb                                              PA0001000622   WB Music Corp.
 3113 Numb/Encore                                       PA0001160198   WB Music Corp.
 3114 Oceans                                            PA0001858843   WB Music Corp.
 3115 Oh My Lord                                        PA0001741514   WB Music Corp.
 3116 On And On                                         PA0001745026   WB Music Corp.
 3117 On My Highway                                     PA0001935081   WB Music Corp.
 3118 One                                               PA0001251378   WB Music Corp.
 3119 One and Only                                      PA0001759715   WB Music Corp.
 3120 One Day                                           PA0001084657   WB Music Corp.
 3121 One For Me                                        PA0001396264   WB Music Corp.
 3122 One Weak                                          PA0000776635   WB Music Corp.
 3123 Onset                                             PA0001335215   WB Music Corp.
 3124 Our World                                         PA0001741505   WB Music Corp.
 3125 Out Like That                                     PA0001870872   WB Music Corp.
 3126 Out of Line                                       PA0001335214   WB Music Corp.
 3127 Out Of My Head                                    PA0001153778   WB Music Corp.
 3128 Out on the Town                                   PA0001791458   WB Music Corp.
                                                        EP0000314551
 3129 Over The Hills And Far Away                       RE0000840949   WB Music Corp.
 3130 Overburdened                                      PA0001296200   WB Music Corp.
                                                        PA0001352640
 3131 Pain Redefined                                    PA0001296201   WB Music Corp.
 3132 Panama                                            PA0000785636   WB Music Corp.
 3133 Parasite                                          PA0001677916   WB Music Corp.
 3134 Part II                                           PA0001854436   WB Music Corp.
 3135 Part Of Me                                        PA0001845827   WB Music Corp.
 3136 Passenger                                         PA0001911867   WB Music Corp.
 3137 Passenger                                         PA0001029982   WB Music Corp.
 3138 Peacock                                           PA0001753921   WB Music Corp.
 3139 Pearl                                             PA0001753642   WB Music Corp.
 3140 Perfect                                           PA0001084657   WB Music Corp.
 3141 Perfect Insanity                                  PA0001687498   WB Music Corp.
 3142 Perfect World                                     PA0001251377   WB Music Corp.
 3143 Pink Cellphone                                    PA0001373481   WB Music Corp.
 3144 Pink Maggit                                       PA0001029983   WB Music Corp.
 3145 Playing God                                       PA0001676906   WB Music Corp.
 3146 Points Of Authority/99 Problems/One Step Closer   PA0001937228   WB Music Corp.
 3147 Poltergeist                                       PA0001849262   WB Music Corp.
 3148 Prayer                                            PA0001111236   WB Music Corp.
 3149 Pretty Hurts                                      PA0001918127   WB Music Corp.
 3150 Primal Scream                                     PA0000549203   WB Music Corp.
 3151 Promise                                           PA0001251378   WB Music Corp.
 3152 Proof                                             PA0001854436   WB Music Corp.
 3153 Pushin'                                           PA0001087577   WB Music Corp.
                                                        EP0000162847
 3154 Quando, Quando, Quando (with Nelly Furtado)       RE0000451824   WB Music Corp.
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 3155 Radiate                                      PA0001657838   WB Music Corp.
 3156 Rain, Tax (It's Inevitable)                  PA0001102058   WB Music Corp.
 3157 Ramble On                                    EP0000267883   WB Music Corp.
 3158 Recovery                                     PA0001741510   WB Music Corp.
 3159 Red Camaro                                   PA0001878244   WB Music Corp.
 3160 Red Lipstick                                 PA0001841921   WB Music Corp.
 3161 Remember                                     PA0001111236   WB Music Corp.
 3162 Renegade                                     PA0001038351   WB Music Corp.
 3163 Rhinestone Cowboy                            Eu0000459595   WB Music Corp.
 3164 Rich Girl                                    PA0001274357   WB Music Corp.
 3165 Right For Me                                 PA0001149533   WB Music Corp.
 3166 Rise                                         PA0001111236   WB Music Corp.
 3167 Roar                                         PA0001861206   WB Music Corp.
                                                   EP0000298501
 3168 Rock And Roll                                RE0000820247   WB Music Corp.
 3169 Rock The BeaT                                PA0001679015   WB Music Corp.
 3170 Rock The House                               PA0001066507   WB Music Corp.
 3171 Rockstar 101                                 PA0001711708   WB Music Corp.
 3172 Romantic Dreams                              PA0001849262   WB Music Corp.
 3173 Rosemary                                     PA0001849262   WB Music Corp.
                                                   EP127232
                                                   EP0000107653
 3174 Round Midnight                               RE0000246069   WB Music Corp.
 3175 Run The World (Girls)                        PA0001861905   WB Music Corp.
 3176 Running Out of Time                          PA0001644610   WB Music Corp.
 3177 Rx Queen                                     PA0001029983   WB Music Corp.
                                                   PA0001352640
 3178 Sacred Lie                                   PA0001296201   WB Music Corp.
 3179 Sadiddy                                      PA0001236712   WB Music Corp.
 3180 Said                                         PA0001153778   WB Music Corp.
 3181 Same Girl                                    PAu003411255   WB Music Corp.
 3182 Same Ol' Situation (S.O.S.)                  PA0000440234   WB Music Corp.
 3183 Same Old You                                 PA0001789997   WB Music Corp.
 3184 Save You                                     PA0001644614   WB Music Corp.
 3185 Say What You Say                             PA0001118663   WB Music Corp.
 3186 Schoolin' Life                               PA0002096976   WB Music Corp.
 3187 Sealion                                      PA0001382155   WB Music Corp.
 3188 Send The Pain Below                          PA0001859504   WB Music Corp.
                                                                  WB Music Corp.
 3189 Sex 4 Suga                                   PA0001731496
 3190 She Couldn't Change Me                       PA0001095336   WB Music Corp.
                                                   PA0000586645
 3191 She's Got the Rhythm (And I Got the Blues)   PAu001522810   WB Music Corp.
 3192 Shit Hits The Fan                            PA0001245810   WB Music Corp.
 3193 Shorty (Got Her Eyes On Me)                  PA0001087581   WB Music Corp.
 3194 Should I Go                                  PA0001236715   WB Music Corp.
 3195 Shout At The Devil                           PA0000193923   WB Music Corp.
 3196 Shout Out To The Real                        PA0001852372   WB Music Corp.
 3197 Shut Up!                                     PA0001251377   WB Music Corp.
 3198 Sickened                                     PA0001790006   WB Music Corp.
                                                   EP0000319292
 3199 Since I've Been Loving You                   RE0000843291   WB Music Corp.
 3200 Single Ladies (Put A Ring On It)             PA0001630370   WB Music Corp.
 3201 Sister Rose                                  PA0000627931   WB Music Corp.
 3202 Slow                                         PA0001762863   WB Music Corp.
 3203 Slow Dance                                   PA0001767256   WB Music Corp.
 3204 Smash Into You                               PA0001624967   WB Music Corp.
 3205 Snake In The Grass                           PA0001739078   WB Music Corp.
 3206 So Far                                       PA0001335214   WB Music Corp.
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 3207 Somebody Stand By Me                  PA0000705224   WB Music Corp.
 3208 Someone To Watch Over Me              E00000651512   WB Music Corp.
 3209 Sons Of Plunder                       PA0001296200   WB Music Corp.
 3210 Sorry                                 PA0001335216   WB Music Corp.
 3211 Spin You Around                       PA0001249431   WB Music Corp.
 3212 Spun                                  PA0001762863   WB Music Corp.
                                            EP0000305686
                                            RE0000819939
 3213 Stairway To Heaven                    RE0000820176   WB Music Corp.
 3214 Still Into You                        PA0001854435   WB Music Corp.
 3215 Stricken                              PA0001296198   WB Music Corp.
 3216 Stunt on Ya                           PA0001977398   WB Music Corp.
 3217 Stupify                               PA0001000622   WB Music Corp.
 3218 Sumthin' For Nuthin'                  PA0000332225   WB Music Corp.
 3219 Sunshine                              PA0001335215   WB Music Corp.
 3220 Superpower                            PA0001918119   WB Music Corp.
 3221 Swerve City                           PA0001849262   WB Music Corp.
 3222 Sydney                                PA0001225980   WB Music Corp.
 3223 Take My Hand                          PA0001644614   WB Music Corp.
 3224 Take You Down                         PA0001395676   WB Music Corp.
 3225 Teenage Dream                         PA0001753645   WB Music Corp.
 3226 Tell Me What Your Name Is             PA0001659058   WB Music Corp.
 3227 Tempest                               PA0001849262   WB Music Corp.
                                            PA0001347236
 3228 Ten Thousand Fists                    PA0001296198   WB Music Corp.
 3229 Thank You                             PA0001251377   WB Music Corp.
                                                           WB Music Corp.
 3230 That's How You Like It                PA0001131257
 3231 That's What You Get                   PA0001595073   WB Music Corp.
 3232 The Chill Of An Early Fall            PA0000472652   WB Music Corp.
 3233 The Curse                             PA0001697242   WB Music Corp.
 3234 The Game                              PA0001000622   WB Music Corp.
 3235 The Last Song                         PA0001704476   WB Music Corp.
 3236 The Lazy Song                         PA0001869989   WB Music Corp.
 3237 The Night                             PA0001697227   WB Music Corp.
 3238 The Night I Fell in Love              PA0000259621   WB Music Corp.
 3239 The One That Got Away                 PA0001753639   WB Music Corp.
 3240 The Only Exception                    PA0001676905   WB Music Corp.
 3241 The Real Slim Shady                   PA0001040874   WB Music Corp.
 3242 The Red                               PA0001859504   WB Music Corp.
                                            EU0000402444
                                            RE0000841595
                                            EP0000316464
 3243 The Song Remains The Same             RE0000840966   WB Music Corp.
 3244 The Truth                             PA0001935087   WB Music Corp.
 3245 The Way You Love Me                   PA0000977102   WB Music Corp.
 3246 The Wedding Song                      PA0000627930   WB Music Corp.
 3247 The Worst Day Ever                    PA0001084655   WB Music Corp.
 3248 These Things                          PA0001741511   WB Music Corp.
                                            PA0001204554
 3249 Think                                 PA0001225979   WB Music Corp.
 3250 Think About It (Don't Call My Crib)   PA0001087584   WB Music Corp.
 3251 Thinking About You                    PA0001657895   WB Music Corp.
 3252 This Luv                              PA0001087578   WB Music Corp.
 3253 This Moment                           PA0001599219   WB Music Corp.
 3254 Till I Get There                      PA0001739115   WB Music Corp.
 3255 Time Flies                            PA0001225979   WB Music Corp.
 3256 Time To Say Goodbye                   PA0001644605   WB Music Corp.
 3257 Tommie Sunshine's Megasix Smash-Up    PA0001753640   WB Music Corp.
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 3258 Tongue Tied                        PA0001762863   WB Music Corp.
 3259 Too Fast For Love                  PA0000152365   WB Music Corp.
 3260 Torn                               PA0001697247   WB Music Corp.
 3261 Touch My Body                      PA0001769539   WB Music Corp.
 3262 Toyfriend                          PA0001864275   WB Music Corp.
 3263 Trampled Underfoot                 Eu0000557531   WB Music Corp.
 3264 Treasure                           PA0001869830   WB Music Corp.
 3265 Turn It Off                        PA0001676905   WB Music Corp.
 3266 U Know What's Up                   PA0001087583   WB Music Corp.
 3267 U,U,D,D,L,R,L,R,A,B,Select,Start   PA0001373479   WB Music Corp.
 3268 Umbrella                           PA0001602373   WB Music Corp.
 3269 Until The End Of Time              PA0001053379   WB Music Corp.
 3270 Until The End Of Time              PA0001015657   WB Music Corp.
 3271 Up Out My Face                     PA0001677862   WB Music Corp.
 3272 Versus                             PA0001858836   WB Music Corp.
 3273 Violence Fetish                    PA0001000622   WB Music Corp.
 3274 Voices                             PA0001000622   WB Music Corp.
 3275 Want                               PA0001000622   WB Music Corp.
 3276 We Are Broken                      PA0001595053   WB Music Corp.
                                         PA0001791456
 3277 We Are Young                       PA0001811978   WB Music Corp.
 3278 What Happened To You?              PA0001849262   WB Music Corp.
 3279 When Girls Telephone Boys          PA0001157470   WB Music Corp.
 3280 When I'm With You                  PA0001084656   WB Music Corp.
 3281 When It Rains                      PA0001595076   WB Music Corp.
                                         EU0000301134
                                         RE0000819916
                                         EP0000319303
 3282 When The Levee Breaks              RE0000840985   WB Music Corp.
 3283 Where The Lines Overlap            PA0001676905   WB Music Corp.
 3284 Who Am I Living For?               PA0001753640   WB Music Corp.
                                         PAu000755785
                                         PA0000264133
                                         PA0000265526
 3285 Who's Gonna Fill Their Shoes       PA0000258925   WB Music Corp.
                                         EU0000144295
                                         RE0000767454
                                         EP0000267876
 3286 Whole Lotta Love                   RE0000767436   WB Music Corp.
 3287 Why They Call It Falling           PA0001032265   WB Music Corp.
 3288 Wild Side                          PA0000332232   WB Music Corp.
 3289 Without You                        PA0000440233   WB Music Corp.
 3290 www.memory                         PA0001013750   WB Music Corp.
 3291 XO                                 PA0001918135   WB Music Corp.
 3292 Y.A.L.A.                           PA0001919078   WB Music Corp.
 3293 You Can't Win                      PA0001789856   WB Music Corp.
 3294 You Love Me                        PA0001789870   WB Music Corp.
 3295 You're All I Need                  PA0000354505   WB Music Corp.
 3296 Your Love Is A Lie                 PA0001644614   WB Music Corp.
 3297 Mr. Know It All                    PA0001851190   WB Music Corp.
 3298 Life As We Know It                 PA0001879182   WB Music Corp. / W.B.M. Music Corp.
                                                        WB Music Corp. / Warner-Tamerlane Publishing
 3299 107                                PA0001022575   Corp.
                                                        WB Music Corp. / Warner-Tamerlane Publishing
 3300 2 Reasons                          PA0001865859   Corp.
                                                        WB Music Corp. / Warner-Tamerlane Publishing
 3301 All Me                             PA0001967814   Corp.
                                                        WB Music Corp. / Warner-Tamerlane Publishing
 3302 All The Same                       PA0000914816   Corp.
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                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3303 Amen                                       PA0001842305   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3304 Ass Like That                              PA0001284525   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3305 Bang                                       PA0001739089   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3306 Beach Is Better                            PA0001858808   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3307 Big Weenie                                 PA0001284525   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3308 Bitches & Bottles (Let's Get It Started)   PA0001852363   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3309 Blow Remix                                 PA0001918139   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3310 Blue                                       PA0001918115   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3311 Bricksquad                                 PA0001739083   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3312 Bustin' At 'Em                             PA0001739055   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3313 But I Will                                 PA0000669875   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3314 California King Bed                        PA0001771890   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3315 Chasing Sirens                             PA0001022575   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3316 Check Me Out                               PA0001865883   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3317 Coffee Shop                                PA0001858764   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3318 Crack A Bottle                             PA0001848051   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3319 Crown                                      PA0001858816   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3320 Dem Haters                                 PA0001317458   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3321 Dissention                                 PA0000914816   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3322 Do You Know What You Have                  PA0001882749   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3323 Dramatica                                  PA0001022575   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3324 Drive                                      PA0001870025   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3325 Drunk in Love                              PA0001918132   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3326 Encore                                     PA0001284526   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3327 Eva                                        PA0001022575   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3328 Evil Deeds                                 PA0001284525   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3329 Eyes-Radio-Lies                            PA0001022575   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3330 F.U.T.W.                                   PA0001858842   Corp.
                                                                WB Music Corp. / Warner-Tamerlane Publishing
 3331 F**k The Club Up                           PA0001847136   Corp.
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                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3332 F**k This Industry              PA0001739132    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3333 Fetisha                         PA0000914814    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3334 Fiction (Dreams In Digital)     PA0001022579    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3335 Fiend                           PA0000914814    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3336 G Check                         PA0001739116    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3337 Gender                          PA0000914814    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3338 Gimme Whatcha Got               PA0001732722    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3339 Grove St. Party                 PA0001739117    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3340 Guilt Trip                      PA0001883988    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3341 Haunted                         PA0001918115    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3342 Heaven                          PA0001918115    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3343 Holy Grail                      PA0001858794    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3344 How Forever Feels               PA0001044172    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3345 Jealous                         PA0001918143    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3346 Karma                           PA0001739133    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3347 Knockout                        PA0001848470    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3348 La Familia                      PA0001858842    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3349 Lift Off                        PA0001768255    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3350 Live By The Gun                 PA0001746038    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3351 Living The Life                 PA0001648817    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3352 Love Money Party                PA0001870000    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3353 Loyal                           PA0001912898    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3354 Made In America                 PA0001768256    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3355 Mine                            PA0001918125    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3356 Mirror                          PA0001842434    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3357 Mosh                            PA0001284524    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3358 Move That Dope                  PA0001888725    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3359 My Wild Frontier                PA0000901850    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3360 Neva End                        PA0001856290    Corp.
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                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3361 New Day                             PA0001941862   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3362 Nickels And Dimes                   PA0001858821   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3363 No Love                             PA0001735858   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3364 Opticon                             PA0001022575   Corp.
                                          PA0000914814   WB Music Corp. / Warner-Tamerlane Publishing
 3365 Pantomime                           PA0000966498   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3366 Panty Droppa (Intro)                PA0001703149   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3367 Part II (On The Run)                PA0001858831   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3368 Partition                           PA0001918144   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3369 Piece Of My Heart                   PA0000669975   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3370 Platinum                            PA0000914814   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3371 Pon de Replay                       PA0001311248   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3372 Pound Cake / Paris Morton Music 2   PA0001967812   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3373 POWER                               PA0001866095   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3374 Rain Man                            PA0001284524   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3375 Re-Creation                         PA0001022578   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3376 Revival                             PA0000914815   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3377 Revolver                            PA0001764628   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3378 Ridaz                               PA0001848889   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3379 Rocket                              PA0001918124   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3380 Run This Town                       PA0001678122   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3381 Runnin                              PA0001848481   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3382 Saving Amy                          PA0001694078   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3383 Saving Faces                        PA0001022576   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3384 Send It Up                          PA0001890236   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3385 Shine                               PA0001305505   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3386 Slip of the Tongue                  PA0000308826   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3387 Small Town Throwdown                PA0001971316   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3388 Smoke, Drank                        PA0001847147   Corp.
                                                         WB Music Corp. / Warner-Tamerlane Publishing
 3389 SMS (Bangerz)                       PA0001870020   Corp.
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                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3390 So Appalled                     PA0001740945    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3391 Social Enemies                  PA0000914813    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3392 Somewhereinamerica              PA0001858818    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3393 Stitches                        PA0000914814    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3394 Stronger                        PA0001597242    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3395 Suckerface                      PA0001022575    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3396 Sugar                           PA0001638753    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3397 Swagger Jagger                  PA0001884104    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3398 Take You                        PA0001884089    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3399 Tattoo                          PA0001872991    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3400 The Big One                     PA0001945087    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3401 The Odyssey                     PA0001022577    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3402 Timber                          PA0001868393    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3403 Truth Gonna Hurt You            PA0001852655    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3404 TTG (Trained To Go)             PA0001739067    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3405 Turn On The Lights              PA0001852654    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3406 Two More Lonely People          PA0001741421    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3407 Underground/Ken Kaniff          PA0001848054    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3408 Vapor Transmission (Intro)      PA0001022575    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3409 We Can't Stop                   PA0001870026    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3410 Welcome To The Jungle           PA0001816412    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3411 When I Was Down                 PA0001087575    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3412 Where's Gerrold                 PA0001022574    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3413 Who Gon Stop Me                 PA0001850662    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3414 Worst Behavior                  PA0001967813    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3415 You Deserve It                  PA0001808144    Corp.
                                                      WB Music Corp. / Warner-Tamerlane Publishing
 3416 You Give Me Love                PA0000901849    Corp.
 3417 Cop Car                         PA0001878240    WB Music Corp. / Warner/Chappell Music, Inc.
                                      Eu0000845843
 3418 Don't Let Me Be Misunderstood   EP0000198593    WB Music Corp. / Warner/Chappell Music, Inc.
 3419 Radio                           PA0001939474    WB Music Corp. / Warner/Chappell Music, Inc.
 3420 Thank God For Hometowns         PA0001848754    WB Music Corp. / Warner/Chappell Music, Inc.
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 3421 Work It Out                     PA0001073475    WB Music Corp. / Warner/Chappell Music, Inc.
